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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )      Case No. 08-13141-KJC
                                   )      (Jointly Administered)
                                   )
TRIBUNE COMPANY                    )      Chapter 11
                                   )      Courtroom 5
                                   )      824 Market Street
           Debtors.                )      Wilmington, Delaware
                                   )
                                   )      March 15, 2011
                                   )      9:00 a.m.


                     TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE JUDGE
                  UNITED STATES BANKRUPTCY JUDGE


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     Case 08-13141-BLS       Doc 8377-3   Filed 03/16/11   Page 12 of 340
                                                                            12
 1   WILMINGTON, DELAWARE, TUESDAY, MARCH 15, 2011, 9:05 A.M.

 2                    THE CLERK:   Be seated, please.

 3                    THE COURT:   Good morning, everyone.

 4                    ALL:   Good morning, Your Honor.

 5                    THE COURT:   I see you prefer starting at 10:00,

 6   okay.

 7                    MR. BENDERNAGEL:    Good morning, Your Honor.

 8                    THE COURT:   Good morning.

 9                    MR. BENDERNAGEL:    Jim Bendernagel for the debtor.

10   May I proceed?

11                    THE COURT:   You may.

12                    MR. BENDERNAGEL:    Your Honor, at this juncture,

13   I'd like to hand out the binders for cross examination, if I

14   might.

15                    THE COURT:   You may.     Thank you.

16                           CROSS EXAMINATION (Resumed)

17   BY MR. BENDERNAGEL:

18   Q        Good morning, Mr. Singh.

19   A        Good morning.

20   Q        Mr. Singh, if you could look at Tab 1 of the binder.

21   There's a document there that's marked as DCL Exhibit 1489.

22   Do you see that?

23   A        I do.

24   Q        And do you recognize this document?

25   A        Yes, it's my engagement letter.
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                                                                             13
 1   Q     Your engagement letter or Raymond James?

 2   A     Raymond James' engagement letter.

 3   Q     And if you take a look at the second page of the

 4   document, you'll see a section on fees.           Do you see that?

 5   A     Yes.

 6   Q     And in Section B there's a listing of the hourly rates

 7   of the various individuals that are going to work on this

 8   engagement.    Is that correct?

 9   A     That's correct.

10   Q     And they range from $990 an hour down to $400 an hour.

11   Correct?

12   A     That's correct.

13   Q     I take it your rate is the $990 an hour rate.                Is that

14   correct?

15   A     I'm a managing director.

16   Q     How many managing directors worked on this?

17   A     I recall at least three, possibly more.

18   Q     I see.    Now a little further down in the Paragraph B,

19   it indicates that your fee will be the greater of the sum

20   total of your hourly rates or $700,000.           Correct?

21   A     That's correct.

22   Q     So you're going to be paid $700,000 on this engagement

23   no matter how much time you spend.         Is that correct?

24   A     That's correct.

25   Q     Okay.    Now if you turn back to the first page, it
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 1   indicates you were to perform -- in Section A, you were to

 2   perform an assessment of the valuation prepared by Lazard

 3   Freres for the debtors in connection with their proposed

 4   plan of reorganization.     Do you see that?

 5   A     I do.

 6   Q     And you were not asked to do an actual bottoms up

 7   valuation.    Correct?

 8   A     That's correct.

 9   Q     And you have not done a bottoms up valuation, right?

10   A     That's correct.

11   Q     What you've done is provided a critique of certain

12   aspects of the Lazard study, right?

13   A     That's correct.

14   Q     You didn't look at every aspect of the Lazard study,

15   just certain aspects.    Correct?

16   A     Well, we looked at the valuation report that was

17   contained in their expert report.        So what was contained in

18   there we generally looked at.

19   Q     Well, did you look at every one of the specific

20   assumptions and conclusions and draw a conclusion as to

21   whether it was right or wrong?

22   A     I believe we attempted to look at every significant

23   assumption or conclusion that we could determine or

24   identify.

25   Q     So the ones you don't criticize are right.             Is that
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                                                                           15
 1   right?

 2   A        Well, I would take the position to the extent we

 3   didn't criticize it, we didn't sufficiently disagree with it

 4   to make a point about it or we theoretically could have

 5   missed an assumption.

 6   Q        Well, my question was is it your testimony that to the

 7   extent that you didn't make an adjustment to a particular

 8   assumption or part of the study, it's your view that Lazard

 9   got it right?

10   A        I think I just answered your question.

11   Q        Is it -- can you answer it yes or no?         Did they get it

12   right or didn't they get it right?

13   A        I answered your question that I didn't sufficiently

14   disagree to make a point of it.

15   Q        Well, do you believe they got it right?

16   A        There's a distinction between the word right and

17   disagreeing.

18   Q        Well, that's why I'm asking you the question with my

19   words, did they get it right?       In your view, did they get it

20   right?

21   A        I'm responding the best I can respond.

22   Q        You can't answer my question yes or no?

23   A        I think I just clarified your question and attempted

24   to respond.

25   Q        Well, I asked you for a yes or no answer.          Can you
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                                                                         16
 1   give me a yes or no answer?

 2   A     No.

 3   Q     So you don't know whether they got it right?

 4   A     Again, I think I tried to answer as clear as I can

 5   answer.

 6   Q     Okay.   I'll move on.      Is it fair to say you're not

 7   opining as to the overall value of the debtors?

 8   A     I think my valuation conclusion is my opinion on the

 9   total distributable value.

10   Q     Well, if you didn't do a bottoms up valuation study,

11   how can you opine as to the value of the company?

12   A     Well, we reviewed the Lazard valuation report, arrived

13   at conclusions that may have been different, and we updated

14   and we provided our conclusion.

15   Q     Well, when you provided expert -- when Raymond James

16   has put in expert valuation in the past, they've done a

17   bottoms up study?

18   A     When we were engaged by the company to do a valuation,

19   yes, it would be a bottom's up study.

20   Q     And you haven't done that here.             Correct?

21   A     That's correct.

22   Q     So how can you opine as to overall value if you

23   haven't done a study?

24   A     Well, again, I think when we walk -- when we prepared

25   our report, we -- within our report, it contained our
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                                                                           17
 1   judgments and analyses and conclusions.

 2   Q       So I understand, you've come to the conclusion that

 3   the value of this company is $8.3 billion.             Is that correct?

 4   A       I think I stated $8.2 billion.

 5   Q       And you would be willing to submit that as a valuation

 6   based on the work you've done in the last four weeks?

 7   A       Based on what we were asked to do and the work

 8   performed that was the conclusion we arrived at.

 9   Q       All right.   Now I take it you did not read Mr.

10   Tulliano's report in connection with putting together your

11   report.   Correct?

12   A       I did not.

13   Q       At your deposition, you testified that he had done a

14   more comprehensive analysis of the debtor than what you had

15   done.   Correct?

16   A       That sounds like what I said.

17   Q       And you also I take it did not read the examiner's

18   report in coming to your conclusions in this case.              Correct?

19   A       I didn't.

20   Q       The examiner has a fairly extensive discussion of the

21   VRC analysis from back in 2007.         Correct?

22   A       I didn't read the examiner's report.

23   Q       Well, did somebody point out to you that the examiner

24   had made some critical observations regarding how VRC went

25   about valuing the company?
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                                                                             18
 1   A     The only reference I'm aware of with respect to VRC

 2   was last night when I looked at the binder, there was

 3   something from an expert from the examiner report relating

 4   to VRC, but other than that, I have no familiarity with VRC.

 5   Q     Did you read the disclosure statement in connection

 6   with your work in this case?

 7   A     That would have been at the very beginning.             I'm not

 8   sure I read the entire disclosure statement.

 9   Q     What parts do you recall reading?

10   A     If I read any part, it probably related to the Lazard

11   disclosures.

12   Q     Well, did you read the section talking about the

13   background of the company?

14   A     No, I just don't recall what I read.

15   Q     Well, how did you get familiar with the background of

16   the company since you had no familiarity with it before you

17   started working on this case?

18   A     Well, we were -- when we were engaged, Akin Gump had a

19   data room available to us which had a significant amount of

20   information on it.

21   Q     Did you -- but you don't recall reading the disclosure

22   statement?

23   A     I recall looking at parts of the disclosure statement.

24   I don't recall reading cover to cover.            I don't -- I just

25   don't recall.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 19 of 340
                                                                            19
 1   Q     Now the part of the disclosure statement relating to

 2   valuation is based on the Lazard October study.             Correct?

 3   A     I believe so, yes.

 4   Q     And is it your testimony today that the October study

 5   was inaccurate at the time it was prepared?

 6   A     Can you repeat that, please?

 7   Q     Is it your testimony today that the October Lazard

 8   study was inaccurate at the time it was prepared?

 9   A     Well, I didn't do my analysis based on the time it was

10   prepared.   I did my analysis based on the date that I

11   prepared my report.    So had I done my analysis on October 4

12   or October 10 or whatever the date would have been, I'm sure

13   which conclusions might have been different, but there are

14   certain ones of them that for example the inclusion or

15   exclusion of a -- of, you know, a certain comp for example,

16   I probably wouldn't have a different view.            But other items

17   such as updating information, I may not have had a different

18   view than them.

19   Q     Well, what portion of the $1.6 billion applies to the

20   October study as of October?

21   A     Can you clarify that question?

22   Q     You don't understand the question?

23   A     If I understood it, I wouldn't have asked you to

24   clarify it.

25   Q     Well --
     Case 08-13141-BLS     Doc 8377-3    Filed 03/16/11    Page 20 of 340
                                                                             20
 1                   THE COURT:   Gentlemen, let's not fence.

 2   BY MR. BENDERNAGEL:

 3   Q       Okay.    What portion of the October study -- what

 4   portion of the $1.6 billion in adjustments applies to the

 5   October study as the October study was done in October?

 6   A       If you'll give me a moment.         I'm not sure I can give

 7   you a precise answer.

 8   Q       Okay.

 9   A       Because I didn't specifically analyze it that way, but

10   I think as a general matter the updating of financial and

11   market data, I'm not sure in total, but in large part would

12   likely not be relevant and that's $839 million.                 The

13   publishing and broadcast and wholly owned weighting may be

14   relevant.   And in terms of the other categories, I'm looking

15   at the blue chart, Page 9 of my direct just as a summary to

16   where --

17   Q       This is the demonstratives that's been marked as MP

18   2470?

19   A       Yes, it is, Page 9.        And the remaining in the blue,

20   the non-control interest methodology revision perhaps a

21   portion of that, but not all of that.                Pension add back

22   would not be relevant because I don't believe that

23   information was available.         And distributable cash would not

24   be relevant.

25   Q       So it would be fair to say most of the items would not
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 21 of 340
                                                                        21
 1   be relevant in October --

 2   A     Yeah.

 3   Q     -- but they're relevant now.

 4   A     I think that's generally fair.

 5   Q     Okay, thank you.     If you could go to the Page 7 of

 6   your revised report which has been marked as MP-2469.

 7   A     There's not a separate one in the binder, right?

 8   Q     No, there isn't.

 9   A     Okay.

10   Q     I thought you had enough paper up there already.

11   A     I do.    You said Page 7?

12   Q     That's correct.

13   A     I'm there.

14   Q     If you take a look at -- this is your executive

15   summary.    Is that correct?

16   A     Yes, it is.

17   Q     The first bullet point under the section updated

18   financial and market data for publishing, broadcasting, and

19   wholly owned segments states the Lazard report is not

20   updated based on the most recently available information and

21   relies on months old data for critical portions of its

22   analysis.   Do you see that?

23   A     Yes, I do.

24   Q     And I believe you agreed that in October, Lazard used

25   current data to do its study in October.           Correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 22 of 340
                                                                        22
 1   A     Again, I didn't specifically critique it at that

 2   point, but I believe they did.

 3   Q     And when they did their January update, they used data

 4   that was current to the time period in January when they did

 5   the update, right?

 6   A     I didn't do a comprehensive look at January, however,

 7   in general, I believe that's accurate.

 8   Q     If you take a look at Tab 3 of the binder, the cross

 9   binder DCL Exhibit 1092.     This is the Lazard January

10   supplement.   Correct?

11   A     Yes, it is.

12   Q     And if you turn to Page 5 of that document, this is a

13   comparison of the January supplement to the October

14   analysis.    Correct?

15   A     I believe it is.

16   Q     And it shows that the difference between the look in

17   January and the look in October is about $269 million.

18   Correct?

19   A     Yes.

20   Q     And that is driven essentially by a decrease in the

21   core business and an increase in the minority holdings.

22   Correct?

23   A     Yes.

24   Q     Now I'd like to focus on the core business for a

25   moment.    The core business declines between October and
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 23 of 340
                                                                          23
 1   January in the Lazard valuation by about $132 million.

 2   Correct?

 3   A     More or less $130 -- I don't know the -- there's some

 4   other items in here but basically, yes.

 5   Q     It says enterprise value core business variance $132

 6   million.   Correct?

 7   A     That's right.

 8   Q     Now when you did your analysis in February and updated

 9   the core business, you found that it increased by $198

10   million.   Correct?

11   A     Can you point me to the --

12   Q     Page 18 of your revised report.

13   A     Thanks.    Page 19 of my revised report.

14   Q     And this is another bridge chart.           Is that correct?

15   A     Yeah, that's a low and high, I apologize.

16   Q     I think I'm on Page 18, sir.

17   A     Okay.

18   Q     Just so everybody's on the same page.

19   (Laughter)

20   BY MR. BENDERNAGEL:

21   Q     This page right here.

22   A     Yeah, I'm with you.

23   Q     Okay.     And you'll see the first bar in the buildup is

24   $198 million.    Correct?

25   A     That's correct.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 24 of 340
                                                                         24
 1   Q       And that is tabbed as relating to updated financial

 2   and market data.    Do you see that?

 3   A       Yes.

 4   Q       And that relates to the core business.          Correct?

 5   A       Yes, it does.

 6   Q       And the core business consists of publishing,

 7   broadcasting, and other, right?

 8   A       Other wholly owned, yes.

 9   Q       And you found based on your analysis, that the value

10   increased by $198 million, but a month earlier Lazard finds

11   using updated data that the value went down $135 million.

12   Is that consistent with your understanding of the two

13   analyses?

14   A       Yeah, I think that only relates to the update, but I

15   suppose if you were to account for the full difference, you

16   would have to add the difference related to the weighting as

17   well.

18   Q       Well, let's put the weighting aside.          Just focusing on

19   the updating --

20   A       Yes.

21   Q       -- with respect, you raise it $198 million and Lazard

22   says it went down by $130 million.         Correct?

23   A       Just to be specific, between January 19 and February

24   21, yes.

25   Q       So that's a swing of $330 million, right?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 25 of 340
                                                                            25
 1   A     Approximately, yes.

 2   Q     Both using updated financial data, both using updated

 3   market data.    Correct?

 4   A     Yes.

 5   Q     What accounts for that difference, sir?

 6   A     Again, I didn't -- I don't know if there's specific

 7   financial data that might be different, there may be because

 8   as I said, I didn't look through each and every number in

 9   the January report, but in general, I'll tell you I believe

10   it's mostly market movement.

11   Q     The difference is you changed the multiples.             Isn't

12   that the fact?

13   A     The difference is the associated comparable company

14   stock prices increased, as a result, the ranges changed.

15   Q     You changed -- you didn't -- in doing your analysis,

16   you did not use the same multiples that Lazard used in doing

17   its analysis.    Correct?

18   A     That's correct.

19   Q     And the difference is not simply that there was a

20   change in the market, you changed the multiples.             Isn't that

21   correct?

22   A     Well, the way the reference range is determined is

23   based on market stock price movements.

24   Q     And what you basically did is you looked at the mean

25   and then determined how the mean had changed over time.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 26 of 340
                                                                        26
 1   Correct?

 2   A     Correct.

 3   Q     And that assumes that Lazard was using the mean in its

 4   analysis, right?

 5   A     That's correct.

 6   Q     If Lazard wasn't using the mean, if it was using a

 7   different methodology, your adjustment of their methodology

 8   by your methodology wouldn't make any sense, would it?

 9   A     Well, there's -- it was an attempt to create a

10   relationship so I'm not sure it wouldn't make any sense,

11   however, to your point, it could be different.

12   Q     Well, if, in fact, you created the relationship on a

13   basis other than the one that Lazard used in doing its

14   analysis, the results would be meaningless, wouldn't they?

15   A     I think meaningless again is a bit of a strong term.

16   I think there's still a relationship because there are pure

17   companies within pure play and there's pure companies within

18   diversified.   And in theory, you know, they're in the same

19   markets and they should have, you know, directionally

20   similar movements, but in theory, yeah, they don't need to

21   necessarily move along with one another, but we attempted to

22   create a proxy for what -- how the grouping should move

23   together and where to peg them.        So we used the best proxy

24   we could develop, but they may be different to the extent

25   Lazard used different selections.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 27 of 340
                                                                         27
 1   Q     Well, you didn't use a proxy that was made up of pure

 2   play, you used a proxy that was made up of both pure play

 3   and diversified.    Correct?

 4   A     That's correct.

 5   Q     And you heard Mr. Mandava talk last week about the

 6   fact that he looked at pure play.        Correct?

 7   A     Correct, but we didn't have the benefit of that

 8   testimony.

 9   Q     Well you knew it was a sum of the parts analysis.            And

10   when you're doing a sum of the part analysis, you're

11   supposed to look at pure play.       Correct?

12   A     That was our opinion, however, within the Lazard

13   report, they included all of them and we didn't know which

14   of them they included and which of them they excluded.

15   Q     So you just made the assumption that in a sum of the

16   parts, they would have used diversified.           Correct?

17   A     I made the assumption that I wouldn't be able to tell

18   you which ones and which not, therefore, I included all, I

19   created a mean, and I indexed them against the mean.

20   However, as you noted, that theoretically could have a

21   different result than what actually the results would be.

22   Q     Okay.   If you could take a look at Tab 4 of the

23   document and Mr. Mandava's slides are set forth and they've

24   been marked as DCL 1485 and I'd ask you to look at Page 19

25   of that document.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 28 of 340
                                                                        28
 1   A     I'm sorry, Tab 4, Page 19?

 2   Q     That's right.

 3   A     I'm there.

 4   Q     This shows an up -- this is Mr. Mandava's slide

 5   showing how he updated the multiples from October 4 to

 6   January 19.    Correct?

 7   A     Yes.

 8   Q     And just looking at publishing, he has the pure play

 9   and the diversified entities listed.         Correct?

10   A     Yes.

11   Q     And he testified that in doing his analysis, he used

12   the McClatchy and New York Times multiples to set the high

13   end of his range.    Do you recall that?

14   A     Generally, I didn't re-review his transcript, but that

15   sounds right.

16   Q     And he then took a half turn down from the high end of

17   his range to set his range.      Correct?

18   A     I'm going to assume what you're telling me is

19   accurate.

20   Q     Well, do you recall what he said in his testimony?

21   A     Generally, but I didn't re-review the transcript.

22   Q     I see.     And now if you turn to Page 47 of your report,

23   your revised report, you show updated multiples both for

24   2010 and 2011.    Correct?

25   A     Yes.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 29 of 340
                                                                          29
 1   Q        And you have a range for 2011 of 5.8 to 6.3.          Correct?

 2   A        Yes.

 3   Q        And that range was developed as a result of your using

 4   your -- the indexing you described before to adjust the

 5   Lazard range.    Correct?

 6   A        Yes.

 7   Q        And by making that adjustment, you've actually raised

 8   range above two out of three pure play entities that are

 9   reflected on Page 48 of your report.         Correct?

10   A        That's correct.

11   Q        And the New York Times barely gets in your range,

12   right?

13   A        Yes.

14   Q        So what you have created is a situation where you're

15   valuing the Tribune's Publishing assets as more valuable

16   than the New York Times assets.        Correct?

17   A        Based on, excuse me, based on the comparable company

18   analysis, yes.

19   Q        Well, just looking at your analysis, you have a range

20   of 5.8 to 6.3 which would have a midpoint around 6.50 and

21   New York times at 5.9 is below that, right?

22   A        Yeah, I agreed, except I only stated as it relates to

23   the comparable company valuation analysis.

24   Q        Well, based on your knowledge, do you think it's

25   reasonable to assume that the New York Times is less
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 30 of 340
                                                                            30
 1   valuable than Tribune Publishing assets?

 2   A       I don't know, I'd have to go back and study that.

 3   Q       And -- well, let me ask this question.          In doing your

 4   analysis, did you study these various comparable companies?

 5   A       We did.

 6   Q       And how does the New York Times on a financial metrics

 7   basis compare with Chicago Tribune?         I mean, the Tribune

 8   Company's publishing assets?

 9   A       Yeah, I mean, I didn't memorize all of the -- I didn't

10   memorize the 10K's, so I would have to go back and refer to

11   that.   But, you know, they're both very substantial

12   publishing businesses.     And I don't know all the specific

13   factors affecting the New York Times at the moment vis-a-vis

14   all the factors affecting this business.           In addition, you

15   know, we also did factor in the discounted cash flow for 10

16   percent which had a resulting impact of lowering it.               So I'm

17   not sure that on a final valuation basis, that it would

18   still be higher than the New York Times.

19   Q       Well, just looking at the comparable company basis, as

20   you sit here today, you don't have an opinion as to whether,

21   in fact, the New York Times is more or less profitable than

22   Tribune's Publishing assets?

23   A       You're asking me what the EBITDA and net income was

24   and I'd have to refer back to our analysis.

25   Q       So the answer to my question is you don't know as you
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 31 of 340
                                                                              31
 1   sit here?

 2   A       Sitting here, no.

 3   Q       And I take it that would be true with respect to

 4   McClatchy.   You don't know how they compare to the Tribune

 5   Publishing assets in terms of their financial performance?

 6   A       Sitting here, I can't recall.

 7   Q       That would be true of Lee Enterprise as well?

 8   A       Lee was not included in our analysis.

 9   Q       Well, do you have any opinion -- do you have any

10   knowledge based on the work as to whether, in fact, Lee

11   outperforms or underperforms        Tribune in the publishing

12   area?

13   A       I'd have to look.

14   Q       How about AH Belo?

15   A       Again, I'd have to look.

16   Q       And where does AH Belo have its newspapers, do you

17   know?

18   A       For some reason, I believe it was in the Midwest.

19   Q       And have you studied Gannett?

20   A       Again, you know, I don't have the 10K's with me.            I'd

21   have to and review them again.

22   Q       Well, what's Gannett's flagship product?

23   A       USA Today.

24   Q       And does -- that has a national footprint.            Correct?

25   A       It does.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 32 of 340
                                                                        32
 1   Q     Does the Tribune have a comparable paper?

 2   A     Well, Tribune has a couple flagship papers, but no,

 3   not similar to the USA Today.

 4   Q     Okay.   Now I take it you agree that in doing a sum of

 5   the parts analysis, you ought to look to pure plays and not

 6   diversified companies.     Correct?

 7   A     That's my general view.

 8   Q     And the way you did your analysis, your updating

 9   analysis, you included diversified companies, right?

10   A     Yes, I did.

11   Q     Okay.   Now let's talk about broadcasting for a minute.

12   If you turn to Page 49 of your report, your revised report,

13   you have the comparable company analysis for the

14   broadcasting segment.    Correct?

15   A     Yes.

16   Q     And you come up with a range of 7.5 to 8.6 for the

17   total station group.    Do you see that?

18   A     That's correct.

19   Q     And how did you get that?

20   A     I think on the previous page, Page 48, I'm sorry,

21   that's broadcast.    On the following page, Page 50, we

22   computed the blended EBITDA multiples amongst the pure plays

23   and the diversifieds similar to what we did and then we

24   indexed.   However, within the total station group, there's

25   also a developing stations portion.         And the developing
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 33 of 340
                                                                            33
 1   stations portion I can't recall specifically, but we

 2   extrapolated from the Lazard book as to how that impacted

 3   the multiple.    So if you look at the Lazard multiples,

 4   they're generally higher than the pure comps because they

 5   also include the developing stations.

 6   Q        How can the developing stations raise the multiple?

 7   A        Because they're not valued purely on EBITDA because

 8   they're still developing so as a result, the EBITA is

 9   suppressed.

10   Q        Well, that would lower the multiple, wouldn't it?

11   A        Not the way in which the analysis was performed

12   because I may be incorrect here, but, excuse me.             But for

13   some reason, I think where we found the analysis, it valued

14   it based on revenue and that skewed the multiples up for

15   EBITDA or something along those lines, but I don't remember

16   specifically.

17   Q        Well, the developing stations are stations that were

18   unprofitable and as a consequence didn't have any EBITDA,

19   right?

20   A        Not in all instances.   Some of it might have been

21   unprofitable, some of it might have had a little bit of

22   profit.

23   Q        But they -- the level was such that you utilizing an

24   EBITDA multiple wouldn't give you a meaningful result.

25   Correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 34 of 340
                                                                          34
 1   A     Again, I think it was extrapolated off of the revenue

 2   multiple and then it was blended in.

 3   Q     In any event, you would agree that the methodology you

 4   utilized using diversified companies, as well as, pure play

 5   companies to come up with the extrapolation is not

 6   consistent with how Lazard did its analysis as to how to

 7   pick the multiples to begin with.        Correct?

 8   A     Yes.     We used diversified, but, however, in the case

 9   of broadcasting, I think the mean diversified multiple was

10   actually lower than the mean diversified for pure plays.

11   Q     So two wrongs make a right?        Is that your testimony?

12   A     No, I was just clarifying because we just went through

13   publishing and I was just thinking it through the same way.

14   Q     Well, the fact of the matter is if diversified was

15   lower, you'd still -- by using it, you'd distort the result,

16   wouldn't you?

17   A     Again, we use the same exact methodology.             And there's

18   a possibility that will arithmetically be incorrect.

19   Q     Okay.     Now Mr. Mandava and Mr. Chachas testified that

20   the comparable companies in the broadcast area aren't

21   particularly comparable.     Do you recall that?

22   A     Specifically, that statement I'm sure I recall, but I

23   do recall them talking through several of the comparable

24   companies and talking -- excuse me, talking about

25   differences.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 35 of 340
                                                                            35
 1   Q        Well how does Sinclair compare to Tribune's

 2   broadcasting properties?

 3   A        I think Sinclair might have been one of them that they

 4   felt was at least more comparable.          I think the general

 5   issue that they had was their affiliate relationships with

 6   more with the big four versus CV.

 7   Q        And that drives value.     Correct?

 8   A        It may.

 9   Q        Well, the way Lazard did its analysis, it took the

10   midpoint of the pure play and used that to anchor the high

11   end of its range and then it took a discount off that to

12   reflect the fact that the affiliation mix that Tribune has

13   is weaker than the comparable companies, right?

14   A        Sure.   And without the benefit of that knowledge when

15   we did our analysis, we again, tried to create the best

16   proxy we could create.      And like you said, you know, without

17   the benefit of that knowledge, things could be different in

18   the outcome.

19   Q        But you agree that the way in which Lazard fixed its

20   range makes sense given what they said about the industry,

21   right?

22   A        I'm sorry, can you repeat that?

23   Q        Well, this is what I want you to focus on.           Lazard

24   uses the midpoint of the pure play group with respect to

25   broadcasting to set the top of its range and then took a
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 36 of 340
                                                                             36
 1   discount down from that to set the bottom of the range to

 2   reflect the fact that the comparables might be more

 3   attractive than the TV stations that Tribune owns.             Do you

 4   recall that?

 5   A        I think that sounds familiar.

 6   Q        And I take it from your testimony, you think that's a

 7   reasonable approach, right?

 8   A        I do, however, the only portion that I'm not certain

 9   about had a factor in just sitting here is the developing

10   station group.    I think there's -- I don't remember the

11   exact number.    I'll call it 7 to 10 or somewhere along those

12   lines of developing stations.       And the aggregate EBITDA of

13   those developing stations is -- the round number is $15 to

14   $20 million.    And those values were not extrapolated based

15   on a pure EBITDA multiple.       And I think we had to dig back

16   through the Lazard valuations and do some earlier valuation

17   report to determine how they did that, maybe dating back to

18   March, but again, I -- and my memory may be failing me.             And

19   when you extrapolate to the aggregate TV station group

20   inclusive of that, I think that factored in.            So I just

21   can't recall sitting here because that was a component piece

22   that had an effect of lifting the multiple, that the

23   multiple was relatively high compared to just the range

24   alone.

25   Q        Well, let's take a look at Page 14 of Exhibit 1092
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 37 of 340
                                                                            37
 1   which is in Tab 3.

 2   A     Okay.

 3   Q     Have you gotten to that page?

 4   A     I am.

 5   Q     And this is the comparable company analysis summary of

 6   multiples in Lazard's January update for the broadcasting

 7   segment.   Correct?

 8   A     That's correct.

 9   Q     And it shows that the number of developing stations

10   was smaller than what was in the October study.             Correct?

11   A     It doesn't show the number of developing stations, all

12   it shows is the EBITDA.     So if I recall correctly in the

13   October, the EBITDA was, I thought it was around $15 million

14   or something along those lines.        And if you extrapolate

15   across, I actually thank you for pointing me to this, you

16   know, if you look at the enterprise values driven off of the

17   $1 million of EBITDA, you can see, you know, the multiples

18   are very skewed if you just use an EBITDA multiple against

19   the amount of EBITA.    So that's what I was referring to, so

20   thank you.

21   Q     And looking to the next line, total station group, the

22   range they come up with in January is 6.7 to 7.8, right?

23   A     Yes.

24   Q     And your range is significantly above that is it not?

25   Your range is 7.5 to 8.6.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 38 of 340
                                                                            38
 1   A     Yes.

 2   Q     Which range do you think is the more reasonable range?

 3   A     I -- we updated our report based on their October

 4   report.   We updated the comparable companies based on that

 5   using the method that we discussed, and I believe that in

 6   general, the comparable companies in the data set had gone

 7   up significantly or had gone up from July -- excuse me,

 8   January 19 through February 21 and that likely had a

 9   resulting impact of lifting those multiples.

10   Q     Do you know whether, in fact, that would account for

11   the change or is it just that the multiples are different?

12   A     It could be either.

13   Q     Now yesterday you indicated that you had -- you

14   believed that the multiples -- that the prices of these

15   companies had gone down, but you hadn't looked.             Do you

16   recall that?

17   A     Yeah, I do believe that they've gone down.

18   Q     Did you have a chance last night to look to see how

19   much they've gone down?

20   A     I think there was a demonstrative that I saw that

21   showed it, however, I hadn't previously quantified it.               And

22   the issue is isn't necessarily a question of how much it

23   goes down, it's a question of when you flow it through and

24   do the weightings and everything else, you know, what the

25   value change is and that's that what we didn't have a chance
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11    Page 39 of 340
                                                                           39
 1   to do yet.

 2   Q       Well, let's take a look at Page 10 of your slide set

 3   that you showed the Court yesterday which is Exhibit NP

 4   2470.

 5   A       I'm here.

 6   Q       And you have a chart that shows the variance between

 7   October and February and a variance between January and

 8   February.      Correct?

 9   A       Yes.

10   Q       And it shows between January and February it went up

11   11 percent or thereabouts.        Correct?

12   A       Yes.    And within there, the broadcasting apparently

13   went up so that was probably a portion of the value, the

14   range change so --

15   Q       Now if you could take a look at the document that's

16   behind Tab 9.

17   A       Sure.

18   Q       That's been marked as DCL 1502.            This is an update of

19   your chart, isn't it?

20   A       It looks similar.    I don't know the numbers, but I'll

21   take it that they're accurate.

22   Q       Well, last night did you check when we sent this over?

23   A       I didn't actually get this page until this morning.

24   Q       Okay.

25   A       And so I haven't had a chance.
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11    Page 40 of 340
                                                                           40
 1   Q       Well if, in fact, it's accurate, it shows that most of

 2   the uplift from January to February has been lost in the

 3   last two weeks.     Correct?

 4   A       Yeah, 8.8 percent down versus 11.4 percent up and then

 5   you'd have to look at the categories, absolutely.

 6   Q       Now if you'd take a look at Tab 9 -- 6 for a moment.

 7   It's entitled Multiple Comparison and it has the Exhibit

 8   Number DCL 1499.    Do you recognize this document as a

 9   document se sent over to you?

10   A       Yeah, I looked at this briefly.

11   Q       And what this shows is it essentially takes Mr.

12   Mandava's chart from his slides and adds your multiples and

13   then the multiples as of last Friday.              Correct?

14   A       It looks that way, yes.

15   Q       And it shows that the multiples are consistently going

16   down.   Correct?

17   A       I'm sorry, I didn't follow that last piece.

18   Q       Well, look at New York Times for publishing.             It

19   dropped a half turn in the last two weeks.

20   A       Yeah, you're -- not consistently.            Okay, that's what I

21   was confused about it.     So yes, between February 18 and

22   March 11, it did go down.        And frankly, that's my basis for

23   the statements I was making yesterday, the value of updating

24   the valuation information, so I completely agree with you.

25   Q       Well, so we should update the valuations every day?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 41 of 340
                                                                           41
 1   A     You update the valuation at the time that's

 2   appropriate to update the valuation.

 3   Q     Well, would you think it would be a good time to

 4   update the valuation given the change in the multiple?

 5   A     If I was told to update my valuations, I would update

 6   my valuation.

 7   Q     Well, if you updated the valuation, given the fact

 8   that most of the lift that existed between January and

 9   February has gone out of the market, you'd be back right to

10   where the January supplement was, wouldn't you?

11   A     But that's the whole purpose of updating valuations.

12   You have a valuation as a point in estimate.            You use the

13   best available information you have as of that date and you

14   update.

15   Q     All right.     Now I'd like to ask you some questions

16   about the other wholly owned assets, if I could.             If you

17   could turn to Page 51 of your report, you have your

18   analysis, your comparable company analysis with respect to

19   these assets.   Is that correct?

20   A     That's correct.

21   Q     And the chief asset in this category is Tribune Media

22   Services, right?

23   A     Yeah, I think it counts for probably 90 percent or

24   more of the value.

25   Q     And at your deposition, you didn't know what Tribune
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 42 of 340
                                                                         42
 1   Media Services did, did you?

 2   A        No, I think I described it as a consultancy related

 3   business that leveraged it's knowledge of the media space

 4   and data that I collected in the media space, something

 5   along those lines.

 6   Q        You indicated they provided consulting services,

 7   right?

 8   A        I believe they do.

 9   Q        And that's your understanding of what Tribune Media

10   Services does?

11   A        Well, they provide information and they consult with

12   customers over how to leverage their media spend.

13   Q        What do you basing that on?

14   A        Based on information that I read.        Again, I didn't

15   have the benefit of meeting with management and discussing

16   it specifically with them, perhaps --

17   Q        Well --

18   A        -- you know, word consultancy is the wrong word, but

19   it's just --

20   Q        I had understood from Mr. Mandava's testimony that

21   what Tribune Media Services does is that it provides

22   television information to cable companies that comes up on

23   the screen to show what's on at 5:00. Is that consistent

24   with your understanding?

25   A        Well, that's a part of it.     I think again, maybe I
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 43 of 340
                                                                            43
 1   misused the word consultancy, but in my mind, consultancy

 2   would mean providing either a service or providing

 3   information.   And they provide information and they consult

 4   with clients as to how to do media spend.            And I think the

 5   guide business is a piece of it and I have subsequent to my

 6   deposition had a chance to look more.             And I think they also

 7   license content.    And again, this is stuff I was only really

 8   able to read desktop.    I wasn't able to, you know, gain an

 9   intimate knowledge of the business.

10   Q     Well what specific is the basis of your statement that

11   they provide consulting service -- well, let me ask it a

12   different way.   What percentage of their revenue is based on

13   consulting services?

14   A     I don't know.

15   Q     And do you know what percentage of their revenue is

16   based on the TV guide kind of information they provide?

17   A     I don't know.

18   Q     Is this a growth company?

19   A     I think in my deposition I state it is a growth

20   company.   And, you know, I think from the way I was thinking

21   of it, I know that they're year over year growth statistics

22   are not indicative of a growth company, however, I think the

23   platform being a business that is able to leverage its data

24   in many different ways from that perspective, it's a

25   leverageable platform.     And if you look at the comps, the
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 44 of 340
                                                                               44
 1   comps, you know, in general, I think have growth

 2   characteristics.      So that was the basis for my suggesting it

 3   was a growth company.

 4   Q        Well, Lazard took a fairly significant discount off

 5   the comps, did it not?

 6   A        As we did.    And I think the basis for taking the

 7   discount which was approximately a 50 percent discount was

 8   because the growth characteristics of those comps were

 9   significantly greater than the growth characteristics of the

10   target company.

11   Q        Well at your deposition, you said that TMS was a

12   growth company.       Are you now saying it isn't a growth

13   company?

14   A        No, it's still a growth company, but when you are

15   comparing it to extraordinarily high multiples and the

16   example here is on Page 51, the EBITDA multiples are over 20

17   times.    I mean, that is a very, very high multiple.                And you

18   could be a growth business and have a multiple have ten

19   times or even less or more than ten times, it's just the

20   mean multiples in this case were very, very high.               And what

21   Lazard did was moderate them by basically taking a 50

22   percent reduction to the multiples.

23   Q        Now is your multiple higher or lower than Lazard's

24   current multiple?

25   A        I think we compared ours to their October report so
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 45 of 340
                                                                        45
 1   maybe if you could point me, I can tell you the answer.

 2   Q        Well did you -- in preparing your testimony, did you

 3   go back and look at the January supplement to see how your

 4   analysis compares to what Lazard did in January?

 5   A        Specifically, no.

 6   Q        Now what is Rovey?

 7   A        In general, I think Rovey is very big in the guide

 8   business that you referred to.       It's I think a much bigger

 9   company.    That's a general description.

10   Q        Have the sued TMS?

11   A        I don't know.

12   Q        Do you know whether they have a patent claim against

13   TMS arguing that TMS is violating that patent?

14   A        I don't know.

15   Q        You didn't take that into consideration in doing your

16   valuation analysis?

17   A        No, I didn't.

18   Q        I noticed in looking at this page, you use both 2010

19   and 2011 EBITDA in valuing the company on a go forward

20   basis.    Is that correct?

21   A        Yes.

22   Q        What's the justification for using 2010 to value the

23   company going into the future?

24   A        Well, in general in valuation, you know, I consider

25   both 2010 and 2011.      I consider the last twelve months or
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11    Page 46 of 340
                                                                            46
 1   the closest proxy I have for it and I considered forward

 2   twelve months and the closet proxy I had for it.

 3   Q       So that's a methodological change because Lazard

 4   didn't do that.      They just used a forward looking multiple.

 5   Correct?

 6   A       Can you refer me to the Lazard report page?

 7   Q       Well, when you did your analysis, did you realize --

 8   Lazard only had one EBITDA point for each of its valuations.

 9   Correct?

10   A       Excuse me?    I'm not sure I'm following.

11   Q       Well, on your -- in the October report, did they use

12   trailing EBITDA and forward looking EBITDA or did they use

13   one EBITDA number to do their comparable company valuation?

14   A       I believe their instances were they used 2010 and

15   2011.

16   Q       Well, with respect to the wholly owned companies, did

17   they do that?

18   A       I don't specifically recall for wholly owned.

19   Q       Well --

20   A       But I thought for the other core business units they

21   did.

22   Q       And that's your understanding.        Is that correct?

23   A       Well, I have to refresh myself.            I didn't memorize

24   each number and each comparison, I'd have to refer back.

25   Q       Well, investors don't buy last year's cash flow,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 47 of 340
                                                                          47
 1   they're looking to invest in next year's cash flow.

 2   Correct?

 3   A       I think it's a consideration.       I think last year's

 4   cash flow is a consideration for investors.

 5   Q       Well is it -- yeah, but it's used as a proxy for next

 6   year.   Correct?

 7   A       I think it's used to inform the investor.

 8   Q       Well but the investor is looking to buy an interest in

 9   the future cash flows.     Correct?

10   A       They are, but they're also looking to see how the

11   company is currently performing.

12   Q       And in doing your valuation, you used a blend of both

13   2010 and 2011.     Correct?

14   A       In most instances, yes.

15   Q       So essentially what you did is you ended up doing all

16   the core businesses just like the company did, the broadcast

17   business where it uses the blend of 2010 and 2011 because of

18   the cyclicality of that industry.        Correct?

19   A       Well, they used a blended EBITDA multiple for

20   broadcasting, but I guess you would blend them.             I mean, but

21   -- yes, you'd blend them.

22   Q       So you ended up blending all the core assets now in

23   your analysis, right?

24   A       Well, if you'll give me a moment.

25   Q       Well, you do it for the wholly owned assets, you can
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 48 of 340
                                                                             48
 1   see that on Page 51.      If you go back to the broadcast

 2   segment, you do it for the cable operation and that's on

 3   Page 49.

 4   A       Well the answer of what I did, yes.

 5   Q       Okay.

 6   A       I just was referring back to what we were reviewing,

 7   but yes, what I did was that.

 8   Q       So you used a blend for everything?

 9   A       Not everything.    I think there was the internet

10   business we attempted to use 2011 which is a forward

11   multiple only for the internet businesses.             And for one of

12   them, the information was not available so we just used

13   2010.   And for one of them, the information was available so

14   we used 2011.

15   Q       Now if you take a look at the documents Tab 5 there

16   are three demonstratives.        And these are marked as DCL 1498.

17   Do you see that?

18   A       I don't see the DCL.

19   Q       I'm sorry, it isn't on the document.

20   A       Oh, okay.

21   Q       But we've marked it as DCL 1498.

22   A       Okay.

23   Q       Did you have a chance to look at these last night?

24   A       I looked at it quickly.      I did look at them quickly.

25   Q       And what we've done on these pages is back out the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 49 of 340
                                                                        49
 1   2010 multiple and just redo the valuation utilizing 2011

 2   multiple for the comparable company and keeping everything

 3   else constant, right?

 4   A     Yes.

 5   Q     And it shows that for the publishing it doesn't have

 6   all that big an impact.     Correct?     That's what the first

 7   page shows.

 8   A     That's correct.     It has a 6 to -5.

 9   Q     For the broadcasting, if you would use just 2011 for

10   the cable operations, the number would go down by between

11   $89 and $92 million.    Correct?

12   A     Correct.

13   Q     And that calculation is accurate is it not?

14   A     Yeah, the math flows.

15   Q     And if you look at the whole -- the TMS or TMS

16   information which was the third page, you would reduce the

17   valuation by between $14 and $15 million if you just used a

18   forward looking multiple, right?

19   A     Yes.

20   Q     Okay.   Now I'd like to talk to you, if we could go

21   back to exhibit -- the tab -- the exhibit behind Tab 3, DCL

22   Exhibit 1092 and go to Page 5 again, this is the comparison.

23   A     I'm sorry, I missed that page?

24   Q     Five.

25   A     I'm there.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 50 of 340
                                                                         50
 1   Q     This is again, the comparison that Lazard put together

 2   of its October to January analysis.         Correct?

 3   A     Yes.

 4   Q     And we've been talking about the fact that they had

 5   projected in January that the core business was going down.

 6   Do you see that?

 7   A     Yes.

 8   Q     And you were here for Mr. Hartenstein's testimony

 9   yesterday?

10   A     No.

11   Q     Did anybody report to you what he had said about

12   performance in the first two months of 2011?

13   A     I was prepping and counsel that I had been prepping

14   with was with me and not here so --

15   Q     Well, do you know how the company has performed in the

16   first two months?

17   A     No.

18   Q     Do you know whether, in fact, the forecast -- you do

19   know that the forecast that the company put together for

20   2011 is less than their performance for 2010.            Correct?

21   A     Yes.

22   Q     You put a chart in showing that in your slides

23   yesterday, right?

24   A     That's correct.

25   Q     And they have a budget for 2011 that's less than the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 51 of 340
                                                                          51
 1   performance for 2010.     Correct?

 2   A      Yes.

 3   Q      And yesterday Mr. Hartenstein testified that they were

 4   behind budget.    Are you aware of that?

 5   A      I'm not.

 6   Q      Okay.   Now the other factor that drives value on Page

 7   5 of Exhibit DCL 1092 is the non-controlled or minority

 8   investments.   Correct?

 9   A      Yes.

10   Q      And they show an increase of $357 million, right?

11   A      Yes.

12   Q      And that compares to your analysis which suggested

13   that these would go up about twice as much, right?

14   A      Can you point me to the page?

15   Q      Look at Page 18 of your report which is MPP 2469, the

16   bridge.

17   A      Yeah.   Just over double.

18   Q      And that's a result of the valuations you've done of

19   TV Food, Career Builder, and Classified Ventures.             Correct?

20   A      That's correct.

21   Q      Now before February 4, you had never done any work on

22   any of those properties.     Correct?

23   A      That's correct.

24   Q      You had never valued those types of properties, had

25   you?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 52 of 340
                                                                            52
 1   A     That's correct.

 2   Q     Okay.    Now let's talk about TV Food for a moment.

 3   It's a partnership between Scripps and Tribune.             Correct?

 4   A     Yes.

 5   Q     Did you review the partnership agreement?

 6   A     No, I didn't have it available.

 7   Q     Did you ask your counsel to see the partnership

 8   agreement?

 9   A     At some point, I think I did, but I never received it.

10   Q     Well, do you believe in doing a valuation of a

11   minority interest it's important to look at the partnership

12   agreement?

13   A     Well, to the extent it was available, I would have

14   reviewed it.

15   Q     Well, that's not my question.         My question is in doing

16   a valuation of a minority interest, do you think it's

17   important to look at the partnership agreement?

18   A     I would have liked to have, yes.

19   Q     And do you know -- has anybody told you how that

20   partnership agreement functions?

21   A     No.

22   Q     What are the rights of Tribune as a minority holder in

23   that partnership?

24   A     I just ascribed I haven't received the partnership

25   agreement so I don't know.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 53 of 340
                                                                        53
 1   Q     Well, do you know if they have the right to demand

 2   forecast information?

 3   A     I don't know what rights they have to demand

 4   information.    I thought that they had access or general

 5   access to information so I don't know specifically what the

 6   rights are.

 7   Q     Well, do you know whether, in fact -- now this has

 8   been a pretty lucrative investment for Tribune, has it not?

 9   A     Yes, I believe so.

10   Q     And that's because TV Food's cash flow has been high

11   and Scripps has distributed 100 percent of the cash flow to

12   the partner -- out of the partnership, right?

13   A     I don't know if it's 100 percent, but they've made

14   large distributions.

15   Q     Do you know whether Scripps has the right to change

16   the distribution at will?

17   A     I don't know.

18   Q     Do you know whether Tribune has any ability to

19   influence the size of the distribution?

20   A     I don't know.

21   Q     If Scripps tomorrow decided to take the cash flow and

22   buy something else, would Tribune have any say in that?

23   A     I'm not sure.

24   Q     Do you think that has an impact on value?

25   A     It may.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 54 of 340
                                                                        54
 1   Q     Well, if you were buying a minority interest in a

 2   company, you'd want to know what your rights are, right?

 3   A     Yes.

 4   Q     And to the extent your rights are restricted, that's

 5   going to make the property less attractive, right?

 6   A     Well, there's -- you have to put it all in the

 7   context, but that aspect, yeah, I agree.

 8   Q     Would you take that into account in doing your

 9   valuation?

10   A     I'd consider that.

11   Q     Well where specifically in this analysis did you take

12   that into account?

13                THE COURT:   Mr. Bendernagel, we're going to take

14   a five minute recess during which Mr. Singh can --

15                MR. BENDERNAGEL:    I'm sorry?

16                THE COURT:   We're going to take five minute

17   recess during which Mr. Singh can figure out if he's got an

18   answer to that question.

19                MR. BENDERNAGEL:    Okay, thank you, Your Honor.

20                THE COURT:   But I ask Mr. Singh that you not

21   discuss your testimony with anyone during the break.

22                MR. SINGH:   Yes, Your Honor.

23                THE COURT:   All right, thank you.

24                MR. SINGH:   Thanks.

25                THE COURT:   Court will stand in recess.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 55 of 340
                                                                                  55
 1   (Recess from 10:05 a.m. to 10:17 a.m.)

 2                 THE CLERK:   Be seated, please.

 3                 MR. BENDERNAGEL:   May I proceed, Your Honor?

 4                 THE COURT:   You may.

 5   BY MR. BENDERNAGEL:

 6   Q     I think you were pondering the last question I asked

 7   which was where in your analysis of TV Food did you take

 8   into account its minority status.        Do you recall that?

 9   A     Sure.    I believe during the due diligence process, we

10   noted that Lazard had taken that into consideration.                I

11   believe it was in the Chachas' expert report.             And the as in

12   the course of our analysis, we relied on comparable

13   companies and precedent transactions.             With respect to the

14   comparable companies, when you consider what you're

15   comparing it to, it's a share of stock.            A share of stock in

16   itself is a minority interest.        Second, when we consider the

17   precedent transactions, we considered two; one was The

18   Weather Channel and one was the Travel Channel.              The Weather

19   Channel transaction occurred in July 2008 and I believe the

20   Travel Channel transaction occurred in December of 2009.

21   And putting those dates into context, those were certainly

22   not the best of days and certainly the recovery within the

23   market has been substantial since that period of time.                  So

24   when considering that Lazard had considered it and also our

25   view of the comparable metrics, as well as, the precedent
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 56 of 340
                                                                            56
 1   transactions, we determined that we did not need to adjust

 2   any further.

 3   Q     Okay.     Can you take a look at Page 53 of your revised

 4   report which is NP 2469.     Are you with me?

 5   A     Yes.

 6   Q     You use a comparable company methodology and you use a

 7   total precedent transaction methodology.           Correct?

 8   A     That's correct.

 9   Q     And you blend them 50/50, right?

10   A     Yes.

11   Q     That's not how Lazard blended them is it?

12   A     No, Lazard blended theirs 70/30 in favorable of

13   comparables.

14   Q     And the reason they did that was to take into account

15   the control premium was it not?

16   A     I don't know that.

17   Q     Well were you here for Mr. Mandava's testimony?              I

18   thought he indicated he wanted to downplay the impact of the

19   precedent transactions because each of the two precedent

20   transactions that you identified were controlled

21   transactions.    Correct?

22   A      They were controlled transactions I -- in the review

23   of the Lazard materials whether it was March or October,

24   they didn't indicate that that was the rational for the

25   weighting.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 57 of 340
                                                                          57
 1   Q     Well when you were here the other day, that's what Mr.

 2   Mandava said, isn't it?

 3   A     Specifically, I don't recall, but he may have.

 4   Q     Well what else -- what other justification would there

 5   be for weighting the precedent transactions at 30 and

 6   weighting the comparable companies at 70?

 7   A     I don't know because I weighted mine at 50/50.

 8   Q     And as a consequence, you essentially weighted control

 9   transactions as if they were minority transactions, right?

10   A     In this instance, I don't believe that's the case.

11   And I think when you consider a valuation, you have to

12   consider the context.    And as I just stated, within the

13   precedent transactions, the timing associated with those

14   transactions despite the fact that they're controlled

15   transactions, let me to conclude that the timing of the

16   market was very different than the timing of the market now.

17   Q     What specifically do you know about The Weather

18   Channel transaction, sir?

19   A     The Weather Channel was purchased by a consortium of

20   buyers. The operating partner, if you will, the one that

21   manages the operations of the business is NBC.            NBC owns the

22   smallest interest which is 25 percent.            The other two

23   partners are Blackstone and Bain.        And Blackstone and Bain

24   each own approximately 30 percent of the balance.             So it's a

25   somewhat unusual transaction in that principally, the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 58 of 340
                                                                           58
 1   financial backing aspect of these transactions, those people

 2   are not the operators of the business.            NBC who owns the

 3   smallest interest is the backer.

 4   Q       Is the operator.

 5   A       Is the operator, excuse me, thank you.

 6   Q       And it's your testimony that they didn't pay a premium

 7   at that juncture in time for control?

 8   A       They may very well have paid a premium, but again, you

 9   have to consider the context and the timing.            You know value

10   changes over time.    And my general sense is in mid-1008,

11   Bear Sterns had failed, Merrill Lynch was getting taken

12   over.   You know, Lehman was having a lot of challenges.             The

13   financial markets were in turmoil.         And going in to 2009,

14   we're in the recovery phase, but, you know, there's

15   substantial portion of the recovery phase that has occurred

16   since 2009.   So you take into context what the time of the

17   transaction was as well.

18   Q       Well let me get this straight.       You admit there are

19   control precedent -- there are control transactions and they

20   took place in a time very different than today and you still

21   weight them with the same level as today's comparables.              Is

22   that correct?

23   A       Well, as I described in The Weather --

24   Q       Is that correct?   In doing your analysis, you admit

25   that the precedent transaction was a control transactions
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 59 of 340
                                                                        59
 1   and they took place in a very different time period, yet you

 2   didn't underweight them compared to the forward looking

 3   multiples that you used in your comparable company analysis.

 4   Is that correct?

 5   A        It's correct with the exception that I used the lower

 6   end of the multiple range.       So one was at a 13.7 times, one

 7   was at a 13.9 times.

 8   Q        And --

 9   A        I used the 13.7 times to create a further discount.

10   Q        But then you weighted that 50 percent, right?

11   A        That's correct.

12   Q        And that weight -- 13.7 is higher than Scripps, the

13   parent company trades for at any point in your analysis

14   whether you're using 2010 multiples or 2011 multiples,

15   right?

16   A        That's correct.

17   Q        And as a consequence, your hypothesis is that somebody

18   would pay a higher multiple for a share in a subsidiary of

19   Scripps that has no control than they would to buy into

20   Scripps, right?

21   A        On a blended basis, that would still be the result so

22   yes.

23   Q        Now what was the effect of using both 2010 and 2011

24   EBITDA on your results, do you know?

25   A        I believe you created a slide, but I don't recall
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11    Page 60 of 340
                                                                              60
 1   exactly what the slide said so -- I never ran that analysis.

 2   Q     Let's take a look at the slides behind Tab 7 which is

 3   Exhibit 1500, DCL 1500.     And the first page attempts to

 4   depict what the impact is of taking out 2010 EBITDA holding

 5   everything else constant.        Do you see that?

 6   A     I do.

 7   Q     And what's the result that's depicted on this page?

 8   A     It would reduce total distributable value, I believe

 9   $14 to $70 million reduction.

10   Q     Now if you take a look at the next chart, the next

11   chart is essentially set up as your analysis, but we've done

12   here is substitute in the correct numbers for the operating

13   metrics for TV Food.    Do you see that?

14   A     I do.

15   Q     And you talked in your slide last week, I believe it's

16   on Page 25 of the fact that if you had done that, the

17   reduction would be about $71 million.              Do you recall that?

18   A     Yes, I believe this is a similar calculation.

19   Q     And this calculation results in a reduction of value

20   between $69 and $70 million.        Correct?

21   A     Yeah, my disclosure in this calculation were intended

22   to be one in the same.

23   Q     Okay.   And but you didn't make that change in your

24   analysis.   Is that right?

25   A     We weren't requested to.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 61 of 340
                                                                        61
 1   Q     You were -- you're coming here to testify as to your

 2   best judgment to the valuation and you need somebody to tell

 3   you to make the change?     Is that what you're testifying to?

 4   A     That's correct.

 5   Q     Okay.   If you take a look at the next chart, what

 6   we've basically done on this chart which is the third chart

 7   in DCL 1500, we've updated the multiples that you used using

 8   present market prices.     Do you see that?

 9   A     I do.

10   Q     And the impact of that change when combined with using

11   the proper metrics is that your values are reduced in the

12   order of $120 million.     Do you see that?

13   A     I do.

14   Q     Do you have any basis to question this analysis?

15   A     Yeah, the difference is driven between the stock price

16   date that we used of February 18 and the stock price date of

17   March 11 that you used in this.        So I think that is

18   quantitatively the difference.

19   Q     So that reduces the number by another $50 million.

20   Correct?   Compared to what it would if you had made the $71

21   million adjustment that you referred to on Page 25 of your

22   slides?

23   A     Yes.

24   Q     And if you look at Tab 8 just to get through these

25   documents, what we've attempted to do is blend in in Tab 8
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 62 of 340
                                                                             62
 1   which is DCL 1501, the impact of actually getting rid of

 2   2010 EBITDA using the correct metric for 2011 and updating

 3   to 3/11/11.   Do you see that?

 4   A     I believe I follow this, but, yes.

 5   Q     And the -- if you had done those three things, the

 6   resulting decrease was between $134 million and $198

 7   million.   Correct?

 8   A     That's correct.

 9   Q     And if you would apply a minority discount to that

10   number, the reduction would be even greater, right?

11   A     If you were to apply a discount, yes.

12   Q     Now Mr. Tulliano imposed a discount on the TV Food

13   properties in connection with his analysis.            Are you aware

14   of that?

15   A     Not specifically.     I can't recall whether in the

16   materials that we had to review last night whether that was

17   one of the items, but I never reviewed anything that Mr.

18   Tulliano prepared.

19   Q     Mr. Tulliano is one of the noteholders other experts.

20   Is that correct?

21   A     I believe so.

22   Q     Could you take a look at Tab 10?            It is an excerpt

23   from Mr. Tulliano's report which is marked MPP 944.                And I'd

24   ask you first to look at Page 97.

25   A     I'm there.
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 63 of 340
                                                                             63
 1   Q     And 98.    Do you see this is his analysis of the equity

 2   investments.    And if you look at the second page, 98, you

 3   can see one of the investments he values is TV Food.                Do you

 4   see that?

 5   A     I do.

 6   Q     And he has an Exhibit I4. Do you see that?              It's

 7   referenced in the last sentence in that section.              I4

 8   presents details of my valuation of the various equity

 9   investments.    Do you see that?

10   A     I see that reference.

11   Q     If you look at the last page of this exhibit, it's

12   entitled Exhibit I4-B.     Do you see that?

13   A     No.    I'm trying to find it.       The last page of -- so

14   Page 100 on the bottom?

15   Q     No, it's the last page of the exhibit behind 10.                It's

16   a spreadsheet.    It looks like a DCF.

17   A     Can you visibly show me?

18                 UNIDENTIFIED SPEAKER:      I don't think it's in the

19   book, Jim.

20                 THE COURT:   It's not in my binder either.

21                 MR. BENDERNAGEL:    That's a shame.        Can I show it

22   to him, Your Honor?

23                 THE COURT:   Yes.

24   BY MR. BENDERNAGEL:

25   Q     You can take a moment to familiarize yourself with
     Case 08-13141-BLS     Doc 8377-3    Filed 03/16/11   Page 64 of 340
                                                                             64
 1   that chart.

 2   A        I think in general it looks like a discounted cash

 3   flow of the TV Food Network in 2007.

 4   Q        And if you could look down the page, there's an item

 5   that I've circled and highlighted that talks about a

 6   discount of 16.7 percent.          Do you see that?

 7   A        Yeah, it's circled.

 8   Q        Could you just read that into the record?

 9   A        Sure.

10   Q        And read the footnote that goes with it.

11   A        Less discount for lack of control at 16.7 percent,

12   Footnote 9.      Footnote 9 it's a little written over, I

13   apologize.       Based on a concluded control premium of 20

14   percent based on merger stat review 2007.              This implies a

15   discount for lack of control of 16.7 percent and then

16   there's a formula of (1-1/)1+ 20 percent).

17   Q        Now looking at that document, you can see what Mr.

18   Tulliano has done is reduced his value to reflect that 16.7

19   percent discount for control, right?

20   A        It appears so.

21   Q        Now that's not an unusual thing to do in a valuation

22   is it?

23   A        No.

24   Q        If you could take a look at Tab 11 for a moment in

25   your binder.      This is an excerpt from the examiner report.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 65 of 340
                                                                         65
 1   Do you see that?

 2   A     I do.

 3   Q     And the examiner report, Your Honor, has been marked

 4   as NP 782, but I believe it's also being submitted jointly

 5   by the parties.     If you look at Page 253 at the top, there's

 6   a point and I'll read it into the record.           VRC failed to

 7   apply any minority or marketability discounts in connection

 8   with its determination to the value of Tribune's equity

 9   investments.   Despite the fact that with limited exceptions

10   Tribune held less than a 50 percent ownership in those

11   investments and most of Tribune's investments were the non-

12   public closely hold businesses.        Do you see that?

13   A     I do.

14   Q     And then there's a footnote at the bottom of the page

15   that talks about this issue.       Correct?

16   A     Footnote 1023.

17   Q     And the third paragraph of that footnote reads despite

18   VRC's response, it is nonetheless appropriate to recognize

19   some level of discount in determining the value of Tribune's

20   minority interest in ill liquid, i.e., non-public traded

21   assets.   VRC's claim that Tribune's equity investments were

22   growing -- were in growing market segments would not modify

23   the nature of Tribune's ownership interest, but rather would

24   be reflected enhancement -- in an enhancement to the

25   aggregate values ascribed to each enterprise already
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 66 of 340
                                                                        66
 1   reflected in the value of the enterprise.           Even though

 2   Tribune had in certain instances the ability to elect board

 3   members, this would not negate the justifiable inclusion of

 4   discounts.    Rather, these considerations might be relevant

 5   in assessing the magnitude of the discount to be applied,

 6   but would not serve as a basis for eliminating them all

 7   together.    Do you see that?

 8   A     I do.

 9   Q     Were you made aware of what the examiner had said

10   about the -- this issue in connection with putting together

11   your analysis?

12   A     No.

13   Q     If you take a look at Tab 13, there are certain --

14   this has been marked as DCL -- if you look at Tab A, it's

15   marked as DCL 1503.    It's excerpts from the Damodaran's

16   Investment Valuation Book.       Do you see that?

17   A     I do.

18   Q     Are you familiar with this document?

19   A     Generally.

20   Q     Well, have you ever read this book before?

21   A     Perhaps I read parts of it in business school or after

22   business school, but I'm not sure I read it cover to cover.

23   Q     Well, in doing your valuation work in the last few

24   years, have you ever had to consult Mr. Damodaran's work?

25   A     As I just stated, I think I've reviewed excerpts here
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 67 of 340
                                                                              67
 1   and there, but I -- you asked if I read the book.              I just

 2   want to be clear, I haven't read every page of the book.

 3   Q       Well who is Mr. Damodaran?

 4   A       I think he's a very well respected professor, I

 5   believe from NYU, but I'm not positive.

 6   Q       If you could take a look at the third page of Exhibit

 7   1503.   It has the Bates -- it starts Page 684 at the top.

 8   A       I'm there.

 9   Q       Are you there?

10   A       Yes.

11   Q       The second paragraph under control issues reads there

12   are implications for valuation if a portion of a private

13   firm is offered for sale, if that portion provides a

14   controlling interest, i.e., the right to pick the firm's

15   management, it should have a substantially higher value than

16   if it does not provide this power.          Normally, this would

17   mean that 51 percent of a firm's private equity should trade

18   a substantial premium over 49 percent.             This applies whether

19   a firm is being sold to a private entity or a publicly

20   traded firm and may arise in initial public offering.               If

21   for instance only non-voting shares or shares with diluting

22   voting rights are offered to investors in the public

23   offering, they should trade at a discount on shares with

24   full voting rights.      Do you see that?

25   A       I do.
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 68 of 340
                                                                               68
 1   Q        Do you agree with that?

 2   A        Generally, yeah.

 3   Q        And take a look at Tab B.      This is another quote from

 4   Mr. Damodaran's book.       If you look at Page 677, there's a

 5   section on illiquidity discounts.         Do you see that?

 6   A        Yes.

 7   Q        And Mr. Damodaran says when you take an equity

 8   position in an entity, you generally like to have the option

 9   to liquidate that position if you need to.             The need for

10   liquidity arises not only because of cash flow

11   considerations, but also because you might want to change

12   your portfolio holdings.      With publicly traded firms,

13   liquidation is simple and generally has a low cost.                 The

14   transaction calls for liquid stocks or a small percentage of

15   value.    With equity in a private business, liquidation costs

16   as a percent of firm value can be substantial.

17   Consequently, the value of equity in a private business may

18   need to be discounted for this potential illiquidity.                Do

19   you see that?

20   A        I do.

21   Q        As a general proposition, do you agree with that?

22   A        Yeah, academically speaking, yes.

23   Q        One last quote from Damodaran.       If you look over at

24   679.   He has the statement in the first full paragraph,

25   second -- third sentence.        Rules of thumb often set --
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 69 of 340
                                                                            69
 1   A        I apologize.    Where are you?

 2   Q        Page 679.

 3   A        And which paragraph?

 4   Q        The paragraph at the top of the page that becomes in

 5   summary and I'm looking at the third sentence.

 6   A        Thank you.

 7   Q        It says rules of thumb often set the illiquidity

 8   discount at 20 to 30 percent of estimated value and there

 9   seems to be little or no variance across variation across

10   firms.    Do you see that?

11   A        I do.

12   Q        Do you agree with that statement?           Is that consistent

13   with your --

14   A        Well, I think it's an academic approach and, you know,

15   there's probably different rules of thumbs, but yeah,

16   generally, I think I've heard this before, yeah.

17   Q        All right.    Take a look at Tab C.         There's an excerpt

18   from Mr. Pratt's book, Valuing a Business.               Do you see that?

19   A        One second.    I'm there.

20   Q        And who is Mr. Pratt?

21   A        Mr. Pratt is a well known author of finance textbooks.

22   Q        Have you read his textbooks?

23   A        I've used and looked at them over time.

24   Q        And did you consult it in connection with doing the

25   work in this case?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 70 of 340
                                                                         70
 1   A       I did.

 2   Q       You did?

 3   A       I did.

 4   Q       Okay.    Now did you look at the section that we're

 5   looking at here, degree of marketability?

 6   A       You're on Page 39?

 7   Q       Starting on Page 39, I believe that's the beginning of

 8   the chapter.

 9   A       I looked at it, I think last night when I received

10   this.

11   Q       But you hadn't looked at it before then?

12   A       I looked at it over the years, but I haven't -- I

13   didn't look at it since February 4, no.

14   Q       Okay.    Now take a look at Page 404, empirical evidence

15   to quantify lack of control discounts.

16   A       Just give me one moment.      Okay, I'm there.

17   Q       You see a chart Exhibit 16.1 or -1?

18   A       I do.

19   Q       And it's entitled Percent Mean and Median Premium Paid

20   and Implied Minority Discount.        Do you see that?

21   A       Yes.

22   Q       And if you look at the last column, it talks about

23   implied minority discount.        Do you see that?

24   A       I do.

25   Q       And it appears to be looking at buyouts from the
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 71 of 340
                                                                         71
 1   period 1998 to 2006.     Correct?

 2   A     It appears to, yes.

 3   Q     And it shows that the discounts ranged from a low of

 4   14.3 percent to a high of 25 percent during that time

 5   period.   Correct?

 6   A     The discount over the premium paid.            Is that correct?

 7   Q     Well, this is the implied minority discount which

 8   would have been calculated --

 9   A     Off the premium.

10   Q     Paid.

11   A     So it would be off the precedent transaction value.

12   Q     Right.

13   A     Yes.

14   Q     And is that consistent, that level of implied discount

15   consistent with your experience over time?

16   A     Yeah, I mean, it's not a black -- it wouldn't be

17   unusual for me to see that, however, everything is case

18   specific.    You look at the facts and circumstances

19   surrounding any individual situation, but I don't find it

20   unusual to see this.

21   Q     Okay.    Well, I'm asking you whether that range of

22   discounts is consistent with your experience over time for

23   lack of control.

24   A     It's again, case specific.

25   Q     Well, Mr. Chachas -- were you here for Mr. Chachas'
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 72 of 340
                                                                         72
 1   testimony?

 2   A      I think I was here for most of it.

 3   Q      And Mr. Chachas has a fair amount of experience in the

 4   broadcast and publishing business.          Is that a fair

 5   statement?

 6   A      He asserted so.

 7   Q      Okay.   He indicated that control discounts generally

 8   range from 10 to 30 percent.        Do you recall that testimony?

 9   A      I recall him saying that a discount of 10 percent or

10   more or something along those lines would be something he

11   would consider.

12   Q      And that would be consistent with Professor Pratt's

13   analysis?

14   A      Sure.

15   Q      In the exhibit we just looked at.

16   A      Absolutely.

17   Q      One last section.     If you'd turn to Tab D of 13, DCL

18   1506 is another excerpt from Mr. Pratt's book and it's the

19   Chapter 17 discounts for illiquidity and lack of

20   marketability.    Do you see that?

21   A      Can you refer me again to the page?

22   Q      The title of the page is on the third -- the second --

23   the third page of the exhibit.        It says Chapter 17 at the

24   top.

25   A      Yes.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 73 of 340
                                                                              73
 1   Q     Did you consult this in doing the analysis that you

 2   performed on the Tribune account?

 3   A     I didn't refer to this in the context of my analysis

 4   between February 4 and now.      And the only time I referred to

 5   this was last night when I received this.

 6   Q     Okay.   If you'd take a look at Page 431, he has a

 7   summary of restricted stock stales.         Do you see that?

 8   A     One moment.    I'm there.

 9   Q     And he shows an average price discount taken from

10   various studies.    Do you see that?

11   A     I do.

12   Q     And they range from a low of 13 percent to apparently

13   a high of 45 percent.    Do you see that?

14   A     I do.

15   Q     Is that consistent with your experience in the field?

16   A     Again, I haven't reviewed this in detail.              The years

17   covered in the study are 1966 through '69 in some instances

18   and '70s and '80s in other instances.             So I think the

19   capital markets may have evolved a little bit since then and

20   liquidity may be more readily attained.            So conceptually and

21   academically I understand and agree, I just think that time

22   may impact the study.

23   Q     Well has time eliminated these types of discounts?

24   A     It's not that time has eliminated the discounts, I

25   think the evolution of the capital markets, you know, the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 74 of 340
                                                                             74
 1   evolution of overnight offerings, the private placement of a

 2   business, and a variety of other types of things that have

 3   become in vogue in the last several years may impact that

 4   discount, but these are, again, things that you have to

 5   consider on a case by case basis.

 6   Q     And I take it you considered them in valuing TV Food,

 7   Career Builder, and Classified Venture and decided not to

 8   take any type of discount in that regard, right?

 9   A     Well, again, I think you're talking about discounts as

10   it relates to the precedent transactions.           And we only

11   counted the precedent transactions 50 percent over the

12   comparable companies.    So I think we did a variety of things

13   within our analysis and I think I had previously testified a

14   few moments ago of my comprehensive rational.

15   Q     Okay.   Let's talk for a moment about Career Builder.

16   If you could turn to Page 55 of your analysis of your

17   revised report.

18   A     Sorry, gotcha.

19   Q     Here, you used precedent transactions in comparable

20   companies again.    Is that correct?

21   A     Yes.

22   Q     And Lazard only used comparable companies.             Correct?

23   A     That's correct.

24   Q     And you seize upon a transaction involving Career

25   Builder in 2008.    Correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 75 of 340
                                                                        75
 1   A     We included that, yes, as our only precedent

 2   transaction.

 3   Q     It was a 10-percent sale by Tribune to somebody,

 4   correct?

 5   A     To GNET, correct.

 6   Q     And what is GNET’s position?         What was GNET’s position

 7   after it acquired that 10 percent, in terms of its holdings

 8   at CareerBuilder?

 9   A     It took them from -- I may get the percentages wrong,

10   but it took them to just over 50 percent, I believe.

11   Q     So they bought a control position, correct?

12   A     Again, I don’t know -- when you think of control,

13   there’s a variety of factors, of course, you have to

14   consider, so I don’t know exactly what control features they

15   may have acquired, but from a general standpoint, having

16   more than 50 percent is often referred to as a control

17   position.

18   Q     And you weighted that control transaction equally with

19   the comps, correct?

20   A     I did.

21   Q     And so you didn’t take that into account, the control

22   position, when you did your analysis, right?

23   A     I did, and again, the transaction, first of all, was a

24   very good comp in this comparable transaction, because it

25   was a sale of its own company, and there are three
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 76 of 340
                                                                         76
 1   significant owners of that business.          We are now the second

 2   largest owner.     I think McClatchy might be also an owner in

 3   that business.     And the transaction occurred in September of

 4   2008, and again, from a market standpoint, the market was in

 5   a period of disruption, and we factored that into our

 6   consideration, and we also only weighed it 50/50 with the

 7   comparable companies.

 8   Q        So you gave it equal weight to a forward-looking

 9   multiple -- gave a multiple from two to three years ago, in

10   a different market that had a control premium, you weighted

11   50 -- you weighted equally to the comps that you’re using

12   for the future, right?

13   A        I apologize.   When you first started --

14   Q        Let me rephrase the question.

15   A        Okay.

16   Q        It was a bad question.

17   Q        Okay.   Just so I understand, in doing your analysis,

18   you gave equal weight to the multiple that you developed

19   from this 2008 precedent that involved the change of control

20   with your forward-looking comparable company multiples,

21   right?

22   A        Yes, that’s correct.

23   Q        Now, if you take a look at Classified Ventures for a

24   minute, which is the next page, 56, here you use precedent

25   transactions in comparable companies again, correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 77 of 340
                                                                             77
 1   A     We did.

 2   Q     And you used the Interbrand transaction.            You -- the

 3   Interbrand transaction is the precedent transaction,

 4   correct?

 5   A     The Internet Brands transaction, which was a comp that

 6   Lazard used, which was subsequently sold, so therefore, it

 7   could not be a comp, so we, as a result, included it as a

 8   precedent transaction, yes.

 9   Q     Was there a control premium associated with that?

10   A     Well, I believe it was a change-of-control

11   transaction, because it was acquired by Hellman & Friedman.

12   Q     And that transaction occurred recently, correct?

13   A     Yes.

14   Q     So -- and you still weighted it 50/50 with the

15   comparable companies, correct?

16   A     That’s correct.    And the rationale we applied in that

17   instance was, in the company’s presentations, we had noted

18   that they had discussed -- it might’ve been a board

19   presentation; I don’t recall.       But they had discussed the

20   sale of Auto Trader, which they felt was a comparable

21   transaction, and that was a minority sale to Providence

22   Equity.    That was not a control sale, from what we

23   understand, and that occurred at a 13-times multiple.              So

24   that informed us that the 13-times multiple for a minority

25   sale may also be relevant.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 78 of 340
                                                                        78
 1   Q     Now, did you look at -- you know how the Classified

 2   Ventures partnership or joint venture is structured?

 3   A     I only own -- I only know -- I -- we have a board

 4   seat, I believe, as I’ve seen that somewhere, and I also

 5   understand that we are the largest shareholder of Classified

 6   Ventures, with some other partners.

 7   Q     Well, are you aware of the fact that Classified

 8   Ventures has a structure, pursuant to which the partners get

 9   a discount with respect to the use of the services and the

10   jurisdictions they serve?

11   A     Generally.

12   Q     And that depresses value, does it not?

13   A     Well, it depresses the earnings streams, but I think

14   if a sophisticated buyer or investor were to look at it,

15   they would be able to either add that back or renegotiate

16   those terms, so I think the key thing that a sophisticated

17   buyer would evaluate would be, you know, how do you pro

18   forma of the impact, or how would you negotiate around the

19   impact of that.

20   Q     How would you change that situation if, in fact, the

21   partners didn’t want to change it?

22   A     Well, if the partners didn’t want to change it, then

23   as a result, the existing earnings stream would be the

24   relied upon multiple.

25   Q     But it would depress the value in the marketplace of
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 79 of 340
                                                                              79
 1   you -- each of the minority interests, right?

 2   A     Not necessarily.

 3   Q     Well, have you done a study of that?

 4   A     No.

 5   Q     Have you taken into consideration whether a minority

 6   discount ought to be applied to the Tribune share in

 7   Classified Ventures?

 8   A     Can you repeat that, please?

 9   Q     Have you taken into account whether, in fact, a

10   minority discount should apply to the valuation of Tribune’s

11   share in Classified Ventures?

12   A     Again, they have the largest share.           We relied 50

13   percent on comparable companies, which again, is a share of

14   stock, which is a minority share.        We relied 50 percent on

15   precedent transactions, so we discount it 50 percent.              And

16   we were informed, by the Auto Trader transaction, which was

17   a minority transaction, so I believe we took it into

18   consideration, factoring those things in.

19   Q     How does the fact that those other things occur take

20   into account that value is suppressed as a result of this

21   structure that’s imposed on the partnership?

22   A     Again, I think it’s factored into the earnings stream,

23   and my memory’s failing me a little bit, but I do recall a

24   presentation that I reviewed, through the discovery, where

25   the partnership was in discussions with potential outside
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 80 of 340
                                                                              80
 1   parties, and that was a factor that was being considered as

 2   to how that would be dealt with, and they were discussing

 3   indications of value from those outside parties.             And

 4   nothing -- and I don’t recall all the specifics, so I know

 5   it’s something that they would consider addressing.                And

 6   beyond that, I think it’s factored into EBITDA, which would

 7   then factor into what the valuation ranges would be.

 8   Q     Now, let’s talk about the pension issue, for a moment,

 9   if I could.   Go back to page 18 of your study.           You

10   basically indicate that Lazard has understated value by $182

11   million because of these non-cash-pension expenses, is that

12   correct?

13   A     Yes.

14   Q     And as I understand the point you’re making, how you

15   got that calculation is you essentially added back the non-

16   cash-pension expenses to EBITDA, thereby increasing EBITDA,

17   and then, in your comparable company methodology, you

18   multiplied that higher EBITDA by the multiple to get a

19   higher value, right?

20   A     That’s correct.

21   Q     And you did that because of fresh-start accounting, is

22   that correct?

23   A     Yes.

24   Q     And fresh-start accounting is going to be imposed,

25   it’s your understanding, when the company emerges from
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 81 of 340
                                                                             81
 1   bankruptcy, right?

 2   A     Yes.

 3   Q     But fresh-start accounting is not going to just affect

 4   this one account, right?

 5   A     That’s correct.

 6   Q     It’ll affect a lot of accounts.

 7   A     It may.    I don’t have any analysis, but that sounds

 8   right to me.

 9   Q     Well -- and that could affect EBITDA in a bunch of

10   different directions, right?

11   A     It may.

12   Q     But you haven’t looked at any of those other factors.

13   You just focused in on this one factor, is that correct?

14   A     We received the February 2 board of directors update

15   package.    Within there, up front, an entire section was

16   dedicated to this issue, which to me, identifies it as a

17   prominent issue.    And then subsequent to my deposition, I

18   actually reviewed it and looked for any other references to

19   fresh start.    That was the only reference that I could

20   identify.

21   Q     Well, did you look in the disclosure statement?

22   A     For fresh-start adjustments?         I’m not sure.      I don’t

23   believe so.

24   Q     All right.     Now, the multiple that you used in your

25   comparable company, you did not adjust to take out non-cash-
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 82 of 340
                                                                         82
 1   pension expense that might be in the comparable companies,

 2   correct?

 3   A        That’s correct.

 4   Q        So you’re essentially multiplying an apple by an

 5   orange, right?

 6   A        No.

 7   Q        You don’t think you need -- well, let me ask you this

 8   question.      If you had made that adjustment and you added

 9   back the pension expense to the EBITDA for these other

10   companies, the multiple would be lower, correct?

11   A        No.

12   Q        No?   How is that possible?

13   A        Well, if I were to actually adjust all the comparable

14   companies for their pension expense and then add back their

15   under-funded pensions as debt, the multiple would actually

16   go up.

17   Q        I’m not asking you to add back -- well, how would it

18   -- let me -- if you made the exact same change to EBITDA --

19   A        Um-hum.

20   Q        -- that you made to Tribune’s EBITDA, to the EBITDAs

21   of these other companies, their EBITDAs would increase,

22   right?

23   A        You can’t do it in isolation.

24   Q        Well, you did it in isolation with respect to Tribune.

25   A        No, I don’t believe I did.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 83 of 340
                                                                        83
 1   Q     Well, let me just make -- you -- what you did is you

 2   added back the pension, the non-cash-pension expense to

 3   EBITDA, correct?

 4   A     Yes.

 5   Q     And when you come over to the comparable companies,

 6   the way you get the multiple is to compare EBITDA to total

 7   value, correct?

 8   A     That's correct.

 9   Q     And if, in fact, the EBITDA has -- if the EBITDA --

10   and the EBITDA’s the denominator in that equation, correct?

11   A     Yes.

12   Q     So if you increase the EBITDA by adding back the non-

13   cash-pension expense, the result is going to be a lower

14   multiple, by definition, right?

15   A     That’s correct, but that’s an incomplete analysis.

16   Q     Well, what else would you have to do to get the

17   multiple?

18   A     Well, again, in -- you’re talking about an adjustment

19   that you could -- that you would make to the comparable

20   companies, so if you went to the comparable companies and

21   tried to reduce the previous unrealized -- if you try to

22   take out the pension from the previous companies and the

23   added back the deficit within the pension plans as debt,

24   that would be an apples-to-apples comparison.

25   Q     Well, stop for a second.       You didn’t add back the
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 84 of 340
                                                                         84
 1   pension liability into your analysis of the valuation of

 2   Tribune, did you?

 3   A     It wasn’t necessary.

 4   Q     Why is it necessary in the comparable company analysis

 5   but not in the Tribune analysis?

 6   A     Because the cash-flows within Tribune, taking into

 7   account, I believe -- I have no other basis for this

 8   assumption -- the -- to the extent there’s an under-funded

 9   pension -- let me back up.       The non-cash-pension expense

10   relates to amortization: amortization of unrealized losses

11   from 2008.   Whether there is an over- or under-funded

12   pension plan, when you do an adjustment, a book entry, to

13   eliminate previous unrealized losses or gain, that has no

14   impact on the balance-sheet account whether you have an

15   over- or under-funded pension.        So the company, by

16   definition, would need to have taken that into account

17   through their cash-flows.        So I believe that I’m only

18   affecting as it relates to the unrealized losses from 2008

19   in their pension plan, and any other entries, as it relates

20   to their pension, I kept un-impacted, I -- to the extent

21   that there’s service costs, interest costs, returns in --

22   returns, et cetera, et cetera -- all those other entries, I

23   didn’t touch.   I only impacted the unrealized losses from a

24   previous year’s loss.

25   Q     Well, do you know whether, in fact, the pension fund
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 85 of 340
                                                                           85
 1   is under-funded?

 2   A        I do now.

 3   Q        And you didn’t know it when you were doing your

 4   analysis, right?

 5   A        No, because I didn’t deem it as relevant at that

 6   point.

 7   Q        Well, it’s a drag on value, isn’t it?

 8   A        Yeah, it --

 9   Q        And you haven’t taken it into account in your

10   analysis.    Where, in your analysis, do you take this into

11   account, sir?       The under-funded pension, where, in your

12   analysis, do you take that into account?

13   A        Well, it would be flowing through the projections of

14   the company, and if you go to Lazard’s discounted cash-flow

15   analyses and our discounted cash-flow analyses, there’s

16   adjustments for the pensions --

17   Q        Well --

18   A        -- and within the way the company accounts, as I

19   believe -- understand it, for the pension expenses, it’s a

20   deduct to EBITDA, inclusive of the unrealized losses, which

21   is an amortization.

22   Q        And that’s why, on the DCF side, which for publishing

23   you only value it at 10 percent, you take it into account.

24   A        But I --

25   Q        On the comparable companies side, you don’t take it
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 86 of 340
                                                                            86
 1   into account.

 2   A     Because the comparable company projections will still

 3   have the other component parts of pension accounting

 4   associated with it.    So to the extent that there’s other

 5   component parts of pension expensing, as it relates back to

 6   obligations, pursuant to any over- or under-funded pension,

 7   I didn’t affect those accounts.        I didn’t make any changes

 8   associated with them, so as a result, it’s unaffected.             And

 9   what I did, as a sanity check, is, to ensure that I wasn’t

10   overstating this adjustment, I did do an apples-to-apples

11   comparison, as I think you were suggesting, which was take

12   out all the pension expense that I could identify, because I

13   don’t know what the other entries were, and then add back as

14   debt any under-funded pension liability.           And then go to the

15   comparable companies and identify whatever pension expenses

16   I could identify.    I didn’t include the service expense,

17   though, to be conservative, and then I added back their

18   under-funded pension liabilities, and there was multiple

19   expansion.   So the multiples actually went up.           And when I

20   compared, then, a revised comparable company analysis, the

21   comparable company analysis actually showed a higher value,

22   inclusive of the $182 million adjustment.           So if I were to

23   do it the alternative way, the adjustment, in my opinion,

24   would be in excess of 182 million.         So I think that my

25   analysis is conservative, and I also think my analysis is
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 87 of 340
                                                                        87
 1   done, based on the information I have, correctly.

 2   Q     Have you produced the work papers that support your

 3   sensitivity analysis?

 4   A     I haven’t, because I didn’t include them -- I didn’t

 5   include the analysis, because --

 6   Q     Well, we’d ask --

 7   A     -- I believe that the analysis I performed is correct.

 8   Q     We’d ask that you provide those work papers, which you

 9   do agree with me that the apples-to-apples methodology that

10   I described is the appropriate way to do this, right?

11   A     I think the way I did it does -- creates the proper

12   result, and --

13   Q     You --

14   A     -- it’s also 182 million.        I think I could do it the

15   other way, and it’ll also generate a proper result.

16   Q     Well, which is the right way to do it, sir?

17   A     I believe you could do it either way.

18   Q     You don’t think one’s better than the other?

19   A     Well, I think it’s probability descriptively easier to

20   see and understand if I were to go through the exercise of

21   adjusting everything I could find within the company and

22   then adding back their under-funded as debt and then making

23   all those same adjustments for the comps.           You could

24   visually probably follow it more closely, because then you

25   wouldn’t be making assumptions about pension entries that
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 88 of 340
                                                                         88
 1   flow through EBITDA, which are invisible.           So I could

 2   certainly do that, but the resulting impact would be higher,

 3   and I was feeling that the 182 million was a more

 4   conservative outcome, and I pursued the more conservative

 5   outcome.

 6   Q     Just so I have it clear in my mind, you’ve done that

 7   analysis after your deposition, correct?

 8   A     That’s correct.

 9   Q     And when you did your analysis that’s in your report,

10   you didn’t know that there was an under-funding -- under-

11   funded pension at Tribune, correct?

12   A     That’s correct.

13   Q     At your deposition you didn’t know that, correct?

14   A     That’s correct.

15   Q     You said you didn’t have any way of finding -- nobody

16   had showed you that, correct?

17   A     Yeah, the only thing I think I probably inadvertently

18   missed was in the DCF analysis for publishing.            That is

19   stated in my report, some recognition of pension, so I did

20   not -- I should’ve stated that properly in my deposition,

21   but in general, I didn’t focus on the underfunded pension.

22   Q     Did you read the Lazard report?

23   A     Yes.

24   Q     Take a look at page -- tab 14, please.

25   A     I’m not sure where you’re at.
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 89 of 340
                                                                              89
 1   Q       Tab 14.    It’s -- of the Lazard report, DCL Exhibit

 2   1135.

 3   A       Oh, tab 14.

 4   Q       Page 89.   This is from their March preliminary report,

 5   correct?

 6   A       That’s correct.

 7   Q       I take it you read this when you were preparing your

 8   report?

 9   A       Yeah, I principally focused on their October report,

10   and to the extent I couldn’t find data, I had searched back

11   to their March report --

12   Q       Well --

13   A       -- but I didn’t --

14   Q       -- did you find this in your searching?

15   A       Not until recently.

16   Q       It says pension funding status versus peers, correct?

17   A       Actually, I think I’m on the wrong page.            Yeah, we saw

18   this subsequent.

19   Q       So when you did your analysis, you didn’t even know

20   that Lazard, in its report, had addressed the under-funding

21   of the pension, correct?

22   A       They -- in their total distributable value

23   calculation, it was based on their October report.               Their

24   October report did not take this analysis into account.

25   This is related to their March report, which was updated in
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 90 of 340
                                                                              90
 1   October, and this was not one of the update items.

 2   Q        But this item relates to the comparable companies,

 3   right?

 4   A        Yes, this does relate to the discussion we just had on

 5   the comparable companies, and what it, I think, says -- and

 6   I’m not overly familiar with this page.             What I think it

 7   says is, on a relative basis, Tribune’s pension is under-

 8   funded relatively less than the peers.              So as a result,

 9   you’re going to get multiple expansion.             As a result, the

10   multiple will go up for the comparable companies analysis.

11   Q        That’s your testimony?

12   A        That’s my understanding.

13   Q        Okay.    Let’s move on to distributable cash.          There,

14   you deduct $157 million, correct?

15   A        Can you point me?

16   Q        Page 18 of your report.

17   A        I’m there.

18   Q        Do you deduct $157 million here?

19   A        I did.

20   Q        And you --

21   A        Oh, excuse me.   I added 157 million.

22   Q        I’m sorry.   You added 157 million?

23   A        I did.

24   Q        And this is to reflect the accumulation of cash

25   between January 1 and June 30 of 2011 --
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 91 of 340
                                                                              91
 1   A     That’s correct.

 2   Q     -- is that correct?        And the way you did that was you

 3   simply took 2011 cash and divided it in half, correct?

 4   A     Basically, yes.

 5   Q     Now, at your deposition, it was pointed out that you

 6   were double-counting because of the fact that cash was in

 7   the DCF that you had done, correct?

 8   A     That’s correct.

 9   Q     And you’ve corrected that, right?

10   A     I did.

11   Q     And that accounts for the decrease from 150 -- 182 or

12   so to 157, right?

13   A     I’m going to take your word for it.            I don’t recall

14   the exact decrease.

15   Q     Well, why did it decrease from 182 to 157 between your

16   initial report and this report?

17   A     Well, there is a couple other adjustments.              There was

18   an adjustment because we didn’t deduct the non-cash-pension

19   expense from the October 2011 EBITDA forecast, so that had

20   an impact.   I don’t recall the amount of impact.             So there

21   was a couple adjustments, so I don’t recall the exact

22   impact.

23   Q     Let’s just focus on this one relating to the DCF.

24   Now, I take it you only fixed this issue as it relates to

25   the DCF.   With respect to the comparable companies, you’re
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 92 of 340
                                                                             92
 1   still adding the cash to the result of having done the

 2   comparable company, correct?       You see that as --

 3   A     That’s correct.

 4   Q     -- an add-on?    Okay.     Now, just focusing on the DCF

 5   for a moment, you back out -- how much cash are we talking

 6   about here?

 7   A     Several hundred million.

 8   Q     700 million?

 9   A     No, several hundred million.         What -- can you --

10   Q     Well, you tell me; it’s your report.

11   A     So the cash-flows of the company in 2011, as stated

12   here 561 million, so it would be half of that, so 281

13   million.   So --

14   Q     So you backed $281 million out of the DCF.             How much

15   did it change the results of the DCF?

16   A     I don’t recall the number.

17   Q     Well, shouldn’t it be $278 million?

18   A     It wouldn’t be exact, because, obviously, the DCF has

19   a discount rate built into it, so --

20   Q     Well, it’s only six months, the discount rate, right?

21   A     Sure, so that -- you’re asking me if it’s the same

22   number, and I’m giving you my response.

23   Q     Well, could you take a look at page 35?

24   A     I’m on page 35.

25   Q     And this shows that the cash-flow was 178 million,
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 93 of 340
                                                                           93
 1   right?

 2   A        Yes.

 3   Q        Well, the amount that you backed out was 178 million,

 4   correct?

 5   A        Yes.   I --

 6   Q        Would --

 7   A        I misspoke earlier.

 8   Q        So you back out $178 million, and the impact, when

 9   it’s all done, is only a couple million bucks on the DCF,

10   right?

11   A        It would be, you know, half the WACC, so yeah, $10/20

12   million --

13   Q        How’s that possible?

14   A        -- I imagine.

15   Q        How is that possible?       You back out 178 million out of

16   the DCF, and the DCF magically still maintains its value?

17   How does that work?       I don’t get it.

18   A        Excuse me?

19   Q        I don’t understand how you can take $178 million out

20   of the cash-flows of the DCF and only have an impact of a

21   couple of million dollars.          It doesn’t make any sense, sir.

22   A        Well, I think you need to look at the DCF, and I think

23   what happens is, you have a substantial portion of value, as

24   it relates to the terminal value.           And when you end up

25   discounting back the terminal value, less period of time,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 94 of 340
                                                                            94
 1   that has a substantial impact on the total value associated

 2   with the DCF.

 3   Q     Well, shouldn’t you extend out the terminal value when

 4   you do your analysis in that regard?

 5   A     We -- I -- we attempted to do it in the same

 6   methodology that Lazard used in their March as well as their

 7   October, and we saw that as a reasonable methodology, and we

 8   tried to replicate it.     And --

 9   Q     Put aside --

10   A     And we didn’t have additional information, I don’t

11   believe, to make modifications.

12   Q     Put aside Lazard for a minute.

13   A     Okay.

14   Q     Does it make sense to you that you have two

15   methodologies, and one, you can forecast the cash going

16   forward from January 1, and you pick up the cash in the DCF

17   itself?   And that’s one method of doing it.           The other would

18   be to do the forecast six months later, and pick up the cash

19   in actual dollars.    Wouldn’t you expect that those would

20   come out relatively the same?

21   A     Just give me one moment.       Yeah, I guess the -- I think

22   the information here -- is here.        So the update from the

23   change in the DCF is $23 million increase.            So the overall

24   change from the DCF is only $23 million, and I say only not

25   because it -- I don’t consider it a lot of money.             I just
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 95 of 340
                                                                         95
 1   say it, on a relative basis, it’s the aggregate impact from

 2   the various DCFs, so --

 3   Q      Well, the question I’m asking is I looked at your DCFs

 4   from the initial study to your revised study, and the

 5   movement in the DCF is very small, even though you’re

 6   backing out a fair amount of cash.

 7   A      That’s correct.

 8   Q      And the question is, does that make sense to you, from

 9   -- just a perspective?     You have two methodologies, trying

10   to model the same thing, and just by changing the timing,

11   you can change value that easily?

12   A      Well, the DCF is very sensitive, and valuation is an

13   imperfect science, and there’s a lot of imperfections built

14   in.   And as I described earlier, when you discount back

15   cash-flows, particularly the terminal value, which carries

16   the majority of the cash value, back a half-year less, it

17   has an impact.

18   Q      Well, shouldn’t you extend out the terminal value

19   another half-year to avoid that problem?

20   A      Well, that would just create other improper

21   assumptions, because we didn’t have data to make those types

22   of adjustments.     So I don’t know whether there was a better

23   or worse way of doing it.        What we attempted to do is

24   replicate the way that was being done, in both March and

25   October, and perform the same analysis.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 96 of 340
                                                                            96
 1   Q     Yeah, but Lazard was now doing a year-end analysis,

 2   using purely forward-looking multiples.           Isn’t that the

 3   reason that they changed their methodology is to avoid this

 4   problem?

 5   A     No, we actually studied prior bankruptcies, for which

 6   even Lazard was involved with, and we looked to see what the

 7   methodology employed was to form the DCF, and I think we got

 8   comfortable that, you know, by discounting it to the assumed

 9   effective date was a consistent practice.

10   Q     And it -- it’s always going to result -- by shortening

11   the time to the terminal value, it’s always going to result

12   in an inflation of value, correct?

13   A     Well, I think if you make adjustments to your

14   projections, you could mitigate some of that, but I’m not

15   sure you’d mitigate all of that.

16   Q     Why would you have to make objections?            Why wouldn’t

17   you just extend out the time period?         Wouldn’t that be the

18   appropriate thing to do?

19   A     Not necessarily.

20   Q     Okay.   Now, one last question in this area.            I take

21   it, in doing a comparable company, you’re valuing a cash-

22   flow based on a forward-looking EBITDA.           Whether it’s 2011

23   or 2010, it’s a proxy for a forward-looking EBITDA, right?

24   A     I’m not -- I don’t -- I’d have to think about that.

25   Q     Well, when you do a comparable company, what you’re
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 97 of 340
                                                                            97
 1   doing is take the EBITDA at a point in time --

 2   A        Right.

 3   Q        -- and valuing it, on a forward-looking basis,

 4   correct, using a multiple?

 5   A        Well, I think we rely on 2010 and 2011 multiples, and

 6   we try to get a point-in-time estimate, and the point-in-

 7   time estimate is driven off of what the perceived

 8   projections are of the company and what the perceived

 9   current performance are of the company, and we try to

10   determine what we think the value is now.           Now, I think if

11   you’re a research analyst, issuing research reports, and

12   you’re trying to be a sell-side person, encouraging people

13   to buy or sell stocks, what they do is they set a target

14   price.    So what we’re trying to do is get a point-in-time

15   estimate, not a target price.

16   Q        Well, you’re getting behind -- ahead of me on that.

17   Just on this question --

18   A        Okay.

19   Q        -- if you’re using a 2011 estimated EBITDA, it

20   includes the cash for the next year, right?

21   A        You’re -- I’m not sure the concepts are the same.         I

22   think what you’re trying to do is --

23   Q        Can you answer my question, sir?         Does it include the

24   cash for the next year or not?

25   A        The 2011 EBITDA should include some of the cash for
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 98 of 340
                                                                         98
 1   the next year.

 2   Q       What do you mean some?     It should include all of the

 3   cash -- free cash-flow for the next year, right?

 4   A       Well, I think you need to review statement of cash-

 5   flows that contain several other items related to financing

 6   activities or other types of items, which actually have an

 7   impact on cash.     For example, working capital changes, that

 8   could have an impact on cash.

 9   Q       Just -- but it includes some cash for the next year.

10   A       It includes a portion of the cash for the next year,

11   which I don’t know what the impact are of all the various

12   other accounting adjustments.

13   Q       Well, what you basically in your comparable company is

14   you multiply that EBITDA, that has that cash in it, by a

15   multiple, and then you tack on some more cash for the first

16   six months, right?

17   A       Again, we maintain a consistent methodology.           We

18   looked at the methodology.       We try and do a point-in-time

19   estimate.   And then, we try to take that as the assumed

20   value, as of the effective date, and then we rolled forward

21   cash.   And frankly, you’re going to know what the cash

22   number is the day you go effective.         It’ll be a known

23   number.   That will be the one certainty.

24   Q       Well, and then what you should do is a DCF and a

25   comparable company from that date forward to essentially
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 99 of 340
                                                                         99
 1   forecast what the future is, right?

 2   A     Again, I think, you know, there’s imperfections built

 3   into valuation methodologies, and I think you can try to

 4   make adjustments, and that particular adjustment I haven’t

 5   thought through, but --

 6   Q     Well, this isn’t --

 7   A     -- I think you could try to make adjustments.

 8   Q     This isn’t that hard.      I mean, if you could look

 9   forward and figure out what the multiples were on June 30

10   and you could come up with the projections from that date,

11   you could do this without any double-counting, right?

12   A     I’m not sure that that escapes double-counting, first

13   of all.   And second of all, then I’m going to create other

14   imperfections, because I would have to create new

15   conventions for what my June 30 EBITDA number would be.

16   Q     Okay.

17   A     And also, then, with respect to the comparable company

18   analysis, I’m changing a dramatic convention, with respect

19   to how the market multiples apply.         So again, I understand

20   that you may find this relatively straightforward, but from

21   a finance standpoint, I think there’s a lot of complex

22   thought that would have to be applied.

23   Q     Let’s talking about weighting.         You make adjustments

24   to broadcast weighting and publishing weighting, correct?

25   A     That’s correct.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 100 of 340
                                                                             100
 1   Q     On the broadcast side, you changed the Lazard

 2   weighting at 60/40 to 50/50, right?

 3   A     That’s correct.

 4   Q     And you do that because you didn’t see any

 5   distinguishing factors that would suggest that the DCF

 6   should be weighted greater in a comparable company, correct?

 7   A     There was no compelling information.

 8   Q     Were you here for Mr. Chachas’ testimony last week?

 9   A     I think I stated earlier that I was here for most of

10   it, if not all.

11   Q     Well, he indicated that the comparables weren’t very

12   good, that there were a lot of differences between the

13   comparable companies and Tribune’s broadcast companies that

14   would suggest that the DCF should be over-weighted.                 Do you

15   recall that testimony?

16   A     I do.

17   Q     And it’s your judgment, based on the work you’ve done

18   in the broadcast area in the last four weeks, that he’s

19   wrong, is that right?

20   A     Well, I think he also stated that they would use below

21   the mean range, for that reason, in their range calculation,

22   so I think he made the adjustments that were necessary,

23   based on his judgment, and we adopted the range, as --

24   Q     It would --

25   A     -- we discussed.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 101 of 340
                                                                         101
 1   Q     Adjusted one of his -- you had adopted one of his

 2   judgments, not both, is that right?

 3   A     I believe we attempted to adopt both.

 4   Q     Well, his two adjustments were, one, he made an

 5   adjustment in the range --

 6   A     Sure.

 7   Q     -- and then he over-weighted the DCF, correct?

 8   A     Oh, from that perspective, yes.

 9   Q     You’ve rejected his over-weighting of the DCF,

10   correct?

11   A     That’s correct.

12   Q     And that’s a judgment call that requires industry

13   experience, does it not?

14   A     Well, we based our judgment, just to be clear, on our

15   evaluation of the materials and looking for compelling

16   information to change our view, one way or the other, and

17   then also looking at the information from a market

18   standpoint.   So we didn’t find compelling information, but

19   to some extent, in that instance, I agree with you.

20   Q     That -- but Mr. Chachas knows more about the

21   marketplace than you do, believed that adjustment, 60/40,

22   was necessary, correct?

23   A     I don’t know that I agree with that.

24   Q     You don’t know that you agree that’s what he did, or

25   you just disagree with what he did?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 102 of 340
                                                                         102
 1   A     Well, Mr. Chachas -- I’m not sure he knows more about

 2   the market, as a whole, than I do.

 3   Q     He certainly knows more about the broadcast industry

 4   than you do, doesn’t he?

 5   A     It appears, from his testimony.

 6   Q     Well, up until February 4, you knew nothing about the

 7   broadcast industry, right?

 8   A     That’s correct.

 9   Q     So everything you’ve learned has been in the last

10   couple of weeks, correct?

11   A     Yes.

12   Q     And you’re not in a position to make an assessment of

13   the quality of the broadcast properties that the company has

14   vis-à-vis the rest of the world, right?

15   A     At a level of detail that you’re suggesting, no.

16   Q     And yet, you find no compelling evidence, correct?

17   A     That’s correct.

18   Q     Okay.   Now, let’s talk about weighting for publishing.

19   There, you take issue with the fact that Lazard and Mr.

20   Chachas weighted the comparable company and DCF 70/30,

21   correct?

22   A     Yes.

23   Q     It’s your view it ought to be 90/10, based on the work

24   you’ve done in this industry in the last four weeks,

25   correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 103 of 340
                                                                         103
 1   A     I think I stated it was based on my judgment in

 2   valuation, and what we did was a variety of analyses that we

 3   discussed yesterday, which I’m happy to flow through --

 4   Q     Well, I’ll --

 5   A     -- and then --

 6   Q     We’ll get -- okay.

 7   A     -- ultimately, you know, when you look at -- and I

 8   think the primary basis was on page 18 of my direct

 9   testimony book.     When we look to triangulate valuations,

10   using the methodologies available to us, we try to find

11   commonality amongst them.        And when you can’t find

12   commonality amongst them, you try to think through what the

13   root cause of the problem may be.         And in this instance,

14   they’re in -- there was not a significant relationship

15   between the results of the DCF and the results of the comps.

16   And then, based on the analysis we performed, based on the

17   information we understood from Mr. Chachas’ expert report,

18   we, at that point, used judgment and reduced our weighting

19   from 30 percent down to 10 percent.

20   Q     Now, the fact of the matter is that there is --

21   looking at the company’s forecast that drives the DCF

22   number, it shows that if, in fact, revenue continues to

23   decline, that the margins -- the EBITDA margins are going to

24   shrink and the EBITDA is going to get less and less over

25   time, correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 104 of 340
                                                                          104
 1   A        I’m not sure it shows if -- the causal relationship,

 2   but I -- it does show that the revenue declines and the

 3   EBITDA and the operating cash-flow all decline.

 4   Q        And the assumption that’s driving that forecast is

 5   they don’t -- that the company does not find a solution to

 6   the problem that’s plaguing the publishing industry, which

 7   is declining revenue, right?

 8   A        I’m not sure that’s the only assumption, but I believe

 9   that would be one of the assumptions.

10   Q        Well, you agree that revenue has been declining over

11   the last four years in this industry, right?

12   A        I do.

13   Q        They’ve lost over a billion dollars, Tribune alone, in

14   revenue in its publishing business since 2007, correct?

15   A        I don’t -- I haven’t quantified it, but that sounds

16   right.

17   Q        That’s a pretty significant decline, is it not?

18   A        Yes.

19   Q        And there’s no solution to that problem at this

20   juncture, that you know of, is there?

21   A        Well, I don’t think it’s a question of whether I know,

22   because I wasn’t creating the projections.            I think they

23   stated that they didn’t have a solution.

24   Q        Well, and you don’t know -- well, do you know whether

25   there’s a solution?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 105 of 340
                                                                           105
 1   A     I don’t think I’m suited here to tell --

 2   Q     Did --

 3   A     -- what the solution is.

 4   Q     Well, in deciding I’m going to only weight this 10

 5   percent, did you look to determine whether this was a

 6   realistic scenario, in the absence of a solution?

 7   A     Yes, I did.

 8   Q     And what did you conclude?

 9   A     I reviewed page 16 of my direct testimony book.               And

10   on here, we performed an analysis, which we actually

11   subsequently learned Lazard actually did a very similar

12   analysis in some respects, where we benchmarked Tribune

13   against the PurePlay comparable companies, Diversified

14   comparable companies, and the precedent bankruptcy --

15   similar companies and looked at the disclosure statements.

16   And based on this, you’ll note that the vast majority --

17   well, all the other groupings of those companies, with

18   respect to revenue growth, have very different assumptions

19   that we have.   And you’ll also note, with respect to EBITDA

20   growth, they have very different assumptions that we have.

21   So I considered, from a market perspective, there are peer

22   companies out there.     There are other companies that have

23   gone through reorganization out there, and they’re

24   evaluating the similar issues that we’re evaluating and

25   arose at very different conclusions.          So I considered that.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 106 of 340
                                                                         106
 1   Q     Well, let’s start with that material.            I take it that

 2   these fancy charts on page 16 were derived from the material

 3   that’s set forth on page 18, 38, and 39 of your report?

 4   A     Just give me one moment.        Page 38 and 39, that’s

 5   correct.

 6   Q     Now, looking at the 38, this is information with

 7   respect to the peer companies, correct?

 8   A     It -- there’s a box, and the top portion of the box is

 9   PurePlay; the bottom portion of the box are Diversified.

10   Q     And the source of this information is not these

11   companies, correct?     These forecasts didn’t come from the

12   companies?

13   A     Well, they’re analyst-consensus forecasts, so yeah,

14   they came from a third party.

15   Q     From an analyst, right?

16   A     From a data source that summarize it, yes.

17   Q     Well, how many analysts continue to operate in this

18   segment?

19   A     I specifically don’t know.

20   Q     Well, did you look at who the analysts were when you

21   were putting together your chart?

22   A     I didn’t.

23   Q     Do you know whether, in fact, The New York Times

24   provides guidance with respect to its future?

25   A     I personally don’t.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 107 of 340
                                                                         107
 1   Q     Do you know whether McClatchy does?

 2   A     Again, members of my team aggregate this data.

 3   Q     Well, I’m asking you a question about whether, in

 4   fact, the company itself is publishing its -- is providing

 5   guidance for future years.

 6   A     I don’t know.     We use a public source, and I don’t

 7   know what the inputs into that public source were.

 8   Q     But you don’t know what the actual companies are

 9   saying, in terms of the future, right?

10   A     That’s correct.

11   Q     What you’re looking at are these analysts that are

12   selling or buying stock and what they’re predicting,

13   correct?

14   A     That’s correct.

15   Q     And that’s all that’s reflected on this page is

16   whatever number of analysts’, that are left in this sector,

17   views into the future, correct?

18   A     That’s correct.

19   Q     It tells you nothing about what those companies think

20   about the future, right?

21   A     I don’t know how the analysts arrived at their

22   consensus updates, so to the extent that the analysts relied

23   upon -- and I’ll tell you, in general, the research analysts

24   that I work with at my firm, what they typically do is

25   review company information.       They typically interview
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 108 of 340
                                                                           108
 1   management.    They attend conferences where the management

 2   speaks, and they get informed decisions.              Now, I don’t know

 3   who all these analysts are, and I don’t know the basis for

 4   their opinion, but reputable analysts generally do some due-

 5   diligence.

 6   Q        Well, do you know how well the analysts have been

 7   doing in the last couple of years, in terms of forecasts, in

 8   this particular segment?

 9   A        I don’t.

10   Q        Did you look at that in determining to essentially

11   trash the company’s forecast?

12   A        Well, again, this was an analysis that was driven off

13   of assertions that Mr. Chachas made, and we just performed

14   the analysis, but we did not look at that.

15   Q        Yeah, you rely on Mr. Chachas for his statements that

16   the forecast is conservative, but then you disregard his

17   weighting of the two data points, correct?

18   A        Yeah, we arrived at our own weighting.

19   Q        Based on the experience that you’ve developed over the

20   last four weeks, right?

21   A        The experience over the last four weeks, which

22   included the analytics that were provided in our report

23   and --

24   Q        Without --

25   A        -- testimony.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 109 of 340
                                                                          109
 1   Q       -- looking at what the background for that analytics

 2   were, right?    You don’t know who these analysts are?

 3   A       That’s correct.

 4   Q       Now, taking a look at the -- page 39, this is some

 5   information regarding these bankruptcies, correct?

 6   A       That’s correct.

 7   Q       Were you involved in any of these bankruptcies?

 8   A       I was not.

 9   Q       Do you know if Mr. Chachas was involved in those

10   bankruptcies?

11   A       I don’t know whether Mr. Chachas was, but I believe

12   Lazard was involved with some of these bankruptcies.

13   Q       What was the leverage of each of these companies

14   coming out of bankruptcy?

15   A       I don’t know.    I didn’t review the data associated

16   with each of these companies.

17   Q       It’s helpful to have a high EBITDA number if you’re

18   going to put high leverage on a company, correct?

19   A       Well, I don’t assume that companies intentionally do

20   fraudulent or incorrect assumptions in their projections,

21   so --

22   Q       Well, did you think it would be helpful in determining

23   whether this material was helpful to determine how much

24   leverage each of these companies had when it emerged from

25   bankruptcy?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 110 of 340
                                                                            110
 1   A     No, we looked at the disclosure statements.              We assume

 2   that they were reviewed properly by the company and any

 3   advisors that included it in the disclosure statement, and

 4   we took the information, as it related to revenue and

 5   EBITDA, from those disclosure statements.

 6   Q     And how were those companies doing at this juncture?

 7   Do you know?

 8   A     I don’t know.     I haven’t reviewed that.

 9   Q     Now, is it your testimony that if, in fact, the

10   company is unable to solve the revenue decline, that the

11   forecast that it has is unrealistic?

12   A     If they’re unable to solve the decline, is that what

13   you stated?

14   Q     That’s right.

15   A     Well, certainly, if they don’t solve that problem, the

16   revenue will continue to go the direction its going, absent

17   any other intervention.

18   Q     And as a consequence, the forecast that they’ve

19   provided is a realistic scenario of a situation where

20   there’s no solution for the revenue problem, correct?

21   A     I never stated it wasn’t a realistic scenario.                It was

22   just based on the scenario that they created and included in

23   their analysis.

24   Q     So it’s your view that these analysts’ view of the

25   future has a nine-times-greater chance of occurring than the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 111 of 340
                                                                         111
 1   company’s view of its future?

 2   A     I never really considered it statistically like that.

 3   Q     That’s what you’ve assumed, isn’t it?

 4   A     Again, I think you are driving a statistical analysis,

 5   which I’m not sure I agree with.         I think I’ve given my

 6   comprehensive answer, with respect to how I arrive at the

 7   valuation conclusions, and when I evaluated the data, what

 8   factors I considered.

 9   Q     Okay.    Will you go back to Mr. Tuliano’s report?

10                 THE COURT:   Mr. Bendernagel, before we do, let’s

11   take a five-minute break.

12                 MR. BENDERNAGEL:     Thank you.

13                 THE COURT:   The Court will stand in recess.

14   (Recess at 11:32 a.m. to 11:40 a.m.)

15                 THE CLERK:   All rise.

16                 THE COURT:   Mr. Bendernagel, about how much more

17   do you have, do you think?

18                 MR. BENDERNAGEL:     About five minutes, Your Honor.

19                 THE COURT:   Okay.

20   BY MR. BENDERNAGEL:

21   Q     Right before we broke, I had asked you to take a look

22   at NPP-944.

23   A     I don’t have the same numbers you have.

24   Q     If you look at tab 10 of the binder.

25   A     One moment.     Mr. Tuliano’s report?
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 112 of 340
                                                                                112
 1   Q       Correct.    If you’d turn to page 99 of that report.

 2   A       I’m there.

 3   Q       He sets forth the two methodologies that he was using

 4   in doing his balance-sheet test as of June 4.               Do you see

 5   that?

 6   A       I do.

 7   Q       And he weights the discount cash-flow 67 percent

 8   versus the comparable company methodology 33 percent.                 Do

 9   you see that?

10   A       I do.

11   Q       When you did your study, were you aware of the fact

12   that Mr. Tuliano was valuing Tribune in that matter?

13   A       No, I never reviewed anything Mr. Tuliano prepared.

14   Q       If you could take a look at tab 12.            This is from the

15   examiner’s report.

16   A       I’m there.

17   Q       If you take a look at the third page of the exhibit,

18   there’s something called annex A, discounted cash-flow

19   analysis.   Do you see that?

20   A       I see that.

21   Q       Do you know what annex A is to the examiner’s report?

22   A       No, I don’t.

23   Q       You’ve heard of a company called LECG?

24   A       Yes, I have.

25   Q       It’s a consulting firm, correct?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 113 of 340
                                                                         113
 1   A     Yes.

 2   Q     Now, I take it you did not look at anything that the

 3   examiner did, in connection with your analysis, is that

 4   correct?

 5   A     The first of it I saw was with your exhibit.

 6   Q     Now, do you know that VRC did some solvency work for

 7   the company back in the 2007 timeframe?

 8   A     Only through the review of your work.

 9   Q     If you take a look at --

10   A     I’m -- I apologize.        Only through the review of this

11   exhibit.

12   Q     If you take a look at the page annex A-1 of annex A,

13   the last sentence says, “For several reasons, the examiner’s

14   financial advisors concluded that less-meaningful valuation

15   conclusions would be derived from the use of such market-

16   based methodologies than would be derived from using a DCF

17   approach.”    Do you see that?

18   A     I do.

19   Q     Do you know what those reasons were?

20   A     I don’t.

21   Q     Did anybody bring those reasons to your attention, in

22   connection with the work?

23   A     No.

24   Q     You weighted, in connection with value in publishing,

25   the comparable company methodology, 90 percent, did you not?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 114 of 340
                                                                          114
 1   A     That’s correct.

 2   Q     And have you ever weighted a valuation 90 percent

 3   comparable company before?

 4   A     Yes.

 5   Q     In what industry?

 6   A     I don’t recall.     I mean, I have used weightings across

 7   the spectrum.    You know, I don’t specifically recall any

 8   instance, but I know I have, you know, used weightings in

 9   many different ways, from -- anywhere from zero to 100

10   percent for any particular methodology.           And I think what

11   this is referring to is -- you know, I don’t know the

12   context, and I think when I perform valuation work, I try to

13   put it into the context of what’s happening in the market,

14   what information I’m using, how reliable -- how informative

15   that information is, excuse me, what the results -- how the

16   results triangulate, and what the ultimate methodologies are

17   ultimately going to determine.

18   Q     Well, using the 10-percent --

19   A     Yes.

20   Q     -- number, what would you say the probability is that

21   the bleak forecast, bleak view of what’s going to happen in

22   the future -- how likely that’s to occur?

23   A     I don’t know.

24                 MR. BENDERNAGEL:    I don’t have anything further,

25   Your Honor.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 115 of 340
                                                                           115
 1                 THE COURT:   Is there any other cross-examination?

 2   (No audible response)

 3                 THE COURT:   Redirect?

 4                          REDIRECT EXAMINATION

 5   BY MR. QURESHI:

 6   Q     Mr. Singh, let’s start off with where Mr. Bendernagel

 7   ended: the Tuliano report.       He asked you a number of

 8   questions, and I believe you testified that you haven’t

 9   analyzed his report, right?

10   A     That’s correct.

11   Q     Do you know if Mr. Tuliano did a sum-of-the-parts

12   valuation or a consolidated valuation of Tribune?

13   A     I don’t know.

14   Q     Okay.    Well, would the answer to that question, in

15   your view, be relevant to the question of how a DCF gets

16   weighted?

17   A     It may, because when I did my analysis, we did a sum

18   of the parts, and again, I don’t know whether it would

19   impact my judgment, because I don’t know what the context of

20   the overall valuation he’s reviewing is.            But in terms of

21   what we did, we focused on, in this instance, just

22   publishing and the data that was included with respect to

23   publishing.

24   Q     Okay.    Sir, I’d like you to pull out your direct-

25   testimony demonstratives.        They should be in front of you,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 116 of 340
                                                                               116
 1   the bound volume.    For the record, it’s Exhibit NPP-2470.

 2   A     I have it.

 3   Q     You have that?     Turn, if you could, to page 9.              Now,

 4   on cross-examination by Mr. Bendernagel, he asked you if you

 5   did a bottoms-up analysis, correct?

 6   A     That’s correct.

 7   Q     And I think you testified that you did not.

 8   A     That’s correct.

 9   Q     What was the starting point for the valuation analysis

10   that you did do?

11   A     Starting point of the analysis was to review the work

12   that Lazard had performed and then analyze the information,

13   the assumptions, and make judgments based on that.

14   Q     Okay.   And having not done a bottoms-up analysis, to

15   use Mr. Bendernagel’s phrase, how were you able to arrive at

16   a valuation conclusion for Tribune?

17   A     I believe I described it, both in my direct as well as

18   my cross, that we were able to evaluate each area and arrive

19   at conclusions with respect to each area of the sum-of-the-

20   parts analysis, as well as a couple other areas, and make

21   conclusions, which are reflected in the total distributable

22   value of approximately 8.2 billion.

23   Q     Okay.   Now, sir, I want to now move to the adjustments

24   that you made to reflect updated market conditions.                 Mr.

25   Bendernagel asked you a number of questions about that, and
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 117 of 340
                                                                         117
 1   I just wanted to bring you back to that testimony and ask

 2   you to describe, for the Court, please, what you did when

 3   you updated market data to account for where Lazard had

 4   selected its reference range of the multiples.

 5   A       Well, we updated the stock prices.          We used the data

 6   sets.   We indexed their reference range from what their

 7   original data set was, the mean of their original data set

 8   relative to what their implied -- their reference range was.

 9   And when we updated the data set, came up with a mean, and

10   we re-indexed where they would come out.

11   Q       Well, let me just explore a little what you mean by

12   indexing.   So hypothetically, if Lazard had, in one

13   instance, included a reference range of multiples that was

14   10 percent below the mean that they had observed, what did

15   you do in your update?

16   A       Well, within publishing and broadcasting, to the

17   extent that they were one turn below the mean, we would do

18   one turn below the mean.     I think in the other wholly-owned

19   category, there was a lot more variability there, and then

20   we took an actual percentage.

21   Q       And why did you do it that way?

22   A       Because I think the results, if I were to just take a

23   simple turn below or a turn above, would’ve created a much

24   higher result for Tribune Media Services, and intuitively,

25   our analysis concluded that it just seemed to deviate too
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 118 of 340
                                                                         118
 1   much, and as a result, we thought it -- the more

 2   conservative approach was to just use a simple actual

 3   percentage versus a turn below or a turn above.

 4   Q     Okay.   But I’m now not talking just about Tribune

 5   Media Services, but generally, why did you try to hold

 6   constant the percentage variable between what Lazard did in

 7   its original report and then after you did your market

 8   update?

 9   A     We tried to simulate their judgment, and we tried to

10   simulate their selections, to the extent that we could.

11   Obviously, we lacked some information, which we’ve learned,

12   and that was what the intent of the exercise was.

13   Q     Okay.   Now, Mr. Bendernagel told you, on cross-

14   examination, that Mr. Mandava relied on PurePlay comps for

15   his multiple for publishing.       I’d like you to turn, please,

16   to tab 4 of the binder that Mr. Bendernagel handed you.

17   A     I’m there.

18   Q     And I’d like you to -- and this tab contains Mr.

19   Mandava’s direct testimony slides.         Turn to page 6.

20   A     I’m there.

21   Q     And do you see, under the Diversified comps, there’s a

22   dotted-line box around GNET?

23   A     I do.

24   Q     Do you -- were you in Court?         Do you recall when Mr.

25   Mandava testified with respect to this page?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 119 of 340
                                                                         119
 1   A     I generally recall.

 2   Q     And do you have an understanding as to what the box

 3   around the Diversified compensation for GNET was intended to

 4   indicate?

 5   A     I believe the purposes of him including the boxes on

 6   this page, which were not reflected in their previous

 7   report, so these are new reference items -- I think it was

 8   the items that most informed him.

 9   Q     All right.    Now, let’s talk about the Lazard January

10   supplement for a moment.     Do you have an understanding, Mr.

11   Singh, as to whether Lazard, in its valuation conclusion of

12   6.75 billion is relying upon its October report or its

13   January supplement?

14   A     It’s the report filed February 8, which referred back

15   to the October report conclusions.

16   Q     Okay.   Turn for a moment please, in your expert

17   report, which you should have in front of you, the bound

18   volume, to page 18.     And you’ll see that’s the valuation

19   bridge that was contained in your original report -- or in

20   your amended report, I should say.         Do you have that up?

21   A     I do.

22   Q     Okay.   Mr. Bendernagel had asked you about the $198

23   million difference that you attribute to updated financial

24   and market data.    Do you see that?

25   A     I do.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 120 of 340
                                                                         120
 1   Q     Sir, is that $198 million swing in value intended to

 2   be the difference between the Lazard October report and your

 3   valuation or the Lazard January supplement and your

 4   valuation?

 5   A     All the data on this page, in fact in this report,

 6   relates back to Lazard’s expert report filed February 8,

 7   which included data associated with an October report.

 8   Q     Okay.    All right.   Let’s talk about Scripps for a

 9   moment, and I’d like you to now flip back to your

10   demonstratives, and turn, please, to slide 25.             And you’ll

11   recall that, on cross, Mr. Bendernagel asked you a number of

12   questions concerning your selection of the multiple and the

13   comps that you looked at.        I’d like you to refer to the

14   detail column, where you show some detailed financial

15   metrics.   And I’d like you to describe, for the Court,

16   please, how that information was relevant to your valuation

17   of Tribune’s stake in TFN.

18   A     Sure.    When we were evaluating the comparable set,

19   which would, in our case, include both Discovery and

20   Scripps, we obviously understood that TFN was a portion of

21   Scripps, so we wanted to evaluate how TFN performed relative

22   to Scripps and also evaluate how they performed relative to

23   Discovery.    And this just simply laid out that, if you read

24   from the left to the right, across the top, that TFN’s

25   EBITDA margins in revenue growth significantly exceed those
     Case 08-13141-BLS     Doc 8377-3    Filed 03/16/11    Page 121 of 340
                                                                                  121
 1   of SNI as a whole, those of SNI excluding TFN, and those of

 2   Discovery.

 3   Q       Now, one last point, Mr. Singh.              Turn back to the

 4   cross-examination binder, please.            And you’ll recall that if

 5   you turn to tab 5, you’ll see that Mr. Bendernagel showed

 6   you a number of slides where what Lazard apparently did was

 7   recalculate the value, using only a 2011 EBITDA multiple.

 8   Do you see that?

 9   A       I do.

10   Q       Okay.    And you relied, did you not, sir, on both

11   historical and forward-looking multiples?

12   A       We did.

13                   MR. QURESHI:   Okay.     Okay.       Your Honor, may I

14   approach the witness with some textbooks that we’re going to

15   take a quick look at?        And I have copies, of course, as

16   well.

17                   THE COURT:   Yes.

18                   MR. QURESHI:   Thanks.

19   BY MR. QURESHI:

20   Q       Now, what I would like you to do, Mr. Singh, is you

21   have in front of you the textbook by Professor Pratt.                   Do

22   you see that?

23   A       I do.

24   Q       And Your Honor, I believe this has actually been

25   marked as an exhibit.        All right.      For the record, that book
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 122 of 340
                                                                          122
 1   is Exhibit NPP-86.    And what I’d like you to do, sir, is

 2   turn to page 265.    I’ve put a yellow tab by that page.

 3   A     I see it.

 4   Q     And what page of the book are you -- is this in?              I’m

 5   sorry, what section of the book?

 6   A     Market approach guideline, publicly traded company

 7   method.

 8   Q     Right.   And the heading on that page is overview of

 9   the guideline publicly traded company method?

10   A     Yes.

11   Q     What I’d like you to do, sir, is the paragraph at the

12   bottom of the page that begins “the above variables”, and it

13   carries over to the next page, can you please read that into

14   the record?

15   A     Yes.    “The above variables usually are computed on the

16   operating basis, with operating items treated separately.

17   Any of the above income variables may be measured for any or

18   all of a variety of time periods to create the denominator

19   for the valuation multiple.       The typical time periods used

20   are latest 12 months, latest fiscal year, estimates for the

21   forthcoming year, simple averages of some number of past

22   years, weighted average of some number of past years.”

23   Q     And Mr. Singh, do you agree with Professor Pratt on

24   this point?

25   A     Generally, yes.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 123 of 340
                                                                           123
 1   Q     Now, turn to the textbook by Professor Damodaran,

 2   please.   And just to clarify, Your Honor, I’ve got the

 3   exhibits wrong.     The Pratt book is Exhibit NPP-62.           The

 4   Professor Damodaran book is Exhibit NPP-86.            And here, sir,

 5   I’d like you to turn to page 236.

 6   A     I’m there.

 7   Q     And you’ll see, actually, if you go back a few pages,

 8   this is in the chapter called relative valuation, first

 9   principles.    And what I’d like you to do, again, at the

10   bottom of the page, under the heading earning multiples, do

11   you see the sentence that begins “when buying a stock”?

12   A     I do.

13   Q     Can you please read, into the record, that sentence

14   and the one that follows it, which carries over onto the

15   next page?

16   A     “When buying a stock, it is common to look at the

17   price paid as a multiple of earnings per share generated by

18   the company.   This price-earnings ratio can be estimated

19   using current earnings per share, yielding a current PE;

20   earnings over the prior four quarters, resulting in a

21   trailing PE; or an expected earnings per share for the next

22   year, providing a forward PE.”

23   Q     Okay.    And sir, do you agree with that?

24   A     Generally, yes.

25   Q     Okay.    And please explain then, why, in your analysis,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 124 of 340
                                                                         124
 1   you relied upon both forward and historical multiples.

 2   A     Well, as a practitioner, I do place a lot of value in

 3   the last 12 months’ operating results, because those are

 4   known, and those are known to the market.            And forward

 5   results are estimates, and in some instances, they’re

 6   estimates by the company, and in some instances, they’re

 7   estimates by analysts.       But in any event, they’re estimates,

 8   so there’s a degree of uncertainty.          So when I do my

 9   evaluation analysis in general -- there are exceptions -- I

10   tend to look at what the trailing results were as well as

11   the forward results to inform me, as do how I would think

12   about valuation, and then make adjustments from there.

13   Q     And so the slides that Mr. Bendernagel showed you,

14   where he removed from the calculation your reference to the

15   historical multiples, sir, do you believe that that

16   accurately represents your view as to the enterprise value

17   of Tribune?

18   A     No.     What we did to construct our view is reflected in

19   our book that had a total distributable value of

20   approximately 8.2 billion.

21                 MR. QURESHI:    Okay.   Thank you.      Nothing further.

22                 MR. BENDERNAGEL:    Just a couple of questions,

23   Your Honor.

24                           RECROSS EXAMINATION

25   BY MR. BENDERNAGEL:
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 125 of 340
                                                                         125
 1   Q     Do you still have the excerpts from the two books in

 2   front of you?

 3   A     I do.

 4   Q     Now, I don’t know that you need to go back to them

 5   necessarily.    They both discussed the same thing, and that

 6   was what type of data you might utilize in doing an

 7   analysis, correct?

 8   A     Yes.

 9   Q     And I take it, the key to that is judgment, right?

10   A     Ultimately.

11   Q     Now, in terms of these slides, the fact of the matter

12   is, that by utilizing a blend 2010 and 2011, you increase

13   the value, right?

14   A     I don’t increase the value.         I look at both, and I

15   consider both, and then it averages, and I think the

16   arithmetic suggests that if you only use 2011, the number is

17   different.

18   Q     It’s higher, right?

19   A     Correct.

20   Q     Okay.     Now, one last point.      Mr. Qureshi asked you

21   some questions about the Lazard report and the fact that you

22   were responding to the October analysis.            I think we

23   established earlier that you read the Lazard report when you

24   became engaged, is that correct, on the matter?

25   A     When it was released, yes.
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 126 of 340
                                                                            126
 1   Q       And if you could, take a look at tab 14, which is DCL

 2   Exhibit 1135.

 3   A       I’m there.

 4   Q       And you turn to page 91.         Are you there?

 5   A       I’m there.

 6   Q       At the top of the page, under reasonableness of

 7   valuation, there is the first bullet point, which is in bold

 8   type.   Do you see that?

 9   A       I do.

10   Q       Would you read that bullet point into the record?

11   A       “In concluding that Lazard’s range for Tribune’s

12   estimated total distributable value, as prepared in October

13   2010, is reasonable,” excuse me, “Lazard took into

14   consideration business and capital market developments that

15   have occurred between October 2010 and January 2011.”

16                   MR. BENDERNAGEL:     Thank you.      I have no further

17   questions, Your Honor.

18                   THE COURT:   Thank you, sir.         You may step down.

19                   THE WITNESS:   Thank you.

20                   THE COURT:   All right.      We’ll break now and

21   reconvene at 1:15.       The Court will stand in recess.

22   (Recess at 12:03 p.m. to 1:20 p.m.)

23                   THE COURT:   Good afternoon.

24                   ALL:   Good afternoon, Your Honor.

25                   MR. BENDERNAGEL:     Your Honor, before we start the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 127 of 340
                                                                             127
 1   next witness, during my cross examination of Mr. Singh there

 2   was a page missing from your binders and I have a copy of

 3   it, if I can hand it up.

 4                 THE COURT:    All right.    Thank you.

 5                 MR. ZENSKY:   Good afternoon, Your Honor.             For the

 6   record, David Zensky of Akin Gump Strauss Hauer and Feld for

 7   Aurelius Capital Management.

 8                 As the Court knows, we are going to show a

 9   selection of the video clips from various depositions that

10   were taken.    Per the Court's order, the clips contain all

11   the counter-designations by the Debtor Committee, Lender

12   Plan Proponents and what we've prepared, Your Honor, if I

13   may approach, are the binders of the documents the witnesses

14   were looking at at the portion of the depositions that the

15   video clips -- that you'll see.

16                 THE COURT:    Okay.   Thank you.

17                 MR. ZENSKY:   I think it's safe to say I have the

18   easiest part of today's proceedings to the moments because I

19   know the questions and the answers at this point, Your

20   Honor.

21                 THE COURT:    You've earned it.

22                 MR. ZENSKY:   Thank you.     So what we'll do, Your

23   Honor, is we'll show the clips without interruption, except

24   before the passage that relates to a document in the binder.

25   I'll alert the Court that that's the next -- that the clip
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 128 of 340
                                                                         128
 1   relates to the particular document, if that's okay.

 2                THE COURT:    All right.     Thank you.

 3                MR. ZENSKY:   All right.      The first witness is

 4   Mark Shapiro, Your Honor.        As you know from testimony in the

 5   record, he was the Chairman of the Special Committee

 6   established by the Debtors in August of 2010 and the first

 7   deposition excerpts come from a deposition taken October 13,

 8   2010, which under the case management order the parties

 9   stipulated could be used as if it was taken in confirmation

10   discovery.   And I'm sure the Court recalls, this is just the

11   day after the second Term Sheet was released in the -- out

12   of the mediation and two days after a meeting had been held

13   that Mr. Kurtz testified about with the Special Committee.

14   So we can proceed.

15   (Playback, 1:22 to 1:23, of Video Deposition of MARK

16   SHAPIRO)

17        Q     What is your current employment?

18        A     I'm the chief executive officer of Dick Clark

19        Productions.

20        Q     For how long have you been CEO of Dick Clark

21        Productions?

22        A     Two months.

23        Q     What were you -- what was your position prior to

24        being CEO of Dick Clark Productions?

25        A     I was chief executive officer and director,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 129 of 340
                                                                         129
 1        president of Six Flags, Incorporated.

 2        Q     Thank you.   Are you currently a member of the

 3        Special Committee of the Board of Directors of Tribune

 4        Company?

 5        A     Yes, I am.

 6               MR. ZENSKY:    Okay.     And I believe -- this is --

 7   the first document in the binder, Your Honor, was being

 8   reviewed during the course of the next few clips, the first

 9   Term Sheet from the mediation.

10   (Playback, 1:23 to 1:29, of Video Deposition of MARK

11   SHAPIRO)

12         Q    Could you identify what's been marked as Exhibit

13        1?

14         A    It says Term Sheet for Joint Plan Supported by

15        Debtors Official Committee of Unsecured Creditors,

16        Oaktree, Angelo, Gordon, JP Morgan, and Endorsed by the

17        Mediator.

18         Q    Okay.    Have you seen this document before?

19         A    No, I have not.

20         Q    Has the Special Committee ever discussed this

21        particular document, having this document before it?

22         A    No.

23         Q    Have you -- looking through the document now, can

24        -- are you familiar with the contents of the document,

25        even if not with the precise document itself?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 130 of 340
                                                                         130
 1         A   Yes.

 2         Q   What is your understanding that the contents of

 3        this document represent?

 4         A   The Joint Plan supported by Oaktree, Angelo, JP

 5        Morgan, the Debtor, Unsecured Creditors Committee, and

 6        endorsed by the Mediator.

 7         Q   What role, if any, did the Special Committee of

 8        Tribune have in the -- in arriving at the contents of

 9        Exhibit 1, the Term Sheet?

10         A   Deriving at the contents?

11         Q   I'm sorry?

12         A   Deriving at the contents?          I'm sorry?

13         Q   What role did the Special Committee of Tribune

14        have in arriving at the contents that are reflected in

15        Shapiro Exhibit 1?

16         A   We didn't.

17         Q   Who was involved, to your knowledge, in arriving

18        at the contents of Shapiro Exhibit 1?

19         A   Court appointed Mediator, Oaktree, Angelo, Gordon,

20        JP Morgan, Unsecured Creditors Committee, Sidley, the

21        Counsel for the Debtors, Chief Restructuring Officer

22        for the Debtors, and Lazard, the financial advisor for

23        the Debtors, and potentially the Counsel for Special

24        Committee I think was involved.

25         Q   What independent judgment, if any, did you bring
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 131 of 340
                                                                         131
 1        to the process of analyzing the plan that's shown in

 2        Shapiro Exhibit 1?

 3         A   Just by querying certain things I understood or

 4        maybe didn't understand enough and then I relied on the

 5        advice of my financial advisors and Counsel.

 6         Q   Was there anything in your personal experience as

 7        a corporate executive or someone who went through

 8        bankruptcy that you relied on or was it just the

 9        advisors?

10         A   Well, the recovery was greater.

11         Q   The recovery was greater than the previous --

12         A   The recovery was greater for more classes, the

13        litigation was reduced, which was also part of our job,

14        and it had the endorsement of several parties that, as

15        aforementioned, it didn't previously have, and it had

16        the endorsement of the Mediator, who worked tirelessly

17        to get to a deal and from what I was being told by my

18        advisors and Counsel, he was pleased and willing to not

19        only sign off on it, but endorse it publicly, which he

20        did by signing off on the press release.

21         Q   So did you place substantial weight on the

22        Mediator's -- your understanding that the Mediator

23        agreed with this proposal?

24         A   He was one of several cogs in the wheel.

25         Q   In particular under the section that's entitled
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 132 of 340
                                                                         132
 1        Plan Settlements, there's a number, $120 million in

 2        cash.   Do you see that number, toward the top of the

 3        first page?

 4         A   Yes.

 5         Q   Did you have any role in arriving at that number?

 6         A   No.

 7         Q   Do you know who, on behalf of the Debtors, if

 8        anyone, did have a role in arriving at that number?

 9         A   Don't know.

10         Q   Do you know if Mr. Liebentritt, the Chief

11        Restructuring Officer, had any role in arriving at that

12        number?

13         A   Don't know.

14         Q   To your knowledge, did any of the members of the

15        Special Committee have any role in arriving at that

16        number?

17         A   They didn't.

18         Q   So in other words, if I were to ask you how the

19        $120 million number was arrived at, you would not be

20        able to tell me?

21         A   Relied on my financial advisors for that.

22         Q   And those financial advisors were who?

23         A   Lazard, Sidley Austin, the Counsel, our Counsel to

24        the Special Committee, and the Chief Restructuring

25        Officer.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 133 of 340
                                                                           133
 1         Q    Did any or all of those persons or entities that

 2        you just mentioned explain to you, as the Chairman of

 3        the Special Committee, how the $120 million figure was

 4        arrived at?

 5         A    Not that I recall specifically.

 6         Q    And was there any discussion about whether the

 7        release of the avoidance claims in Step 2, whether the

 8        value of that release was $120 million?

 9         A    I don't recall.

10         Q    But did you consider it part of your fiduciary

11        duty to consider whether recovery could be maximized

12        through a litigation as opposed to a settlement?

13         A    I think in this -- no, I left that to the Mediator

14        to determine where it was going to fall: settlement,

15        litigation trust, both, one or the other.             You know

16        again the numbers were really a lot -- there are a lot

17        of professionals that deal with the fairness of that.

18         Q    So --

19         A    The consensus was more part of my job, getting

20        them to the table.

21         MR. ZENSKY:    I think the next clip is when he was

22   looking at the next document, Your Honor.

23   (Playback, 1:30 to 1:34, of Video Deposition of MARK

24   SHAPIRO)

25        Q     Exhibit 2, the claims with respect to Step 2, were
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 134 of 340
                                                                           134
 1        going to be handled in a litigation trust.              Do you

 2        remember that or not?

 3         A   In the first deal?

 4         Q   The first -- the previous deal.

 5         A   In the -- yes.

 6         Q   Okay.     And so at that point you understood that

 7        they could be adjudicated in the process of a

 8        litigation brought by a litigation trustee?

 9         A   I don't -- didn't really understand the process,

10        Counselor.

11         Q   Okay.     But you voted to approve it?

12         A   I knew it was a Step 1 deal.            Correct.   The first

13        settlement plan was a Step 1.         The second was --

14         Q   Okay.

15         A   -- included in Step 2 as well.

16         Q   And you voted to approve the plan that was in Step

17        2 at the time it was presented to you as a Special

18        Committee member?

19         A   Step 1 or Step 2?

20         Q   The Step 1 plan that's in Exhibit 2.

21         A   Yes.

22         Q   Okay.     Now you understand that under the current

23        plan that was released yesterday, that the Step 2

24        claims against the -- many of the Step 2 claims, to be

25        more precise, against LBO Lenders would be settled
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 135 of 340
                                                                         135
 1        rather than litigated?

 2         A   That's my understanding.         Correct.

 3         Q   And did you consider it part of your fiduciary

 4        duty to determine whether it would be a fairer result

 5        to settle those claims than to litigate those claims?

 6         A   No.   I think there's plenty of people that will do

 7        that now and/or in the future.          I saw it as a deeper

 8        deal, a deeper deal in terms of recovery, in terms of

 9        dollars, and in terms of Creditors, which is our goal.

10         Q   Did you reach any personal conclusion as to

11        whether the $120 million was a fair settlement of the

12        Step 2 claims that were being settled under the current

13        plan?

14         A   I relied on my advisors for that.

15         Q   So your advisors expressed an opinion that it was

16        fair?

17         A   Absolutely.

18         Q   Okay.     And did you --

19         A   And conveyed that they -- that the Mediator

20        believed it was a good deal as well.

21         Q   Okay.     But did you, after hearing that, did you

22        personally come to a conclusion on your own as to

23        whether you agreed with that assessment or did you just

24        accept the assessment?

25        UNKNOWN:   Objection.       Foundation, form.      This is a
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 136 of 340
                                                                             136
 1        dense epistemological thicket.

 2         Q   Do you understand the questions I asked?

 3         A   I think I've answered them.             I mean I said I

 4        relied on my advisors.

 5         Q   Okay.     But --

 6         A   I believe there was -- my advisors were on the

 7        phone, there's -- I believe a third party expert was

 8        hired as well to look at it, the Mediators were signing

 9        off -- was signing off, the financial advisors of all

10        these other firms were signing off, and most

11        importantly they have the UCC on Board, too.               So it

12        seemed like there were a lot more people better

13        schooled than me saying it was fair, so much so

14        considering they all have divergent views, that they're

15        all signing up to it.       I thought the advisors were

16        probably right and I went along and voted for it.

17         Q   Okay.     Did you question any of the advisors during

18        the presentation during the Special Committee meeting?

19         A   Yes, I'm sure I did.

20         Q   What questions did you ask them?

21         A   I don't recall specifically, but as I mentioned

22        earlier there was a lot of Q and A back and forth.

23         Q   Do you recall any of the questions that were asked

24        by yourself?

25         A   I think I mentioned the point I made about the 120
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 137 of 340
                                                                         137
 1        million, I asked about the Mediator's opinion on all of

 2        this, how long it would take to get it all signed up

 3        and get the plan out, I asked if the advisors thought

 4        this was a better deal than anything that's ever been

 5        on the table, along those lines.

 6         Q    Do you recall that the examiner considered whether

 7        there were arguments, that even if the Step 1 debt was

 8        not avoided, that Step 1 Lenders who participated in

 9        planning Step 2 could be precluded from getting the

10        benefits of avoiding Step 2?

11         A    No, I don't recall that.        I read it the morning

12        after it was filed.     I think it was actually two parts

13        that I read it in.     I can't recall, but I certainly

14        know that even if I read it again, half of it would go

15        right over my head.

16         MR. ZENSKY:    I think before the next clip, Your Honor,

17   the witness was shown the next exhibit, which is just a

18   cover email, but it's the document that I believe Mr.

19   Bendernagel used with Mr. Kurtz, the presentation to the

20   Special Committee on the 11th.

21   (Playback, 1:34 to 1:37, of Video Deposition of MARK

22   SHAPIRO)

23         Q    Do you understand that under the plan that's

24        currently being proposed by the company, that the Step

25        1 Shareholders would be released, but the Step 2
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 138 of 340
                                                                         138
 1        Shareholders would not?

 2         A   Yes.

 3         Q   Why is that?

 4         A   I relied on my advisors in terms of the fairness

 5        of the deal.    I don't know.

 6         Q   Well, did you have any understanding that there

 7        was a greater risk of liability to the Step 2

 8        Shareholders than there was to the Step 1 Shareholders?

 9         A   Yes.

10         Q   Okay.     What was your understanding with respect to

11        that?

12         A   I just recall in the examiner's report about Step

13        1, something about 50 percent or less than 50 percent

14        and then in Step 2 there was a higher degree of

15        probability that there would be a claim.

16         Q   Okay.     Now I take it that the Special Committee

17        never performed a valuation of the Step 2 avoidance

18        claims.

19         A   Not to my knowledge.

20         Q   Do you recall that there was a change in the

21        treatment of the Subsidiary General Unsecured Creditors

22        in the most recent plan so that they now were getting a

23        100 percent recovery?

24         A   Yes.

25         Q   And why was that done?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 139 of 340
                                                                           139
 1         A   I can't remember.        That was discussed, though, on

 2        the call.      Like 50 percent to 100 percent.          Yeah.

 3         Q   Why?      What was the reason?

 4         A   I don't remember.

 5         Q   Well, it was two days ago.           You don't remember

 6        what the reason was for giving a class 100 percent

 7        recovery?      Isn't that unusual in a bankruptcy?

 8         A   I don't recall.

 9         Q   Did anybody ask the question at the Special

10        Committee, why are we giving this class --

11         A   It was discussed.        It was discussed.        I don't

12        remember what the reason was.

13         Q   As a member of the Special Committee of Tribune

14        Company, did you ever reach a view as to whether the

15        examiner's statement, "A Court is highly likely to

16        conclude that the Step 2 transactions render Tribune

17        insolvent" was correct or incorrect?

18         A   No.

19         Q   Okay.     So you weren't asked to make any judgments

20        about whether Tribune was solvent or insolvent at any

21        particular point in time?

22         A   Never.     Never was asked that.

23         Q   What is your current employment?

24         A   I'm the chief executive officer of Dick Clark

25        Productions.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 140 of 340
                                                                          140
 1         Q    For how long have you been CEO of Dick Clark

 2        Productions?

 3         A    Two months.

 4         Q    What were you -- what was your position prior to

 5        being CEO of Dick Clark Productions?

 6         A    I was chief executive officer --

 7               MR. ZENSKY:        I'll just skip to the next one.

 8               THE COURT:     Sure.

 9   (Playback, 1:37 to 1:38, of Video Deposition of MARK

10   SHAPIRO)

11         Q    And was it the case that early in January of this

12        year that Six Flags approached JP Morgan, Bank of

13        America, Barkley's, and Deutsche Bank to arrange an

14        $830 million senior secured credit facility?

15         A    Yes.

16         MR. ZENSKY:      Okay.    Those are the clips from the

17   October 13 deposition, Your Honor.          The next is of the same

18   witness from February 28 of 2011.

19   (Playback, 1:38 to 1:39, of Video Deposition of MARK

20   SHAPIRO)

21         Q    Said I think your focus will be "limited" to the

22        Chapter 11 process and the entire Board will continue

23        to oversee company operations, but I refer to Counsel

24        on this.       Do you see that?

25         A    Yes.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 141 of 340
                                                                           141
 1         Q   And was that in fact your understanding of what

 2        the Committee, the scope of the Special Committee was?

 3         A   Was for Chapter 11 purposes.

 4         Q   Yes?

 5         A   Yes.

 6         Q   Okay.     And among the things the Special Committee

 7        was charged with doing was reviewing and considering

 8        the LBO causes of action and potential settlement of

 9        the LBO causes of action.         Is that right?

10         A   I can only give you my definition of what the

11        Committee was there for.

12         Q   Please, what is your definition?

13         A   We were there to get people back to the table, we

14        were there to support the mediation, we were there to

15        protect the company against claims of bias, we were

16        there to get a broad settlement and maximize recovery,

17        and we were there to ensure that there were no free

18        releases or watch the releases.              That's it.   That's all

19        I know.

20         Q   Okay.     And when you're referring to settlement,

21        you're talking about settlement of the LBO causes of

22        action, right?

23         A   I'm talking about broad settlement in the whole

24        restructuring.     That's my definition of it.

25         Q   Okay.     And that would include a disposition one
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 142 of 340
                                                                          142
 1        way or the other of the LBO causes of action?

 2         A    I can't answer that.       I don't know.

 3         MR. ZENSKY:    I think the witness was looking at the

 4        document under Tab 5 as we proceed, Your Honor,

 5        Noteholder Exhibit 2086.

 6   (Playback, 1:39 to 1:47, of Video Deposition of MARK

 7   SHAPIRO)

 8         Q    I'm going to hand you a copy of a document that's

 9        been marked Shapiro 27.

10         A    Yeah.

11         Q    Okay.    And you see Shapiro 27 is another email

12        string, including Mr. Liebentritt and Ms. Wilderotter,

13        on August 21.     I want to direct your attention to the

14        email from Mr. Liebentritt to Ms. Wilderotter at 1401,

15        52.   Do you see that?

16         A    Yes.

17         Q    Okay.    And actually if I direct your attention

18        down to the email below that, that was at 12:05 p.m.

19        from Ms. Wilderotter to Mr. Liebentritt.             Do you see it

20        says can you clarify who Sidley represents?              Do you see

21        that sentence?

22         A    Yes.

23         Q    Okay.    Have you seen this email before today, sir?

24         A    I don't think I have.

25         Q    This is not one of the documents you reviewed in
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 143 of 340
                                                                             143
 1        preparing for your deposition?

 2         A   I don't believe so.

 3         Q   Okay.     And you go up to the response from Mr.

 4        Liebentritt, I want to direct your attention to the

 5        second paragraph, second sentence.            He says I'd say

 6        Sidley represents management of the Debtors.              Do you

 7        see that?

 8         A   Yes.

 9         Q   Did Mr. Liebentritt ever tell you that Sidley

10        represents management of the Debtors?

11         A   I don't recall.        I just knew Sidley represented

12        the Debtors.

13         Q   Did Ms. Wilderotter ever tell you that she had an

14        understanding that Sidley represented management of the

15        Debtors?

16         A   No.

17         Q   Did she ever tell you that Mr. Liebentritt told

18        her that Sidley represents management of the Debtors?

19         A   No.    No.

20         Q   Sitting here today do you know that Sidley Austin

21        had a role in the LBO transaction back in 2007?

22         A   I believe they did.

23         Q   Okay.     Do you have an understanding as to what

24        that role was?

25         A   I don't recall.        I wasn't part of the Board back
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 144 of 340
                                                                         144
 1        then.

 2         Q   Okay.     Did anybody ever tell you about what

 3        Sidley's role was in that transaction?

 4         A   They probably -- Don probably did at some point,

 5        but I don't recall.

 6         Q   Did Don ever tell you that Sidley Austin was a

 7        potential target of litigation arising from the LBO

 8        transactions?

 9         A   I believe he did, yes.

10         Q   Okay.     What did he tell you about that?

11         A   I believe it was in that Chicago meeting that I

12        had with him that he said -- you know, I can't

13        remember.      There was some opinion, fairness opinion or

14        whatever, that Morgan Stanley had done and Sidley

15        Austin had been a part of.         You know I can't -- it was

16        -- as you can tell I know enough to make me dangerous

17        here on this one, but there was something that they you

18        know had some liability, potential liability.

19         Q   In connection with the LBO transactions?

20         A   Correct.

21         Q   At that time did you suggest or at any time that

22        as a result of the potential liability Sidley faced in

23        connection with the LBO transactions, that the company

24        or the Special Committee should get separate Counsel to

25        investigate the LBO transactions?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 145 of 340
                                                                              145
 1         A   I don't recall.

 2         Q   If you understood that Sidley were a potential

 3        Defendant with respect to claims arising out of the LBO

 4        transactions, would that cause you to be concerned that

 5        Sidley would not be able to impartially assess the

 6        merits of those claims?

 7        UNKNOWN:       Objection to the form of the question.             It's

 8        hypothetical [indiscernible].

 9         Q   You can answer it.

10         A   You know I rely on the advice of my Counsel.                 If

11        Counsel says we can work with Sidley, then we can work

12        with Sidley.

13         Q   But do you have any independent view of your own?

14         A   No.   I don't know enough about the facts.                 I don't

15        know if it's hearsay, if it's somebody throwing paint

16        up against the wall, or if there's any credibility

17        behind it.

18         Q   Do you know whether any of the Sidley lawyers that

19        worked on structuring the LBO also worked in connection

20        with the bankruptcy case for Tribune?

21         A   I do not.

22         Q   Would it trouble you if you found out that lawyers

23        advising the Special Committee were also involved in

24        structuring the LBO transaction that is so much at the

25        heart of this case?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 146 of 340
                                                                          146
 1         UNKNOWN:      Objection to the form.

 2         A   No.

 3         Q   You'd be fine with a person who is the architect

 4        of the LBO transaction giving advice to the Special

 5        Committee?

 6         A   Yeah, because nobody -- there's been no

 7        wrongdoings been found.         There's no wrongdoings that

 8        had been found.

 9         Q   Can you go back to the exhibit marked #1, please?

10        It's probably at the bottom of your -- I'm sorry -- 19.

11        It's the first exhibit we marked.

12         A   Yeah.

13         Q   It's marked 19.         Aside from reviewing the

14        presentation that was given to you at the October 11

15        meeting, did the Special Committee itself undertake any

16        analysis to try to determine what the value of those

17        Step 1 claims were that were being settled?

18         UNKNOWN:      Objection to the form of the question.

19         A   Outside of relying on our financial advisors and

20        an independent consultant?          No.

21         Q   And your financial advisors were whom?

22         A   Were David Kurtz.

23         Q   Lazard?

24         A   Correct.

25         Q   The Special Committee itself didn't have its own
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 147 of 340
                                                                          147
 1        separate financial advisor the way it had separate

 2        Counsel, right?

 3         A   No.

 4         Q   And who's the independent consultant you're

 5        referring to?

 6         A   I don't know his name.          I can't remember his name.

 7         Q   But you relied in part on information from this

 8        consultant to conclude that the settlement was fair?

 9         A   Yes.      He's a professor at Northwestern University.

10        He's a financial expert.

11         Q   But you can't recall his name?

12         A   I think it was something Black.             I can't remember.

13         Q   Did you ever meet Mr. Black?

14         A   No.

15         Q   And so your understanding of Mr. Black's view of

16        the proposed settlement was based on what?

17         A   My understanding of what?

18         Q   What Mr. -- Mr. Black you understand had a view

19        that the settlement was fair?

20         A   Correct.

21         Q   And how did you come to that understanding?

22         A   Through my financial advisors.

23         Q   Lazard told you that Mr. Black had concluded that

24        the settlement was fair?

25         A   In the presentation.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 148 of 340
                                                                          148
 1         Q   Okay.      And did Mr. Brossard [ph] telling you that

 2        this independent consultant had said the settlement was

 3        fair, did that contribute to your conclusion that in

 4        fact the settlement was fair?

 5         A   One of the factors.         Yes.

 6         Q   When you say he's independent consultant, what do

 7        you mean?      Independent from who?

 8         A   Independent to the process.

 9         Q   You understood, though, he was being paid by

10        Debtors, right?

11         A   Yes.

12         Q   Did you have an understanding as to whether or not

13        Mr. Black had expertise in bankruptcy law?

14        UNKNOWN:       Objection to the form of the question.

15         A   I do not -- did not -- don't.

16         Q   Did anyone ever tell you that he was an expert in

17        bankruptcy law?

18        UNKNOWN:       Objection to the form of the question.

19        A    No one -- sorry.        No one ever told me that.

20         MR. ZENSKY:      Yeah, I'm sorry.       The witness was looking

21        at Tab 4, the document under Tab 4 at this point, Your

22        Honor, Shapiro Exhibit 20.

23        (Playback, 1:48 to 1:53, of Video Deposition of MARK

24        SHAPIRO)

25         Q   The beginning of that same sentence starts in
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 149 of 340
                                                                              149
 1        addition to issues faced by other Board members.               Do

 2        you see that?

 3         A   Yes.

 4         Q   What issues was Mr. Liebentritt referring to, if

 5        you know?

 6         A   I don't know.

 7         Q   Did you ever follow up with Mr. Liebentritt to

 8        find out what issues he was referring to in this email

 9        that other Board members were facing?

10         A   We had conversations, not specifically related to

11        this email, but absolutely --

12         Q   Okay.

13         A   -- had conversations about other Board members and

14        why they weren't on the Special Committee.

15         Q   Okay.     And what were the nature of those

16        conversations?

17         A   He wanted pure independence.

18         Q   Meaning?

19         A   No bias, prejudice, or ties to Sam Zell.

20         Q   Well, I deposed Mr. Liebentritt last week and at

21        that deposition he described himself as the principle

22        Debtor representative in the negotiations with respect

23        to the settlement.      Would you say that's a fair

24        characterization of his role?

25         A   Say it again.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 150 of 340
                                                                          150
 1         Q   Sure.     Mr. Liebentritt characterized himself as

 2        the principle Debtor representative in negotiations

 3        with respect to the settlement of the LBO claims.

 4         A   Yes.

 5         Q   That's a fair characterization?

 6         A   Yes.

 7         Q   And even after Jones Day came onto the scene, Mr.

 8        Liebentritt remained the point person for these

 9        negotiations, right?

10         A   Correct.

11         Q   Did you know Ms. Wilderotter prior to joining the

12        Board of Tribune?

13         A   Yes.

14         Q   For how long?

15         A   I knew her just very, very arms length.              She

16        worked -- she was the CEO of a company called --

17        software company called WINK, so I had met her once

18        while I was in charge of ESPN.          I ran all contact for

19        ESPN and so obviously she was the contact.

20         Q   Okay.     And do you think that your service on the

21        Board of Tribune contributed in any way to you being

22        invited to come onto the Board of Frontier?

23         A   Absolutely.

24         Q   Okay.     And what's the -- do you get compensation

25        for the Frontier Board?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 151 of 340
                                                                         151
 1         A   Yes.

 2         Q   What is the compensation?

 3         A   It's probably in there because they're evaluating

 4        it right now and redoing it.          You know I'm not sure

 5        exactly what it is, but it's -- it's probably like

 6        150,000 in cash and stock.

 7         Q   Annually?

 8         A   Yes.

 9         Q   Okay.     And you serve on the Board of a RE [ph]

10        called Equity Residential, right?

11         A   Yes.

12         Q   And that's a Zell company?

13         A   Yes, it is.

14         Q   Okay.     And you joined that Board in January of

15        2010 approximately?

16         A   Sounds right.

17         Q   Who selected you for the Board?

18         A   The -- I had to interview with every single

19        member.

20         Q   Okay.     I guess who sort of nominated you for the

21        Board?    Was that Mr. Zell?

22         A   I think Gerry Spector did.

23         Q   Okay.     Mr. Zell is also on the Board?

24         A   He's the chairman.

25         Q   Are you compensated for serving on that Board?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 152 of 340
                                                                           152
 1         A   Yes.

 2         Q   How much is that compensation?

 3         A   I think it's 50 grand a year.

 4         Q   And that's cash?

 5         A   Yes.

 6         Q   And with respect to this Board in Frontier, are

 7        there any stipends you get for meetings?

 8         A   No.

 9         Q   Okay.     Do you think that you would have been

10        invited and I guess confirmed to be on the Equity

11        Residential Board over the objection of Mr. Zell, if he

12        had an objection to you being on the Board?

13         UNKNOWN:      Objection to the form.

14         A   Yes, absolutely.

15         Q   You think that you would, even if Mr. Zell didn't

16        want you on the Board?

17         A   No question.

18         Q   Okay.     Did you ever have any conversation with Mr.

19        Zell about whether in fact he wanted you to participate

20        on that Board?

21         A   No.

22         Q   Okay.

23         A   I mean he you know pretty much recused himself

24        from the -- you know I'm sure he voted at the end of

25        the day, but from the selection process.              You know
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 153 of 340
                                                                           153
 1        there were several candidates being interviewed.               They

 2        hired an outside independent search firm.              The search

 3        firm is the first vote or the first folks that

 4        contacted me, said I was among several names that were

 5        suggested for a potential open seat on the Board of

 6        Trustees, you know would I be interested.              I said yes.

 7        I went and interviewed with the search firm, came back

 8        to the second interview with the search firm, after

 9        that interviewed with every single Board member,

10        individually, one-on-one for an hour each over the

11        course of a couple of months.          I mean the most

12        comprehensive Board selection process I've ever been a

13        part of.

14         Q    And that would include Mr. Zell?

15         A    And Zell was the only one I didn't interview with.

16         Q    You did not interview with Mr. Zell.

17         A    Correct.

18         Q    Do you know whether Mr. Zell was in -- had a say

19        at all in the ultimate decision about whether you would

20        come on the Board?

21         A    Yeah, I'm sure he had a vote like everybody else.

22               MR. ZENSKY:    This is the document under Tab 6

23   coming up at this point, Your Honor.

24   (Playback, 1:53 to 2:02, of Video Deposition of MARK

25   SHAPIRO)
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 154 of 340
                                                                          154
 1         Q   Did you discuss the possible future opportunities

 2        with any parties involved in this case?

 3         A   No, never.     Wait a second.       I want to be clear on

 4        this, clarification.        I will tell you that this had

 5        nothing to do with future opportunities in terms of

 6        long-term future, but Sam Zell did call me and ask me

 7        at one point if I would give some consideration to

 8        taking on acting CEO, if in fact we thought this was

 9        headed where it was headed, where Randy Michaels was

10        going to be stepping down, would I consider taking on

11        acting CEO job until -- seeing us through the

12        bankruptcy.     And I said I couldn't do that.

13         Q   When did Mr. Zell reach out to you?

14         A   I would say --

15         Q   Approximately.

16         A   I don't know.     Maybe November.         No, I'm sorry.   I

17        know exactly when it was.         Whenever the -- that

18        Executive Council was formed, which was back here.

19        Here it is.     October 22 was when they announced the new

20        -- I think that was right after Randy stepped down, so

21        it would have been two weeks before then, mid-October.

22         Q   Thanks.    And so -- I'm sorry.         You said that your

23        response to Mr. Zell was that you couldn't do that, you

24        couldn't take on the acting CEO role?

25         A   Right.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 155 of 340
                                                                            155
 1         Q   And what was the reason that you said you couldn't

 2        do it?

 3         A   I just wasn't interested in doing it.             I didn't

 4        really give him much reason.          Just I think I said it

 5        wouldn't be the right thing to do at this time.

 6         Q   Right thing to do from the point of view of just

 7        sort of like where you wanted your career to head or --

 8         A   Correct.

 9         Q   Did you ever discuss with Maggie Wilderotter the

10        possibility that she might be hired in an executive

11        role at Tribune?

12         A   No, I don't think she has any interest in that.

13         Q   Yeah.     Did you ever discuss with anybody the

14        possibility that she might be considered for an

15        executive role at Tribune?

16         A   I think everyone knows she has no interest in

17        that.

18         Q   At your last deposition, sir, you testified that

19        one of the roles that you saw yourself in as the chair

20        of the Special Committee was to motivate all

21        constituencies.      Do you remember that generally?

22         A   Yes.

23         Q   And that -- you still view that as one of the

24        roles that you have?

25         A   Achieve a broad settlement.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 156 of 340
                                                                         156
 1         Q    One of the constituencies were the Bondholders.

 2        Is that your understanding?

 3         A    Sure.

 4         Q    Including Aurelius?

 5         A    I don't think they were in the game at that time.

 6         Q    Okay.    At what time, in your recollection and in

 7        your perception, did Aurelius join the game, as you put

 8        it?

 9         A    I don't recall when they joined.           At the beginning

10        of achieving a you know broad settlement, I know they

11        weren't in the game.

12         Q    Okay.    How many times have you spoken with a

13        representative of Aurelius?

14         A    None.

15         Q    In this process, did you ever meet or talk to any

16        representative of the Unsecured Creditors Committee?

17         A    Never.

18         Q    Now you testified that you had conversations with

19        personnel of Oaktree.       I think it was in August of 2010

20        the first time.      Is that right?

21         A    Yes.

22         Q    Okay.    And it was when we referred to the email

23        where you said you reached out to some people and you

24        said they called you and then you responded to them.

25         A    Correct.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 157 of 340
                                                                           157
 1         Q   Prior to those conversations, had you ever spoken

 2        to any representatives of Oaktree before?

 3         A   No.

 4         Q   Okay.     Had you ever met Ms. Roulen [ph] before

 5        that I guess first telephone call?

 6         A   No.

 7         Q   Mr. Karsh?

 8         A   No.

 9         Q   So you never traveled to California to meet with

10        Oaktree personnel?

11         A   Yes, I did.

12         Q   You did.    When did you do that?

13         A   That was the meeting.        That was the reaching out

14        and me responding.

15         Q   Okay.     So that meeting -- I thought you said that

16        meeting was --

17         A   I didn't say it was on the phone.            No, that was

18        the group meeting.

19         Q   Oh, okay.     Oh, okay.     I misunderstood.       So you had

20        a -- before that group meeting you had a meeting that

21        was just you and Oaktree?

22         A   Correct.

23         Q   And it was -- who was present for that meeting?

24         A   Some Oaktree folks and a friend of mine named

25        David Hilty.     He's with Houlihan, Lokey.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 158 of 340
                                                                            158
 1         Q   Okay.     Were any lawyers present?

 2         A   I don't know if they had a lawyer there or not.

 3        It wasn't a big discussion about Tribune.               We were

 4        discussing other subjects.          It was a kind of a meet and

 5        greet.

 6         Q   Okay.

 7         A   And I took the opportunity in that meeting to say

 8        I've got to get you guys in a room with Tribune and the

 9        Debtor and see if we can't get these parties together

10        and see if we can't make some headway.

11         Q   So the original purpose of that meeting wasn't

12        related to Tribune?

13         A   Correct.

14         Q   So what was the --

15         UNKNOWN:      I'm sorry.    The original purpose of that

16        meeting wasn't --

17         A   Related to Tribune.         It was other business items -

18        -

19         Q   Okay.

20         A   -- through my friend, David.

21         Q   Okay.     What other business items were you

22        discussing?

23         A   Just a meet and greet.          We were talking about Dick

24        Clark Productions, you know my company, which is based

25        out there in Los Angeles.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 159 of 340
                                                                            159
 1         Q   Was there some discussion about whether Oaktree

 2        might do some kind of business with Dick Clark

 3        Productions?

 4         A   Potentially.

 5         Q   What kind of business?

 6         A   They're just always investing.            I mean they have

 7        obviously money they put to work and I was just

 8        downloading them on the business, our company and what

 9        we do.

10         Q   So you viewed Oaktree as a potential investor in

11        Dick Clark Productions?

12         A   I don't know.     No.    I didn't say that.        I mean you

13        said could they ever invest in Dick Clark.              Yeah, I

14        mean they could.      But no, they're out there and they

15        run in some of the entertainment circles and I had an

16        opportunity to meet them and I took it, knowing in the

17        back of my mind that I was going to try to slip in the

18        fact that I've got to get them to sit down with

19        everybody in New York.

20         Q   Um-hum.    About how long did this meeting last?

21         A   An hour.

22         Q   And has there been any follow-up with respect to

23        whether Oaktree and Dick Clark might do some kind of

24        business together?

25         A   No.   We did a refinancing of Dick Clark, as well.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 160 of 340
                                                                         160
 1         Q   Who did?

 2         A   We did.    They didn't participate in it whatsoever.

 3         Q   Oh, I see.     When was the refinancing?

 4         A   It was August or so.

 5         Q   Of 2010?

 6         A   Somewhere around there.         Yeah.

 7         Q   Did JP Morgan participate in the refinancing?

 8         A   No.

 9         Q   Angelo, Gordon?

10         A   No.

11         Q   In the California meeting, did you learn anything

12        about Oaktree's business and you know what its

13        activities are generally?

14         A   Not that I recall.       I mean just that they're you

15        know long-term investors and always looking for you

16        know good investment opportunities.            I mean they have a

17        lot of money put to work and I have a lot of

18        entertainment friends out in Los Angeles that know some

19        of the Oaktree guys and you know I thought it was a

20        good opportunity to meet them and of course you know my

21        backhand agenda was to open the door to getting them to

22        come to New York and sit down.

23              MR. ZENSKY:     I think we're up to the next exhibit

24   the witness was shown, Your Honor, Tab 8 -- excuse me, Tab

25   7.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 161 of 340
                                                                            161
 1   (Playback, 2:02 to 2:10, of Video Deposition of MARK

 2   SHAPIRO)

 3         Q    You say that you're still -- never sent out a

 4        formal statement and I take it, if you look at 1560,

 5        which is the second page of the document, you say that

 6        when you give someone your word it's your word.                That

 7        part.

 8         A    Yes.

 9         Q    Okay.    Who did you give your word to?          What are

10        you referring to there?

11         A    We had a meeting in New York with JPM, Angelo, and

12        Oaktree and I believe this was in connection with

13        Oaktree ultimately filing a plan.            And of course we

14        wanted to, through mediation, do better than that plan,

15        but it was a good starting point.            It was a good kind

16        of bridge to jump off of.         And we discussed in that

17        meeting that if and when they did do that, we're not

18        going to shoot it down.        We're not going to fire back.

19        We're going to be supportive and say that it's a good

20        starting point to enter into a healthy mediation.                And

21        I told them we would put out a statement of support, a

22        press release.     And everyone understood that and I went

23        over it two or three times with the group.              And of

24        course when they did file, we sent nothing.

25         Q    And the group included Mr. Liebentritt?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 162 of 340
                                                                           162
 1         A   Yes.      Absolutely.

 2         Q   When you say that you told them, you're referring

 3        to Angelo, Gordon, and Oaktree?

 4         A   Correct.     And J -- whoever was in that room.

 5         Q   Okay.     You understand JP Morgan was not a

 6        proponent in the September 17 plan?

 7         A   I understand, but they were still in that room.

 8        They knew there was a potential that Oaktree was going

 9        to go solo.

10         Q   Right.     So you were promising JP Morgan to put out

11        --

12         A   No, I was just telling everybody.

13         Q   Okay.

14         A   I was telling everybody that if and when, just so

15        everybody you know knows my intentions, a jumping off

16        point for the mediation will be helpful.              If we can't

17        reach something here today, I think we've made enough

18        progress where Oaktree is going to launch something of

19        their own and we're going to be supportive of it.               Not

20        that that's the final plan, if you will, but it will be

21        a good jumping off point and we're not going to shoot

22        it down.

23         Q   So coming back to the concern about having to

24        litigate forever, obviously --

25         A   Right.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 163 of 340
                                                                         163
 1         Q   -- you did issue or you wanted to issue a

 2        statement of support of the September 17 plan filed by

 3        Oaktree, right?

 4         A   Yes.

 5         Q   And you understood that that plan contemplated

 6        that there would be litigation going forward?

 7         A   Of course.

 8         Q   Okay.

 9         A   Just like the plan does now.

10         Q   Well, but the Oaktree plan contemplated litigation

11        in the first instance with respect to Step 1 --

12         A   Right.

13         Q   -- in the Bankruptcy Court, right?

14         A   The consumer and the trade partners and the

15        business partners that Tribune deals with everyday,

16        they don't make any differentiation or delineation

17        between Step 1, Step 2.        Litigation is litigation.

18        There's litigation now and then what there could have

19        been if this plan doesn't go through, a whole lot more

20        litigation.

21         Q   What I'm trying to get at is you understood that

22        the September 17 Oaktree plan did not include a

23        settlement of any of those claims, right?

24         A   I don't recall.        Again, I wasn't signing up for

25        that plan.     A statement of support just could be we
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 164 of 340
                                                                         164
 1        think this is very meaningful, this is a significant

 2        first step, shows that certain parties are ready to

 3        play ball, and we look forward to the mediation.

 4        That's a statement of support.          That doesn't mean we

 5        support the plan, but we support the action, we support

 6        them taking the bat and taking the first swing.

 7         Q   I think at your last deposition you said you read

 8        the examiner's report once.         Does that sound right?

 9         A   Yes.

10         Q   Have you read it again since your last deposition?

11         A   No.

12         Q   You also said you read it the morning it was

13        filed.     Do you remember did you read the redacted

14        version or did you read the full version?

15         A   I don't recall, but I believe it was the full

16        version.

17         Q   Okay.     My understanding is that the redacted

18        version was about 30 pages long, but the full version

19        of course, as I'm sure you know, was more than 1,000

20        pages.

21         A   Yeah, so then it would have had to be the redacted

22        version.

23         Q   Okay.     You didn't read the 1,000 page version,

24        right?

25         A   No, I skipped that one.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 165 of 340
                                                                         165
 1         Q   Is it your understanding that Mr. Klee undertook

 2        an exhaustive analysis of the LBO claims?

 3         A   That's purported you know.          From talking to my

 4        Chief Restructuring Officer, there were a lot of

 5        questions that weren't asked and sources that weren't

 6        interviewed.

 7         Q   So let's see, you testified a moment ago that

 8        according to your Chief Restructuring Officer, there

 9        were a lot of questions that weren't asked and sources

10        that weren't interviewed.         What questions weren't

11        asked?

12         A   I don't know.     I just tell you that in my meeting

13        in Chicago with Mr. Liebentritt, the first meeting he

14        thought that the -- that there were parts of the

15        examination that were irresponsible.

16         Q   This is the meeting in or around late August of

17        2010?

18         A   Yes, correct.

19         Q   There are parts of the examination that were

20        irresponsible.     Did he explain -- did he identify which

21        parts were irresponsible?

22         A   No.   I just remember that it was members of the

23        Board he didn't speak to or interview, the original

24        Board that did the transaction, just some follow-up

25        that should have been done before reaching conclusions
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 166 of 340
                                                                         166
 1        that wasn't done.

 2         Q   Did he give you any more color about why he

 3        characterized that as irresponsible?

 4         A   Because there were holes in the report.

 5         Q   Okay.     And did he identify the witnesses who were

 6        not interviewed who he thought should have been

 7        interviewed?

 8         A   No.

 9         Q   Didn't tell you how many witnesses there were that

10        should have been interviewed that were not?

11         A   No.

12         Q   And sitting here today, do you have an

13        understanding as to whether there were witnesses the

14        examiner should have interviewed, but that he did not?

15         A   Just going by what Don told me.

16         Q   And Don never told you how many witnesses there

17        were that should have been interviewed?

18         A   No.   He told me that he thought the report had

19        various parts that were irresponsible and you know not

20        -- wasn't thorough reporting and investigating.

21         Q   Did Mr. Liebentritt ever give you a view as to

22        whether or not the examiner's conclusions about the

23        strength of the LBO related claims was you know -- how

24        it related -- how it compared to the Debtors own view

25        of the strengths of those claims?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 167 of 340
                                                                          167
 1         A   They didn't agree with his assessment of the Step

 2        2 claims.

 3         Q   It's fair to say Mr. Liebentritt thought that the

 4        Step 2 claims had a smaller likelihood of success than

 5        the examiner concluded they did?

 6         UNKNOWN:      Objection to the form.

 7         A   Yes, that's correct.

 8         Q   Okay.     Same with Step 1 claims, is it fair to say

 9        that Mr. Liebentritt thought the Step 1 claims had a

10        smaller likelihood of success than the examiner found?

11         A   Didn't discuss it.

12         Q   Okay.     And did Mr. Liebentritt explain to you why

13        he disagreed with the examiner with respect to his

14        conclusions on the Step 2 claims?

15         A   Just more of the same with regard to you know

16        incomplete reporting, lack of depth, lack of some

17        interviews, lack of sources that were readily available

18        to him that Mr. Klee never accessed.

19         Q   But just to be clear, Mr. Liebentritt never

20        actually specifically identified the sources that

21        weren't accessed, to you?

22         A   I never asked.

23         Q   And he didn't volunteer that information to you?

24         A   No.

25         Q   And he again never specifically identified who
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 168 of 340
                                                                         168
 1        should have been interviewed who wasn't?

 2         A    I already answered that.        Correct.     No, he didn't.

 3         MR. ZENSKY:     And then this is the last tab in the

 4   binder, Your Honor, and the last clip for Mr. Shapiro.

 5   (Playback, 2:10 to 2:11, of Video Deposition of MARK

 6   SHAPIRO)

 7         Q    At the September 17 meeting you were -- it says

 8        that the members of the Special Committee were present,

 9        along with some lawyers from Jones Day.             Mr.

10        Liebentritt was not present, correct?

11         A    Doesn't list him.

12         Q    And in fact, didn't Mr. Liebentritt send you an

13        email where he was wondering why he hadn't been

14        included in this meeting?         Do you recall that?

15         A    I don't recall that, but that doesn't mean it

16        didn't happen.

17         Q    Okay.

18         A    I think Don wanted to be in every meeting.

19         MR. ZENSKY:     Okay.   The second witness, Your Honor,

20   was Ms. Wilderotter.     She was deposed on February 18 and you

21   have the handful of documents in the separate binder that

22   has Ms. Wilderotter's name on it.

23         THE COURT:    I have it.

24   (Playback, 2:11 to 2:18, of Video Deposition of

25   MAGGIE WILDEROTTER)
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 169 of 340
                                                                         169
 1         Q   Let's move on.     So you're familiar -- strike that.

 2        You know Jimmy Lee from JP Morgan?

 3         A   Yes.

 4         Q   Okay.     Can you tell us the nature of your

 5        relationship with Mr. Lee?

 6         A   It's a business relationship.

 7         Q   Okay.     And what's the nature of the business

 8        relationship?

 9         A   Well, Jimmy Lee is a vice-chairman of JP Morgan

10        Bank and I run a Fortune 500 company, so I do business

11        with JP Morgan and you know Jimmy's one of the people

12        that I interface with from a business perspective.

13        I've also you know interfaced with JP Morgan in a

14        number of areas on the Boards that I sit on as well.

15         Q   Okay.     When was the first time you had a business

16        relationship with JP Morgan in your -- strike that.

17        When you referred to running a Fortune 500 company and

18        you do business with JP Morgan, were you referring to

19        Citizens and then Frontier or one of your earlier --

20         A   No, I was talking about Citizens Frontier.

21         Q   Okay.     And --

22         A   We're a Fortune 500 today.          Yes.

23         Q   And was that -- was the first time you did

24        business with Mr. Lee and JP Morgan in connection with

25        your employment at Citizens and Frontier?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 170 of 340
                                                                          170
 1         A   Yes.      Yes.

 2         Q   Okay.     What year was that?

 3         A   I don't recall what year, but it's several years

 4        ago, so probably -- I think it was probably around

 5        2005.

 6         Q   Okay.     And what was the nature of the first

 7        business that Frontier did with JP Morgan?

 8         A   I'd have to go back --

 9         Q   During your time.

10         A   Yes, I know.      I don't know exactly.          We've worked

11        with JP Morgan on M and A activity, we've worked with

12        JP Morgan on bond offerings, you know our share

13        buybacks.      I'd have to go back and look to see what the

14        first instance would be when we first started doing

15        business with them at that time.

16         Q   Okay.     And did JP Morgan also underwrite a notes

17        offering last year?

18         A   Yes, they did.

19         Q   And that was about a $3 billion notes offering?

20         A   They were a co-lead on that offer, yes.

21         Q   Okay.     And have you dealt with Mr. Lee in

22        connection with any or all of the business that

23        Frontier has done with JP Morgan?

24         UNKNOWN:      Objection to form.

25         Q   I'll rephrase it.        Did you get to know Mr. Lee as
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 171 of 340
                                                                         171
 1        a result of the first time that Frontier and JP Morgan

 2        entered a business arrangement?

 3         A   I don't know if it was the first time that we'd

 4        ever had a business arrangement, but I got to know him

 5        in the context of me being CEO of Frontier.

 6         Q   Okay.     And how often have you communicated with

 7        him since becoming the CEO?

 8         A   I don't know the exact number of times I've

 9        communicated with him because it sort of ebbs and flows

10        on what's happening, but I probably talk to Jimmy -- I

11        don't know, 10, 12 times a year.

12         Q   All right.     And have you met personally?

13         A   Yes.

14         Q   Okay.     On how many occasions?

15         A   Again, I don't know the exact number, but I would

16        say we see each other maybe four times a year,

17        personally.

18         Q   Okay.     Have you been to his house?

19         A   Yes, I have.

20         Q   Okay.     Has he been to yours?

21         A   No.

22         Q   Do you socialize from time to time?

23         A   He has a Christmas party every year, so I'm there

24        with 500 of his closest friends.

25         Q   I'll be looking for my next invite.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 172 of 340
                                                                         172
 1         A     It's a very nice party.

 2         Q     Okay.   Do you have dinner?

 3         A     I don't socialize with him personally.           I

 4        socialize with him only from a business perspective.

 5         Q     Okay.   And have you negotiated at all with him in

 6        connection with any of the business transactions that

 7        JP Morgan has worked on with Frontier?

 8         A     No.

 9         Q     Okay.   Have you discussed those business

10        arrangements with him, if not negotiated?

11         A     No, I don't believe so.

12         Q     Who would be the person at Frontier who would

13        handle those negotiations?

14         A     Either my CFO or my treasurer.

15         Q     And do you know if they interact directly with Mr.

16        Lee or they interact with others at JP Morgan?

17         A     They interact with others at JP Morgan.

18         Q     Now you said that you also I believe interact with

19        JP Morgan in connection with other Boards that you're

20        on.

21         A     Yes.

22         Q     Okay.   What other Boards bring JP Morgan into the

23        mix?

24         A     Xerox has used JP Morgan.

25         Q     Okay.   For a variety of business transactions?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 173 of 340
                                                                          173
 1         A   Yes.      Yes.   M and A predominately, from what I

 2        know.    And I did -- I was an advisor to the Landmark

 3        Communications Board a couple of years ago and JP

 4        Morgan worked for Landmark on their sale of The Weather

 5        Channel.

 6         Q   Okay.     Do you have any personal business

 7        relationship with JP Morgan or any of its affiliates?

 8         A   Not today, no.

 9         Q   Okay.     In the past did you have a personal

10        business relationship?

11         A   No.

12         Q   Okay.     Has JP Morgan ever issued a loan or a

13        mortgage on a property you might own?

14         A   Not that I know of.

15         Q   Okay.     Do you know whether the commercial

16        arrangements that Frontier has entered with JP Morgan

17        since you've been president and CEO have been on market

18        terms?

19         A   Yes.

20         Q   And are they?

21         A   Yes.

22         Q   Okay.     And how do you know that?

23         A   Because we don't do business exclusively with JP

24        Morgan.     We do business with lots of other banks as

25        well.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 174 of 340
                                                                         174
 1         MR. ZENSKY:     I think she was looking at -- I know she

 2   was looking at the document under Tab 1 at the next clip,

 3   Your Honor.

 4   (Playback, 2:18 to 2:20, of Video Deposition of

 5   MAGGIE WILDEROTTER)

 6         Q   And what did you understand Mr. Lee's role to be

 7        in the bankruptcy reorganization?

 8         A   I don't believe that Jimmy is active on a day-to-

 9        day basis on this bankruptcy reorganization, but as a

10        vice-chairman of the company I know he's aware of it

11        and understands what's going on.             I think there's

12        someone else that leads it on behalf of the company.

13         Q   Do you know who that is?

14         A   No.   I don't recall her name.

15         Q   Okay.     All right.    Let's mark -- or actually

16        before we do that, what was the reason that you were

17        trying to set up a call between or some interaction

18        between Mr. Hartenstein and Mr. Lee?

19         A   Eddy Hartenstein had asked me if I could give him

20        an introduction to Jimmy Lee at JP Morgan.

21         Q   Okay.     Did he tell you why he wanted that

22        introduction?

23         A   It was -- Eddy is a very important executive in

24        the Tribune organization and with the company being in

25        bankruptcy, it was important to Eddy that he got to
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 175 of 340
                                                                          175
 1        know who the potential owners would be of the company

 2        after the bankruptcy was over and Eddy did know Angelo,

 3        Gordon and the Oaktree folks, but he did not have a

 4        relationship with the JP Morgan folks.

 5         Q   Okay.

 6         A   And he had asked if I could facilitate that.

 7         Q   All right.     In your answer you referred to the

 8        potential owners.       Why did you use the word potential?

 9         A   Well, they are -- I don't mean it from anything

10        other than depending on what happened with the plans

11        and how things were organized, whether they would be

12        part of this in a long-term basis or not.              That still

13        remains to be determined.

14         MR. ZENSKY:    Okay.    It's the next document at this

15        point, Your Honor.

16        (Playback, 2:20 to 2:29, of Video Deposition of

17        MAGGIE WILDEROTTER)

18         Q   Do you recall sending this email on or about

19        February 10, 2010?

20         A   Yes.

21         Q   Does it appear to be a true and accurate copy of

22        the email to you?

23         A   I believe so.

24         Q   Okay.     And you signed off your friend who is

25        always looking out for JPM, exclamation point, Maggie,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 176 of 340
                                                                          176
 1        correct?

 2         A   Yes.

 3         Q   Okay.     Do you sign off all your emails to Mr. Lee

 4        that way?

 5         A   No.    Some I do.

 6         Q   Do you sign off all your emails to other people

 7        you know in business with the tag line, your friend who

 8        is always looking out for blank?

 9         A   I'd have to go look at my emails, but I use

10        different salutations for different emails.

11         Q   Okay.     Can you tell us why on February 10, 2010,

12        you chose to use this salutation to Mr. Lee?

13         A   No.    I mean in particular?        It was just a

14        salutation.

15         Q   Okay.     Is it a correct statement that you're

16        always looking out for JPM or strike that.              As of

17        February 2010, was it an accurate statement?

18         A   No.    I mean it's a statement to basically say I'm

19        a friend of JP Morgan and I have a relationship with

20        the, I do business with them.

21         Q   Okay.     Have you sent emails to any of the other

22        Creditors of Tribune with a salutation like that?

23         A   No.    I don't know any of the others.

24         Q   In the first paragraph you said I hope you're

25        working from home today.        What did you mean by that?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 177 of 340
                                                                          177
 1         A   I don't recall, but I think it was a snowstorm.

 2         Q   Okay.      In the second sentence you said that Mr.

 3        Hartenstein would love to speak with Jamie or you.              Who

 4        is the Jamie you're referring to?

 5         A   Jamie Diamond.

 6         Q   Okay.      And did you believe that Mr. Diamond would

 7        be receptive to speaking to Mr. Hartenstein?

 8         A   Yes.

 9         Q   And what gave you the basis for that belief?

10         A   I believed that again with JP Morgan you know

11        being a Creditor for Tribune and Eddy Hartenstein being

12        a key executive in that company in a leadership role,

13        that they might have an interest in understanding who

14        the leaders are.

15         Q   All right.      So going back to Wilderotter 8 and the

16        salutation your friend who is always looking out for

17        JPM, do you think that Mr. Lee could have construed

18        that as a signal that in your capacity as a Tribune

19        director, you would be looking out for their interests

20        in connection with the plan of reorganization?

21        UNKNOWN:       Objection to the form.

22         A   I don't believe so.

23         Q   Okay.      Why not?

24         A   Because I -- in my dealings with JP Morgan over

25        the years, including with Jimmy, if I have a
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 178 of 340
                                                                          178
 1        disagreement with them, I go to the mat on those

 2        disagreements.     We don't always see eye to eye on

 3        everything and you know I look at JP Morgan as a

 4        business relationship and it's a good business

 5        relationship.     I have a good relationship with Jimmy

 6        Lee and Jamie Diamond, just like I have a good

 7        relationship with other CEO's of banks and vice-

 8        chairman of banks that we do business with.              But it is

 9        a business relationship.

10         Q   Okay.     Can you give us an example of something you

11        went to the mats on with him?

12         A   Let's see.     When I mentioned that when I was on

13        the advisory board for Landmark Communications, Jimmy

14        Lee and the JP Morgan team were responsible for

15        representing Landmark on The Weather Channel

16        acquisition.     And they had fees that were performance

17        based.     And they did not get the fees that they wanted

18        because we didn't believe that the performance was what

19        it should be.

20         Q   Okay.     Did you go to the mats with him on any

21        occasion in connection with Tribune?

22         A   No.    I've had no dealings with him on Tribune.

23         Q   Okay.     Now when the Special Committee was formed

24        in or about August of 2010 --

25         A   Yeah.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 179 of 340
                                                                          179
 1         Q   Did you disclose to the Special Committee the

 2        business relationship that you had with JP Morgan that

 3        you've just described for us?

 4         A   No.

 5         Q   Okay.     Did you disclose to Mr. Liebentritt or

 6        company Counsel the business relationships that you

 7        just described?

 8         A   No.

 9         Q   Do you have reason to believe they were aware of

10        them?

11         A   I have no idea whether they are or not.

12         Q   And what about with Angelo, Gordon or Oaktree?

13         A   I don't know.      I do know that and you didn't ask

14        me this, but if you're thinking about the whole Board,

15        I do know that Mark Shapiro knows the people at Angelo,

16        Gordon and Oaktree from a business perspective.

17         Q   Okay.

18         A   I have heard him say that.

19         Q   Do you believe it would be appropriate for the

20        Creditors of the company to be speaking directly to Mr.

21        Zell about a potential favorable settlement after the

22        release of the examiner report?

23         UNKNOWN:      Objection.

24         A   I think Sam Zell is chairman of the board of

25        Tribune and you know to have major Creditors in the
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 180 of 340
                                                                           180
 1        company talk to him is -- I would believe would be

 2        appropriate for them to have conversations.

 3         Q    Okay.    You testified at your first deposition that

 4        as of that date there had been no request by the

 5        Special Committee to meet with my client.               Do you

 6        recall that testimony?

 7         A    That there had been no request by the Special

 8        Committee to meet --

 9         Q    Yes.

10         A    -- with Aurelius?

11         Q    Yes.

12         A    No.    I remember that.      No.

13         Q    Okay.    Has there been any request since then?

14         A    Not that I know of.

15         Q    Now you've heard the phrase fraudulent transfer

16        used in connection with the Tribune bankruptcy I take

17        it.

18         A    Yes.

19         Q    Okay.    Were you familiar with that concept at all

20        before it came up in connection with Tribune?

21         A    No.

22         Q    Okay.    So that was the first time that kind of

23        landed on your radar screen?

24         A    Yes.     I believe that's the case.

25         Q    Okay.    Okay.   And not asking you to repeat
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 181 of 340
                                                                         181
 1        certainly any of the statements that have been made to

 2        you by either the Jones Day or Sidley lawyers.

 3         A   Okay.

 4         Q   Just kind of what is your understanding of the

 5        impact of the fraudulent transfer claims -- strike that

 6        -- the potential impact of the fraudulent transfer

 7        claims on what would otherwise be the parties' baseline

 8        recoveries?

 9         A   I don't know.

10         Q   Okay.     Do you understand that it would -- strike

11        that.   Do you understand that the claims seek to have

12        certain of the Creditor groups get more than their

13        baseline recovery would otherwise have been at the

14        expense of other Creditors getting less of their

15        baseline recovery?

16         A   I do understand that concept, yes.

17         Q   Okay.     So it would allow some Creditors --

18         A   Yes.

19         Q   -- to go to the front of the line, so to speak.

20         A   Yes.

21         Q   You said you were aware that lawsuits have

22        actually been filed in connection with the leverage

23        buyout transaction.

24         A   Yes.

25         Q   Okay.     And do you know who filed them?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 182 of 340
                                                                         182
 1         A   Not off the top of my head.

 2         Q   Okay.     Do you know whether the banks and other LBO

 3        Lenders are Defendants in those complaints?

 4         A   I don't know.     I'd have to go look.

 5         Q   Do you know who it is who has the authority to

 6        settle or propose a settlement of those claims?

 7         A   Do I know who has the authority?

 8         Q   Yes.

 9         A   I would say that if there was going to be a

10        settlement to those claims, probably Don Liebentritt

11        would take the lead on looking at what a settlement

12        would be, but the authority would probably come to the

13        Board of Directors, if in fact it had to do with

14        Tribune itself.

15         Q   Okay.     Are you aware that there was a dispute in

16        the Court as between the company and the Creditors

17        Committee as to who should have the authority to settle

18        those claims?

19         A   I was not aware of that.

20         Q   Okay.     The Board wasn't asked for its view on that

21        point?

22         A   Not that I recall.

23         Q   Okay.     And the Special Committee was not asked to

24        make a decision as to whether it would be appropriate

25        for the company to seek to retain settlement authority
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 183 of 340
                                                                          183
 1        over those claims?

 2         A   I don't recall that.

 3         Q   Okay.     Does this refresh your recollection --

 4              MR. ZENSKY:      She's looking at the next document

 5   now, which you've seen several times.

 6   (Playback, 2:29 to 2:30, of Video Deposition of

 7   MAGGIE WILDEROTTER)

 8         Q   -- as to whether that he was considering as a

 9        concept a purity plan as of September 2010?

10         A   Yes.      We always looked at a purity plan as an

11        option.     We just didn't think it was the top option we

12        should pursue.

13         Q   Okay.     It was a potential course, but not the

14        preferred?

15         A   Correct.     We always knew it was a potential

16        course.

17              MR. ZENSKY:      And then the last document.

18   (Playback, 2:30 to 2:33, of Video Deposition of

19   MAGGIE WILDEROTTER)

20         Q   So does this reflect that the Special Committee

21        was willing to extend releases to Shareholders,

22        Directors, and Officers if Oaktree and Angelo, Gordon

23        demanded it or required it?

24         A   I believe that we wanted to leave that option open

25        if it brought them into the settlement, so we could
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 184 of 340
                                                                          184
 1        move forward.

 2         Q   Now do you remember you testified that one of the

 3        data points that you considered that day was that an

 4        outside expert had approved the settlement and found it

 5        to be a good settlement?

 6         A   Yes.

 7         Q   Okay.     And we talked a little bit earlier this

 8        morning about that.

 9         A   Yes.

10         Q   Okay.     And do you remember that you were told at

11        that meeting that he's an expert on these types of

12        bankruptcy settlements?

13         A   Yes.

14         Q   Okay.     And were those important factors to you?

15         A   Yes.

16         Q   Now you also -- you understand that he was a third

17        party, independent of the company?

18         A   Correct.

19         Q   Okay.     So now if you were to learn that the

20        gentleman that Mr. Bendernagel was referring to is not

21        independent of the company, would that change your

22        view?

23         UNKNOWN:      Objection to the form.

24         A   It might.      I don't know.      I'd have to understand

25        the context of what he's done with the company and why
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 185 of 340
                                                                         185
 1        he wouldn't be considered independent and if that would

 2        have made a difference in his review of the

 3        information.

 4         Q   Well, what did you know about the advice of the

 5        third party expert, other than he was prepared to say

 6        that this was a fair settlement?

 7         A   I knew that he did a thorough review of the

 8        information of the settlement proposal, the economics,

 9        and based upon his experience he felt that -- he

10        validated what we were thinking in terms of going

11        forward with that.

12         Q   Okay.     Did you think that he did -- strike that.

13        Okay.   What if it turned out to be the fact that he was

14        not a bankruptcy expert in these types of settlements,

15        as you were told?      Would that change your view?

16         A   I would have to understand what expertise he had.

17         Q   Okay.     Well, I'm going to read to you a sentence -

18        - now that gentleman is Bernard Black.

19         A   Right.

20         Q   Correct?

21         A   Mr. Black.     Yes.

22         Q   You got that name --

23         A   Yes, that's correct.

24         Q   -- that day?

25         A   Yes, we did.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 186 of 340
                                                                             186
 1         MR. ZENSKY:    That's it for Ms. Wilderotter.            Mr.

 2   Qureshi will guide us through the next two.

 3         THE COURT:    Let's take a five-minute break.            Short

 4   recess.

 5              MR. ZENSKY:     That's it for Ms. Wilderotter.              Mr.

 6   Qureshi will guide us through the next two.

 7              THE COURT:     Let's take a five-minute break.

 8   Short recess.

 9              (Recess)

10              THE COURT:     Let's resume.

11              MR. QURESHI:     Thank you, Your Honor.          The next

12   set of clips, I think, is a little shorter than what we've

13   been through so far.     So the next clips come from the

14   deposition of Wayne Smith.       He is the vice-president, senior

15   litigation and chief patent counsel at Warner Brothers.

16   Warner is a member of the creditors' committee and he serves

17   as the co-chair of the committee and his deposition was

18   taken on February the 16th of this year.

19   (Playback, 2:44 to 2:55, of Video Deposition of WAYNE

20   SMITH:)

21        Q     In the period of time between the issuance of the

22        examiner's report and the beginning of the mediation,

23        did the committee give any direction or guidance to

24        counsel as to whether it was acceptable to negotiate a

25        lesser value for the senior noteholders compared to the
     Case 08-13141-BLS    Doc 8377-3    Filed 03/16/11   Page 187 of 340
                                                                              187
 1        April 2010 settlement?

 2        UNKNOWN:       Objection.    Asked and answered.

 3        UNKNOWN:       It was certainly asked.         I'm not going to

 4        have a fight with you, but it was not answered.                  But --

 5        UNKNOWN:       He -- he answered about their general

 6        authority, I think.          But I --

 7        UNKNOWN:       But I would like an answer to this question.

 8        UNKNOWN:       -- I didn't instruct him not to answer.

 9        WITNESS:       Can I have the question back, please?

10        COURT REPORTER:       "Question:      In the period of time

11        between the issuance of the examiner's report and the

12        beginning of the mediation, did the committee give any

13        direction or guidance to counsel as to whether it was

14        acceptable to negotiate a lesser value for the senior

15        noteholders compared to the April 2010 settlement?"

16        A     We didn't have that specific discussion.

17        Q     I asked you the following question:               In the

18        period of time between the issuance of the examiner's

19        report and the beginning of the mediation, did the

20        committee give any direction or guidance to counsel as

21        to whether it was acceptable to negotiate a lesser

22        value for the senior noteholders compared to the April

23        2010 settlement, and you said we didn't have that

24        specific discussion.         And I said, what do you mean by

25        "we didn't have that specific discussion," and the
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 188 of 340
                                                                           188
 1        reason why I asked you that is I thought my question

 2        was a yes or a no question and I did not understand

 3        your answer.

 4        A      I -- I'm going to go back.            I -- unfortunately,

 5        I'm going to have to go back to what I told you before,

 6        is that the structure of the two settlements, in my

 7        view, was fundamentally different and -- and,

 8        therefore, they weren't readily comparable in my mind.

 9        And so -- so that's why I said it wasn't -- we didn't

10        have that specific discussion because it doesn't make

11        any sense to me.

12        Q      So now I would ask whether you can answer my

13        question yes or no, and the question is did the

14        committee give any direction or guidance to counsel as

15        to whether it was acceptable to negotiate a lesser

16        value for the senior noteholders compared to the April

17        2010 settlement?

18        A      As I -- as I said before, it was my understanding

19        that given the nature of the litigation trust,

20        depending on how successful it could be, that the value

21        -- if you were starting with a lower base value, the

22        strip of cash as in this April 2010 settlement, the

23        ultimate result could be much, much better.               It could

24        be somewhat worse, depending on how litigation came

25        out.   So
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 189 of 340
                                                                          189
 1        --

 2        Q     Do you have a recollection that the committee,

 3        after the examiner's report, ever proposed a strip for

 4        the senior noteholders that would have valued greater

 5        than 450 million?

 6        A     I don't recall that.         I'm not saying it didn't

 7        happen, but I don't have that recollection.

 8        Q     Can you tell me what parameters the committee

 9        established for counsel going into the mediation?

10        A     I'm not sure that I can.

11        UNKNOWN:       Yeah.   I would -- if you can't do it without

12        divulging privileged information, don't do it.

13        THE WITNESS:      I -- yeah.     I -- that's going to go into

14        privileged conversations.          I can't disclose that.

15        Q     Now the question is, did you, in words or

16        substance, ever provide to counsel settlement

17        objectives that they should be pursuing in their

18        settlement negotiations?

19        A     I guess the -- where I had the problem is the

20        word "objectives."       Obviously, one objective was to get

21        a settlement, if we could, that was fair to all the

22        unsecured creditors.         To the extent that's an

23        objective, yes.        We gave -- that was an over-arching

24        abiding instruction was to try to get a fair

25        settlement.      More specifically than that as to specific
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 190 of 340
                                                                          190
 1           numbers for specific classes of unsecured creditors, I

 2           don’t recall specific discussions right now as to that.

 3           Q    Did you personally tell counsel in words or

 4           substance that their objective in negotiating on behalf

 5           of the committee would be to get a settlement fair to

 6           all creditors?

 7           A    I don't recall that exact formulation, but I do

 8           recall -- I do recall being aware at all times of my

 9           need to exercise my fiduciary duties on behalf of all

10           the secured creditors.

11                MR. QURESHI:    And, Your Honor, at this point in

12   the deposition the witness has before him the first

13   mediator's report which is at Tab 1, and it's Exhibit NPP

14   2141.

15           Q    I'm now bracketing from the first mediator report

16           to the second mediator report.

17           A    Oh, just in that period.         Okay.

18           Q    Did -- did the committee make any effort to

19           obtain a settlement cash amount for the senior

20           noteholders that was greater than $420 million?

21           A    I don't recall.

22           Q    How did you go about deciding whether 120 million

23           was a reasonable settlement for the disgorgement

24           claims?

25           UNKNOWN:    To the extent --
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 191 of 340
                                                                          191
 1        THE WITNESS:      I was going to say I can't -- I'll --

 2        I'll preempt you on that one.           That is so interspersed

 3        with advice from counsel that I received over long

 4        periods of time, there's no way I could answer that

 5        without abating the privilege.

 6        Q     Well, what did you do as co-chair or member of

 7        the creditors' committee to put yourself in a position

 8        to understand whether this is a reasonable settlement,

 9        just the way any client or business ultimately makes a

10        decision about a settlement?

11        UNKNOWN:       Objection.    Asked and answered.

12        THE WITNESS:      I spent untolled hours at creditors'

13        committee meeting going over the claims, going over the

14        transaction, reviewing documents, getting advice from

15        counsel, getting advice from financial advisors, an

16        entire process that lasted a year and a half

17        practically from start to finish, and in looking at

18        these things and -- and trying to get to a fair result.

19        Q     Was the idea to have cash consideration rather

20        than a strip going to the noteholders an idea that came

21        from the creditors' committee?

22        A     I don't know.

23        Q     Okay.      Do you know if it came from the senior

24        lenders?

25        A     I don't know.         As I mentioned before, you know,
     Case 08-13141-BLS    Doc 8377-3    Filed 03/16/11    Page 192 of 340
                                                                                192
 1        negotiations were renewed in August of 2010 and as I

 2        think I mentioned before, I don’t know when the strip

 3        became cash.      It could have been as far back as then

 4        when Centerbridge was involved.                I just don't recall

 5        when that change occurred.

 6        Q       Did you --

 7        A       And I don't recall who originated that idea.

 8        Q       Did you ever make a determination as to whether

 9        cash rather than a strip was in the best interest of

10        the noteholders?

11        UNKNOWN:       I don't agree it's a yes or no question, so

12        my objection and my instruction stands.

13        THE WITNESS:      I never made a determination.             I had a

14        view.

15        Q       And what was your view?

16        UNKNOWN:       Is that view separate from what you got from

17        your counsel?

18        THE WITNESS:      Yeah.      It is.

19        UNKNOWN:       Okay.

20        THE WITNESS:      I have a -- I have a separate view on the

21        issue.    My view is that if you have just cash you know

22        exactly what it is.          There's no risk to it.         If you

23        have a strip, there's -- there's upside.                The cash part

24        is, you know, solid.         The upside is that, you know,

25        your equity might be worth more if the company does
     Case 08-13141-BLS    Doc 8377-3    Filed 03/16/11   Page 193 of 340
                                                                                193
 1        well.    You're sort of riding with the company, with the

 2        fortunes of the company.          If the company doesn't do

 3        well, it could be worth less.            The debt could be

 4        impaired.      So -- but, you know, starting out they're

 5        equal.    One just has -- one has a little more risk

 6        upside and downside associated with it.               You know, it

 7        depends on what your risk tolerance is.               You might

 8        prefer the strip.

 9                MR. QURESHI:      Your Honor, at this point the

10   witness has the second mediator's report in front of him,

11   which is Exhibit NPP 2169 in the second tab in your

12   materials.

13        Q       Did you make any determination here in evaluating

14        settlement for the noteholders as to whether the TEV

15        was high or low or exactly right?

16        UNKNOWN:       And, again, to the extent that that is

17        derived from communications you had with your counsel

18        or advisors --

19        THE WITNESS:      Yeah.      That one I can't answer.            That's

20        -- that's infused with advice of counsel.

21                MR. QURESHI:      Okay.    Your Honor, that's all for

22   Mr. Smith.    We now move onto the deposition of Thane

23   Carlston.    Mr. Carlston is a managing director at Mullis and

24   the lead financial advisor for the creditors' committee.

25   (Playback, 2:55 to 3:07, of Video Deposition of THANE
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 194 of 340
                                                                          194
 1   CARLSTON:)

 2        Q       Did Mullis undertake any solvency analysis of

 3        Tribune?

 4        A       No.

 5        Q       At any time?

 6        A       No.

 7        Q       Never attempted to determine whether it believed

 8        Tribune was solvent, for example, at the time that step

 9        one of the 2007 transaction closed?

10        A       No.

11        Q       Step two?

12        A       No.

13        Q       Never tried to determine whether Tribune was

14        solvent as of the petition date?

15        A       No.

16                MR. QURESHI:    And, Your Honor, now Mr. Carlston

17        has in front of him the first tab in Your Honor's

18        materials, which is Exhibit NPP 847, the first

19        mediator's report.

20        Q       Do you have any knowledge as to how the

21        consideration that had been provided in the April term

22        sheet as a strip because cash in this term sheet?

23        UNKNOWN:       Objection.    Form.

24        THE WITNESS:      No.

25        Q       Did the committee engage in any negotiations on
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 195 of 340
                                                                           195
 1        behalf of the noteholders with respect to the

 2        consideration the noteholders would receive in advance

 3        of this term sheet?

 4        UNKNOWN:       I instruct you not to answer the question to

 5        the extent it would require you to disclose anything

 6        that happened on a day when a mediation session was

 7        being held.      And further not to answer the question to

 8        the extent your source of information is counsel.               If

 9        you have other sources of information you can answer

10        it.

11        THE WITNESS:      I can't answer the question.

12        Q     Were you involved in negotiations with -- outside

13        of the mediation process in the September time period

14        with any of the parties to this term sheet?

15        A     Can you restate the question?

16        Q     Sure.      Were you personally involved in

17        discussions with representatives of any of the parties

18        that signed onto this term sheet concerning a potential

19        settlement other than during the mediation?

20        A     I don't recall.

21        Q     It's possible that you never were involved in

22        such communications?

23        A     It's possible.

24        Q     Okay.      Do you know whether the committee was

25        involved with such communications during that period of
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 196 of 340
                                                                           196
 1        time?

 2        UNKNOWN:       This is outside the mediation in the

 3        September time period.          You can answer.

 4        THE WITNESS:       I don’t know.

 5        Q       So as far as you know it's possible that the

 6        committee also was not involved in any such

 7        communications during this period of time?

 8        A       And it's possible that they were.

 9        Q       Right.    Okay.   Are there any communications that

10        you witnessed between any representative of the

11        committee and any of the parties to this term sheet

12        that you would characterize as the committee seeking to

13        maximize the recoveries of the noteholders?

14        UNKNOWN:       Ever and outside the context of mediation.

15        Q       Outside the context of the mediation and during

16        the same period of time we've been talking about.

17        UNKNOWN:       And that period of time is when?

18        Q       The September time frame leading up to this

19        settlement?

20        UNKNOWN:       This --

21        Q       Term sheet.

22        A       I can't recall.

23        Q       So you're aware that the plan that's on file now

24        assumes a valuation of $6.75 billion?

25        A       Yes.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 197 of 340
                                                                          197
 1        Q     Okay.    And have you had any discussions with the

 2        debtors about why their valuation went from 6.1 billion

 3        to 6.75 billion?

 4        A     The range is 6.3 to 7.1 with a midpoint of 6.75.

 5        Q     Right.    The midpoint went from 6.1 to 6.75.            Is -

 6        -

 7        A     Yes.

 8        Q     -- that right?

 9        A     Yes.

10        Q     Did you have any discussion with the debtors

11        about why they adjusted upward that midpoint value?

12        A     Yes.

13        Q     Okay.    And what did they tell you?

14        A     A general improvement in basic business

15        conditions and an increase in distributable cash. I

16        believe the contingent tax claim that I mentioned

17        before in our depo -- in a previous question.

18        Q     Okay.    Anything else?

19        A     And I believe an investment in one of their

20        minority owned companies.

21        Q     And the debtors' financial advisor, Lazard,

22        created a new valuation.        Is that right?

23        A     Yes.

24        Q     Okay.    And Lazard also submitted an expert report

25        in that -- in this case.        Are you aware of that?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 198 of 340
                                                                         198
 1        A     Yes.

 2        Q     Have you reviewed Lazard's expert report?

 3        A     No.

 4        Q     And have you reviewed Lazard's valuation showing

 5        a midpoint value of 6.75 billion?

 6        A     Yes.

 7        Q     How many times have you conducted a valuation

 8        analysis in the context of a bankruptcy?

 9        A     More than twenty.

10        Q     And you've done -- used the market multiple

11        approach more than once?

12        A     Yes.

13        Q     Okay.    That's typical, one of the accepted ways

14        of valuing a company?

15        A     Yes.

16        Q     And you said part of what you do is look at

17        comparable companies and the trading price of the

18        comparable companies?

19        A     Yes.

20        Q     And when you do comparable companies analysis or

21        a market multiple analysis, do you try to use trading

22        data that is the most recent data available?

23        A     Yeah.

24        Q     Why is that?

25        A     It's reflective of -- it's reflective of the --
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 199 of 340
                                                                         199
 1        of the trading matrix of the point in time at which

 2        you're undertaking the valuation.

 3        Q     So if you're going to produce a market multiple

 4        valuation, you know, on July 2nd, hopefully you're

 5        going to use the trading data available for the

 6        comparable companies that was available on July 1st?

 7        A     Ideally.

 8        Q     Have you ever done a valuation where you didn’t

 9        use the most recent available trading data for

10        comparable companies?

11        A     I don't recall.

12        Q     What value did Mullis ascribe to debtors in its

13        most recent valuation?

14        A     I don't recall.

15        Q     Do you remember whether it was more or less than

16        6.1 billion?

17        A     I believe Mullis -- I -- I don't recall.

18        Q     You said that Mullis updated its valuation at

19        least once.

20        A     Yes.

21        Q     Do you remember directionally whether the update

22        resulted in more value?

23        A     Yes.

24        Q     And did it?

25        A     Yes.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 200 of 340
                                                                             200
 1        Q      Do you remember how much more?

 2        A      No.

 3        Q      Do you remember whether it was more than 6.75

 4        billion?

 5        A      No.

 6        Q      No, you don't remember?

 7        A      I don't believe it was more than 6.75 billion.

 8        Q      Okay.   And you also don't know when the update

 9        was?

10        A      I don't recall.

11               MR. QURESHI:     Your Honor, at this point the

12        witness has in front of him Exhibit NPP 934.              It was

13        not bound.     It's a loose document and Your Honor should

14        have that.

15        Q      I believe you said that Mullis conducted a

16        valuation of the company at some point before the April

17        settlement.     Is --

18        A      Yes.

19        Q      -- that right?       Did Mullis ever update that

20        valuation?

21        A      Yes.

22        Q      When is the first time that Mullis updated that

23        valuation?

24        A      I don't know.

25        Q      Did it update that valuation once or more than
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 201 of 340
                                                                           201
 1        once between the time of the April settlement and

 2        October 12th?

 3        A       I don't know.

 4        Q       Do you know if it updated it at least once during

 5        that period of time?

 6        A       I don't know.

 7        Q       But you do know it updated it?

 8        A       Yes.

 9        Q       Turn to Page 5 of the document, please.             You see

10        it's a valuation analysis.

11        A       Yes.

12        Q       And are you familiar with Nomura Capacities and

13        doing valuation analysis?

14        A       No.

15        Q       Okay.   You see that their bottom line on Page 5

16        shows total enterprise value with a low midpoint and

17        high.    Do you see that?

18        A       Yes.

19        Q       And it indicates a midpoint of $8.2 billion for

20        Tribune?

21        A       Yes.

22        Q       Okay.   Were you aware that Nomura had valued

23        Tribune at a midpoint of $8.2 billion before today?

24        A       No.

25        Q       You see that it provides a low midpoint and high
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 202 of 340
                                                                           202
 1        trading multiple for the Food Network.              Do you see

 2        that?    Eighteen times, twenty times, twenty-two times.

 3        A       Yes.

 4        Q       Okay.   Did Mullis include a multiple for the Food

 5        Network in its valuation?

 6        A       I can't recall.

 7        Q       Okay.   Do you have a view as to whether or not

 8        these multiples are appropriate multiples for the Food

 9        Network?

10        A       No.

11        Q       No view one way or the other?

12        A       No.

13        Q       Okay.   Do you have a view one way or the other

14        about the conclusion of an 8.2-plus-billion-dollar

15        valuation for Tribune in this document?

16        A       Yes.

17        Q       And what is that view?

18        A       It's -- it's higher than the valuation that we've

19        considered.

20        Q       And, again, that valuation that you're talking

21        about that is lower than the -- than the Nomura

22        valuation, you don't know when that valuation was

23        conducted?

24        A       That's correct.

25        Q       Okay.   It could have been May of 2010?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 203 of 340
                                                                         203
 1        A      I don’t recall the date.

 2        Q      But you're -- you couldn't say for certain that

 3        it was after May of 2010 that Mullis conducted its last

 4        valuation?

 5        A      Correct.

 6               MR. QURESHI:    Your Honor, that's it for the clips

 7   from Mr. Carlston's deposition.        So we'll now move on to the

 8   last one, which is the deposition of James Lee, the vice-

 9   chairman of JP Morgan, and this deposition was taken on

10   March the 4th of 2011.     And in the first clip Mr. Lee is

11   looking at Tab 1 of Your Honor's binder, which is Exhibit

12   NPP 2326.

13   (Playback, 3:07 to 3:28, of Video Deposition of JAMES LEE:)

14        Q      So have you seen this document before today, sir?

15        A      Other than subject to your --

16        Q      Before today?

17        A      I don’t know.    I don't remember.

18        Q      Okay.

19        A      Honestly.

20        Q      All right.

21        A      I'm just giving you the honest -- my honest

22        answer.

23        Q      Thank you.

24               So you're writing to Mr. Diamond who at this time

25        was the CEO of the bank?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 204 of 340
                                                                             204
 1        A     I don't recall what his title was then.

 2        Q     Okay.    Were you -- you reported to him at this

 3        time, though?     Is that still --

 4        A     Yes.

 5        Q     And you write, "Jamie, Maggie is coming to the

 6        conference, CEO Citizens Communications, were all

 7        access lines and we'll be on Frank's panel."              Do you

 8        see that?

 9        A     Yes.

10        Q     First, do you know -- have an understanding who

11        you're referring to as Frank in this sentence?

12        A     I -- I don't.     I would just be guessing.

13        Q     If you have any -- I don't mean to speculate, but

14        if you have an informed belief as to who you might have

15        been referring to?

16        A     I don't.     It would just be a guess.

17        Q     Okay.    And you write, "She is an old friend of

18        Zell's."

19        A     Uh-huh.

20        Q     "And if he wins, Tribune's going to put her on

21        the board and wants her to be the CEO."

22        A     Uh-huh.

23        Q     Do you see that?

24        A     Yes.

25        Q     And what was the basis for your belief that she
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 205 of 340
                                                                          205
 1        was -- Ms. Wilderotter was an old friend of Zell's?

 2        A     She must have told me that.

 3        Q     Okay.    Did Mr. Zell tell you that?

 4        A     I don't recall.

 5        Q     Okay.

 6        A     I don't recall either of them telling me that.

 7        Q     Okay.    And what was the basis for your statement

 8        that if Mr. Zell wins tread, he's going to put her on

 9        the board and wants her to be the CEO?

10        A     I don't remember.

11              MR. QURESHI:     Your Honor, for the next clip we're

12        onto Tab 2 of the binder, Exhibit NPP 757.

13        Q     Let me -- let me withdraw that.            Did you have a

14        relationship at any time with Ms. Wilderotter, correct?

15        A     Yes.

16        Q     Okay.

17        A     A professional relationship.           She's -- she's a

18        client.

19        Q     The company that she's the CEO of does some

20        business with JP Morgan?

21        A     Yes.

22        Q     And for how long have you known Ms. Wilderotter?

23        A     I don't -- I couldn't really give you an exact

24        answer to that, but I've known her for years, if that's

25        helpful.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 206 of 340
                                                                         206
 1        Q     Okay.    Could -- could you say more than five

 2        years?

 3        A     I don't know.     It would be approximate --

 4        approximately like that.        I don't -- I just really

 5        don't know.     I don't want to hazard a guess.

 6        Q     Uh-huh.    Do you remember how much business JP

 7        Morgan had done with Ms. Wilderotter's company?

 8        A     Not -- no, not precisely.          No.

 9        Q     Okay.    Were you involved in any transactions with

10        that company on behalf of JP Morgan?

11        A     I knew the company and I knew her.

12        Q     Okay.    How did you know her?

13        A     In her role as CEO of the company.

14        Q     And is that because you were involved in

15        transactions that her company --

16        A     I don't remember being involved in any

17        transactions with them, but I did know her and, you

18        know, do -- do know the company.

19        Q     Let me direct your attention to the first email

20        in the string, which is 11/18, from Ms. Wilderotter --

21        A     Uh-huh.

22        Q     -- to you.     Prior to today, excluding your

23        meeting with counsel, have you seen this document

24        before?   Do you remember having seen this document

25        before?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 207 of 340
                                                                           207
 1        A       No.

 2        Q       You can see that Ms. Wilderotter is indicating

 3        that Eddie Hartenstein, publisher of the L.A. Times

 4        would love to speak with Jamie or you for a few minutes

 5        about the Tribune company and his thoughts on the

 6        company's prospects, leadership, et cetera.               Do you see

 7        that?

 8        A       Uh-huh.   Yes.

 9        Q       And did you have a conversation with Mr.

10        Hartenstein after this email was sent to you?

11        A       I don't remember.

12        Q       Uh-huh.   Mr. Hartenstein is -- did you know him

13        at this time?

14        A       Yes.    I -- I know him.

15        Q       And how -- how do you know him?

16        A       You know, I don't really remember, but I do know

17        him.

18        Q       And at the time of this email do you remember

19        about how long you had known Mr. Hartenstein?

20        A       No, I don't.     Just -- it was just a familiar name

21        to me.

22        Q       Okay.   You indicate in the next email that -- you

23        say, "I know Ed from a few prior lives" --

24        A       Yes.

25        Q       -- "and will give him a call."           Do you remember
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 208 of 340
                                                                          208
 1        which life or lives --

 2        A     No.      I really don't.     I really don't.       Thirty-six

 3        years on Wall Street, okay.

 4        Q     Do you remember, did Mr. Hartenstein ever telling

 5        you that he was interested in the job of CEO of

 6        Tribune?

 7        A     No.

 8        Q     Do you know whether he was interested in the job

 9        of CEO of Tribune?

10        A     I don't remember.

11        Q     Ms. Wilderotter signs off her email, "your friend

12        who is always looking out for JPM."             Do you see that?

13        Sorry.   Yeah.     Back page.

14        A     Yes.

15        Q     Okay.     And was it your view at the time you got

16        this email that her putting you in touch with Mr.

17        Hartenstein would be a way of looking out for JPM?

18        A     No.      I don't even remember this.

19        Q     Is it your perception that Ms. Wilderotter made

20        it her practice to look out for JP Morgan?

21        A     I wouldn't have said that.

22        Q     Okay.

23        A     I wouldn't agree with that.             No.   She's -- she's

24        one of those people who tries to help other people, so

25        that much -- that much I can tell you.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 209 of 340
                                                                            209
 1        Q      Including JP Morgan?

 2        A      Yeah.   I mean, she's -- she's a client.            Her

 3        company's a client.

 4               MR. QURESHI:    Your Honor, now onto Tab 3 of the

 5   book, which is Exhibit NPP 2343.

 6        Q      And in Exhibit marked Lee 28 -- it's JPM 606346.

 7        Just let me know when you're ready to answer some

 8        questions about that.

 9        A      Okay.

10        Q      And you see the email from Mr. Danielo [ph] to

11        you and copied to others.         It looks like Mr. Danielo is

12        talking about Brandy Michaels wanting to set up a

13        meeting with you.      Do you agree?         Fair characterization

14        of the --

15        A      I don't think he wants the meeting with me, does

16        he?    Isn't this meeting -- this email directed to

17        Jamie?

18        Q      Thank you.    You're right.       Setting up a meeting

19        with Mr. Diamond.

20        A      Okay.

21        Q      And the email's copied to you.           Sorry.    Thank

22        you.

23        A      Okay.

24        Q      So do you remember, first of all, this -- having

25        seen this email before today and before --
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 210 of 340
                                                                           210
 1        A     No.

 2        Q     -- obviously communication with counsel?

 3        A     No.

 4        Q     All right.      And were you aware at the time Mr.

 5        Michael's was the CEO of Tribune?

 6        A     I don't remember that.          I'm remember it by

 7        looking at this email.

 8        Q     Uh-huh.      Do you know whether or not there ever

 9        was a meeting arranged with Mr. Michael's and senior

10        JPM folks as requested here?

11        A     I don't know.

12        Q     Okay.      You write back and say -- well, let me

13        direct your attention to the P.S. actually in your

14        response.

15        A     Yes.

16        Q     You write back, "P.S. I know Eddie Hartenstein

17        wants the job."

18        A     Yes.

19        Q     And the job is the job of CEO of Tribune, right?

20        A     I guess.

21        Q     I mean, based on reading the email?

22        A     Yeah.      Based on the email.

23        UNKNOWN:       We can all read the email.         You want his

24        recollection, right?

25        Q     Yeah, or your understanding as informed by
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11    Page 211 of 340
                                                                            211
 1        reviewing the email?

 2        A      I just don't remember, but I'm reading it and so

 3        you and I are reading it and --

 4        Q      Okay.

 5        A      -- can come to that conclusion.             I just don't

 6        independently remember this situation.

 7        Q      Do you remember having any conversations with Mr.

 8        Hartenstein where he expressed an interest in a job at

 9        Tribune?

10        A      No.

11        Q      You don't remember him ever telling you that he

12        was interested in being CEO?

13        A      No.     I just remember because of the email that

14        you showed me that it -- Maggie wanted me to talk to

15        Eddie or Eddie wanted to talk to me about wanting the

16        job.

17               MR. QURESHI:     Your Honor, now onto Tab 4 of the

18   book, which is Exhibit NPP 10.

19        Q      Do you remember anyone in the period between step

20        one and step two, which is June 4th and December 20th

21        closings, advising you that the company had done an

22        analysis predicting that the sought -- that the company

23        could -- sorry.       Withdraw that.          Do you remember during

24        that period of time, which is June 4th to December

25        20th, 2007 --
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 212 of 340
                                                                         212
 1        A      Uh-huh.

 2        Q      -- anyone from JP Morgan telling you that JP

 3        Morgan's deal team had done an analysis suggesting that

 4        the company, Tribune, would potentially fail solvency

 5        tests pro forma for step two?

 6        A      No.

 7        (Pause in proceedings.)

 8        Q      Okay.   And do you recall that after the step one

 9        closing or at any time JP Morgan having difficulty

10        syndicating the step one debt?

11        A      No.

12        Q      What was your involvement, if any, in the

13        syndication of the step one debt?

14        A      I don't -- I don't recall, but I wouldn't have

15        normally had any involvement.

16        Q      Okay.   Why wouldn't you normally have any

17        involvement?

18        A      Because I'm not in that group and there are many

19        high paid people that are paid to be excellent in that

20        job.

21        Q      Would it be unusual for you even to monitor the

22        syndication of --

23        A      Yes.

24        Q      -- that transaction?

25        A      Yes.    It would be unusual for me to monitor any
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 213 of 340
                                                                            213
 1        of these sorts of things.

 2                MR. QURESHI:    Your Honor, now onto Tab 5, Exhibit

 3   NPP 2332.

 4        Q       You see at the top of the last page of the

 5        Exhibit, 234 -- 289234 is the Bates number.              There's a

 6        hyphen and it says, will step two happen given stock

 7        price, come to performance covenants?

 8        A       Uh-huh.

 9        Q       You see that?

10        A       Yes.

11        Q       Do you remember at this time, July 26th, 2007,

12        there being concern expressed by anyone at JP Morgan

13        about whether step two of the transaction would happen?

14        A       No.

15        Q       If you go up there's an email a little later just

16        seventeen later from Ms. Deans [ph] addressed to you

17        and she's proving some information about the deal and

18        she says in the third line, "The existing 5.5 TLB is

19        now trading around 93, so it's obvious that we're

20        totally under water on this underwrite."             Do you see

21        that?

22        A       Yes.

23        Q       And do you remember in discussing with Ms. Deans

24        or any other JP personnel the underwrite for Tribune

25        being under water at this time?
     Case 08-13141-BLS   Doc 8377-3    Filed 03/16/11   Page 214 of 340
                                                                          214
 1        A     No.

 2        Q     And sitting here today do you have a recollection

 3        as to whether it was under water?

 4        A     No.

 5        Q     And the last line of the email says -- from Ms.

 6        Dean says, "There is no doubt we're going to need to

 7        ask Zell for his help here to find a clearing deal."

 8        Do you see that?

 9        A     Yes.

10        Q     And what's your understanding on what the meaning

11        of "clearing deal" is in this context?

12        A     A transaction that clears the market.

13        Q     And at this time JP Morgan had -- JP Morgan had

14        underwritten part of the step one debt, right?

15        A     I don’t' remember it, but I'm just reading these

16        emails and, I mean, apparently we've got a deal that's

17        not selling.

18        Q     Uh-huh.    And so by clearing deal you mean to be

19        able to sell all the remaining step one debt that was

20        held by JP Morgan?

21        A     Market clearing deal is a deal that sells well

22        through the market.         This deal doesn't look like it's

23        doing that.

24        Q     At this point in time, though, it was your

25        understanding that the Trib deal had not sold well
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11    Page 215 of 340
                                                                           215
 1        through the market?

 2        UNKNOWN:       Objection.    He didn't        say that was his

 3        understanding.

 4        THE WITNESS:      No.   I didn't say that.          I just said I'm

 5        reading it and that's what it says.              I don’t' remember

 6        it, you know.

 7        Q      That's what you conclude based on the emails

 8        you've read today?

 9        A      Yes.

10        Q      But you don't have any independent recollection

11        of that at all?

12        A      No.

13        Q      And do you recall whether JP Morgan asked Zell

14        for his help to find a clearing deal?

15        A      No.

16               MR. QURESHI:     Your Honor, now onto Tab 6 of the

17   binder, Exhibit NPP 2247.

18        Q      I have a document marked Lee Exhibit 22, JPM

19        506411.      Let me know when you're ready to discuss.

20        (Pause in proceedings.)

21        A      Okay.

22        Q      The Exhibit 22 has the salutation, "Jimmy" at the

23        top.   Do you see that?

24        A      Yes.

25        Q      Okay.     And there's a something called metadata
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 216 of 340
                                                                           216
 1        that's produced with documents in document discovery in

 2        litigation sometimes, almost always now, and I can

 3        represent to you that the metadata for this document

 4        identified this -- the custodian for the document as

 5        being Andrew O'Brien.        And --

 6        A     What does that mean?

 7        Q     Only it means that this is a document that was

 8        associated with Mr. O'Brien in one way or another when

 9        it was created or sent or otherwise.

10        A     Associated with.

11        Q     Yeah.      It's actually not -- not a hundred percent

12        clear what -- what it means.

13        A     That means he read it or he wrote it or he

14        received it or --

15        Q     It was in his mailbox.

16        A     In his mailbox.

17        Q     Yeah.

18        A     Thank you.

19        UNKNOWN:       That's the way to think about -- that's the

20        way you think about it if you're over forty.               It was in

21        his mailbox.

22        THE WITNESS:      You mean the email box is what you're

23        talking about.

24        UNKNOWN:       Yes.

25        THE WITNESS:      Yeah.
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 217 of 340
                                                                               217
 1        UNKNOWN:       Yes.

 2        THE WITNESS:      You don’t have to be over forty to -- I

 3        just don't know what associated means.              Okay.       Got in.

 4        Thank you.

 5        Q     First, do you recognize the contents of this

 6        document?

 7        A     No.

 8        Q     Have you seen it before?           Do you remember Mr.

 9        O'Brien sending you an email that -- with this

10        information if not in this form?

11        A     No.

12        Q     It says, "Jimmy, attached are the proposed topics

13        for your call to Sam Zell to discuss the agenda for the

14        2:30 p.m. September 25th meeting."             Do you remember

15        whether you had a meeting with Mr. Zell --

16        A     No.

17        Q     -- on September 25th?

18        A     No.

19        Q     Okay.      You identify some -- a few topics for

20        discussion.      The first one is the Tribune capital

21        structure is not sellable in today's market environment

22        and we would have to have a discussion about various

23        topics.

24        A     Yes.

25        Q     Without going through them one at a time --
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 218 of 340
                                                                            218
 1        A     Yes.

 2        Q     -- do you have a recollection of in or around

 3        September 25th having a discussion with Mr. Zell about

 4        any of the topics identified in this document?

 5        A     No, I don't.

 6        Q     Item 2 on the document says, "Getting Sam's

 7        perspective on" --

 8        A     Uh-huh.

 9        Q     -- "what he's thinking before step two closing"

10        is one of the items.        Do you see that?

11        A     Yes.

12        Q     Do you remember ever having a conversation with

13        Mr. Zell where you were trying to get his perspective

14        on whether step two should close or otherwise with

15        respect to step two?

16        A     No, I don't.

17        Q     Do you remember at this time whether there was a

18        question in or around September 25th I should say of

19        2007 raised at JP Morgan about whether step two should

20        close?

21        A     I really don’t.       I mean, I've read all these

22        emails and so on and, obviously, it's an issue.                But I

23        just don't remember it.

24              MR. QURESHI:     Your Honor, on now to the last clip

25   and the last document.     It's at Tab 7 and it's Exhibit NPP
     Case 08-13141-BLS     Doc 8377-3    Filed 03/16/11   Page 219 of 340
                                                                            219
 1   2335.

 2           Q     I'm handing you a document marked Lee Exhibit 23,

 3           an email from Mr. Capadia [ph] to you and copied to

 4           others.   Let me know when you've had a chance to review

 5           the document, please.       You see the email is dated

 6           October 18th, 2007.        You're aware that the step two

 7           deal was going to close in December of the same year,

 8           right?

 9           A     I don't remember that.         No.

10           Q     Okay.

11           A     If you're telling me that I believe you.

12           Q     Do you have any recollection in the months

13           leading up to December 20th, 2007 of anyone at JP

14           Morgan ever raising any concerns about the Tribune

15           financing?

16           A     Can you repeat that question, please?

17           Q     Sure.   Do you remember in -- actually, let me ask

18           it.   Do you remember at any time before step two of the

19           transaction closed, which I'll represent to you was

20           December 20th, 2007 --

21           A     Okay.

22           Q     -- do you remember at any time before that date

23           anyone at JP Morgan expressing any concerns to you

24           regarding that transaction and JP Morgan's involvement

25           in that transaction?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 220 of 340
                                                                             220
 1        A     Not really.        I mean, I recall, you know, the

 2        leverage buyout and -- and, you know, 2007 was a very,

 3        very difficult year in the U.S. economy.              But I -- I

 4        just don’t remember the specifics of -- of this

 5        situation.

 6        Q     So no specific recollection of --

 7        A     No.

 8        Q     -- concerns being expressed --

 9        A     I'm -- I'm trying to --

10        Q     -- about Tribune?

11        A     -- convey that to you, but I just really don't.

12        I'm sorry.      I mean, there were a lot of leverage

13        buyouts that had issues that year.

14        Q     Let me turn your attention to Exhibit 23.

15        A     Okay.

16        Q     It's an email again from Mr. Capadia to you --

17        A     Yeah.

18        Q     -- and copied to others.

19        A     Yeah.

20        Q     I'm going to refer you to, there's a sentence

21        that begins with the word "separately."              It says,

22        "Separately we talked to Neils about Zell."

23        COURT REPORTER:         We talked to --

24        UNKNOWN:       Neils.

25        Q     And it's ten lines down --
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 221 of 340
                                                                          221
 1        A     Uh-huh.

 2        Q     -- the page.

 3        A     Yes.     I see it.

 4        Q     Easier to go from the top.             Okay.   It says, "we

 5        talked to Neils about Zell buying 500 million of the

 6        bond/bridge.     This did not come up in the Tribune

 7        meetings yet."

 8        A     Yes.

 9        Q     Do you remember any discussion in or around this

10        time of Mr. Zell acquiring some of the debt held by JP

11        Morgan in connection with Tribune?

12        A     No.

13              MR. QURESHI:     Your Honor, that is the end of the

14   video clips and, Your Honor, we are ready to proceed with

15   our next live witness, if Your Honor would like.

16              THE COURT:     I would like.

17              MR. ZENSKY:     Thank you, Your Honor.           Again, for

18   the record, David Zensky of Akin, Gump, Strauss, Hauer and

19   Feld for Aurelius and the noteholder group and we call Dan

20   Gropper to the stand, please.

21              THE CLERK:     Please remain standing.           Raise your

22   right hand and place your left hand on the Bible.

23   DAN GROPPER SWORN

24              THE CLERK:     Please be seated.

25              MR. ZENSKY:     Your Honor, may I approach to
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 222 of 340
                                                                          222
 1   deliver up witness binders?

 2                THE COURT:    Just one moment.

 3                THE CLERK:    Please state your full name for the

 4   record and spell your last name.

 5                THE WITNESS:    Dan Gropper, G-R-O-P-P-E-R.

 6                THE CLERK:    Thank you, sir.

 7                MR. ZENSKY:    Sorry, Your Honor.

 8                THE COURT:    It's okay.

 9                (Pause)

10                THE COURT:    Thank you.

11                (Pause)

12                MR. ZENSKY:    May I approach again, Your Honor?

13                THE COURT:    You may.

14                Okay.   Thank you.

15                MR. ZENSKY:    May we proceed, Your Honor?

16                THE COURT:    Yes.

17                MR. ZENSKY:    Great.

18                             DIRECT EXAMINATION

19   BY MR. ZENSKY:

20   Q     Good afternoon, Mr. Gropper.

21   A     Good afternoon.

22   Q     Could you tell the Court your current employment,

23   please?

24   A     Yes.   I am employed by Aurelius Capital Management,

25   LP.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 223 of 340
                                                                         223
 1   Q     Okay.     And what is your title there, sir?

 2   A     Managing director.

 3   Q     How long have you held that title?

 4   A     About three years.

 5   Q     Okay.     Can you tell the Court a little bit about

 6   Aurelius's investment strategies, please?

 7   A     Yes.    Aurelius Capital Management manages $3 billion

 8   in capital and invests in distressed securities.

 9   Q     Okay.     Is there any particular focus that the firm

10   brings to its investment -- the investments it seeks?

11   A     Yes.    Aurelius seeks to find investments whose outcome

12   is predicated on law process or capital structure rather

13   than a singular focus on enterprise value.

14   Q     Okay.     Does Aurelius focus on any specific industries?

15   A     No.

16   Q     Okay.     Does Aurelius hold any interest in any other

17   media companies, what are debtor equity securities other

18   than Tribune?

19   A     No.

20   Q     Okay.     How old are you, sir?

21   A     Forty.

22   Q     All right.    And can you tell the Court your

23   educational background?

24   A     Yes.    I grew up here in Wilmington about ten minutes

25   away from the courthouse; went to Brandywine High School.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 224 of 340
                                                                            224
 1   after Brandywine went to the University of Virginia and got

 2   a bachelor of science degree in commerce with a

 3   concentration in finance.

 4                 THE COURT:   Welcome home.

 5                 THE WITNESS:    Thank you.     It's good to be home.

 6         (Laughter)

 7   BY MR. ZENSKY:

 8   Q     Can you tell the Court your prior employment history,

 9   Mr. Gropper, before joining Aurelius?

10   A     Yes.    After the University of Virginia I went to work

11   in the investment banking division of Goldman Sachs.                After

12   Goldman went to work for a regional firm in Charlotte as

13   part of a turn-around effort of the investment banking

14   division there.     And in July of 1995 I joined Elliott

15   Associates, LP, which is a head fund that invests in

16   distressed securities.       I spent a little under ten years at

17   Elliott focused on distressed investments, left Elliott at

18   the end of 2004, joined Fortress Investment Group as a

19   partner at the end of 2005 where I managed a corporate loan

20   portfolio and also focused on distressed investments, and

21   then joined Aurelius approximately three years ago in April

22   of 2008.

23   Q     Okay.    How many years of -- of experience do you have,

24   sir, in connection with distressed investments?

25   A     Sixteen.
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 225 of 340
                                                                               225
 1   Q        What are your current -- current responsibilities at

 2   Aurelius?

 3   A        Well, it is often the case at Aurelius that we tend to

 4   get involved in the bankruptcy and restructuring process.

 5   So my role is to manage that involvement, communicate with

 6   other creditors constituencies, interact with the lawyers

 7   and financial advisors and principals in the case, manage

 8   the court process that from time to time we get engaged in

 9   and ultimately negotiate resolutions for our bankruptcy

10   cases.

11   Q        Okay.    Do you have occasion -- or strike that.              Is it

12   part of your responsibilities to serve on creditors'

13   committees or ad hoc committees?

14   A        Yes.    I've served on and chaired multiple creditors'

15   committees in the last sixteen years, served on many ad hoc

16   committees, banked head steering committees.

17   Q        Okay.    Is there any particular skill set that you

18   believe you bring to the table in performing your

19   responsibilities for Aurelius?

20   A        Yes.    One of the things that I -- I kind of pride

21   myself on is -- is driving complex bankruptcy cases to

22   consensual resolutions.

23   Q        Okay.

24                    THE COURT:   I wish I were better at it.

25            (Laughter)
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 226 of 340
                                                                           226
 1                   THE COURT:   I'm sorry.

 2           (Laughter)

 3   BY MR. ZENSKY:

 4   Q       Can you tell us what Mr. Brodsky's role at Aurelius

 5   is?

 6   A       He's the chairman of Aurelius.

 7   Q       Okay.    And who is it that has responsibility for

 8   purchasing decisions?

 9   A       He does.

10   Q       Okay.    Now there's been some discussion throughout

11   these cases as to whether Aurelius takes aggressive

12   positions in Chapter 11 cases.          What -- what's your view on

13   that topic?

14   A       We seek to get a fair return commensurate with our

15   rights in the case.       And -- and from time to time we find

16   situations where people won't respect that and are unwilling

17   to negotiate.      So in those instances we have to enforce our

18   rights.   I don’t consider that being aggressive.              I consider

19   that looking out for our position and our investors in order

20   to get just a fair return commensurate with our rights.

21   Q       Okay.    Have you meaning you, Mr. Gropper, individually

22   been involved with consensual Chapter 11 cases during your

23   sixteen years of experience in the distressed investments

24   base?

25   A       Quite a few.    The Bradley's [ph] case in 1998; the
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 227 of 340
                                                                          227
 1   Keldor [ph] case in 1999; the Washington Group case in 2000

 2   where Mr. Kurtz served as the debtors' counsel when he was

 3   in private practice; the Covad [ph] case 2001; the Flag

 4   Telecomm case in 2002 where I served on the creditors'

 5   committee; the World Comm case in 2003, the Murant [ph] case

 6   in 2004, and in both of those cases I served on the

 7   creditors' committee; the Calpine [ph] case in 2006 on

 8   behalf of multiple parts of the capital structure; in 2009

 9   the General Motors case; the CIT case; and the Lyondell case

10   in 2010 for multiple parts of the capital structure.

11   Q        Okay.   And were any of those during the time you were

12   managing director of Aurelius?

13   A        The last three.

14   Q        Okay.   That would be GM, CIT and Lyondell?

15   A        Yes.

16   Q        Okay.   Now when did Aurelius make its first investment

17   in Tribune Notes?

18   A        The end of 2009.

19   Q        Okay.   And who was it who made that decision?

20   A        Mr. Brodsky.

21   Q        When did you first become involved in any way with the

22   firm's investment in Tribune?

23   A        In spring of 2010.

24   Q        Okay.   And why is it that you became involved at that

25   point?
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 228 of 340
                                                                           228
 1   A        Well, we expected that settlement discussions were

 2   going to occur in the context of resolving the LBO-related

 3   causes of action.      At the time we owned about 100 million

 4   bonds.    And while we recognized that Centerbridge at the

 5   time was the largest bondholder -- they owned about four

 6   times as many bonds as we did -- we wanted to participate in

 7   the negotiation of the resolution of the claims.

 8   Q        Okay.    And so the record's clear, when you said 100

 9   million bonds, did you mean $100 million face value?

10   A        I meant 100 million principle face amount.

11   Q        Okay.

12   A        Yes.

13   Q        From that point in time has Aurelius added to its

14   position in the Tribune's senior notes?

15   A        We have.

16   Q        Okay.    What is its total holding as of today, sir?

17   A        Something over 600 million bonds that represents about

18   half the senior bonds outstanding.

19   Q        Okay.    Does Aurelius currently hold an interest in any

20   of the PHONES' notes?

21   A        We do.

22   Q        And what is the total size of that interest?

23   A        Something over 200 million face of the non-tendered

24   PHONES.

25   Q        Okay.    You testified that Mr. Brodsky asked you to get
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 229 of 340
                                                                              229
 1   involved in the spring of 2010.        Did there come a time where

 2   you learned that either a settlement was being negotiated or

 3   a proposed settlement had, in fact, been reached?

 4   A     Well, we -- we looked to sign a confidentiality

 5   agreement in order to expose a portion of the firm to

 6   material non-public information about the settlement.               As

 7   part of that we erected an ethical wall to separate myself

 8   and the analysts working with me on the position at the

 9   time, Dennis Prato [ph], such that we would receive material

10   non-public information.     The rest of the firm would not, and

11   would be free to trade in the securities.            And after I

12   signed the confidentiality agreement I became aware that a

13   deal had pretty much been reached.

14         And I -- I have to mention that it struck me as odd

15   that it took something between four and six weeks to

16   negotiate that confidentiality agreement and in my

17   experience -- I think I've probably done twenty or twenty-

18   five confidentiality agreements -- they usually get

19   negotiated in a day or two.       So it -- it just struck me -- I

20   felt like I was being slow-played such that we wouldn't be

21   able to be included in the negotiations.

22   Q     Okay.   Eventually, a confidentiality agreement was

23   signed?

24   A     Yes.

25   Q     Okay.   And what did you learn about whether a
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 230 of 340
                                                                         230
 1   settlement was reached or was in the process of being

 2   reached at that point?

 3   A     We learned that there was a settlement for a four-

 4   hundred-and-fifty-million-dollar strip of consideration to

 5   go to the bondholders.     That was a strip of cash, new notes

 6   and equity in reorganized Tribune.

 7   Q     Okay.   And you mentioned that Centerbridge was the

 8   bondholder at that time, had a larger position than you did?

 9   A     Correct.

10   Q     Okay.   Were you able to discuss the proposed

11   settlement with Centerbridge after you learned about it?

12   A     We were, although it was pretty much done and what

13   Centerbridge expressed to me was that it was a lower

14   settlement than they thought was appropriate.             But they were

15   very concerned that the creditors' committee was going to

16   undercut them in the negotiations and because of that they

17   were forced to a -- to agree to a suboptimal deal.

18   Q     Okay.   Is that the settlement that became the April

19   plan to your understanding?

20   A     Yes.

21   Q     Okay.   What was Aurelius's position with respect to

22   the April plan?

23   A     Well, we didn’t think it was an appropriate settlement

24   in light of our belief of the strengths of the claims at the

25   time, which was really only informed by the public
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 231 of 340
                                                                              231
 1   information because it was long before the examiner report

 2   came out.    But we owned 100 million bonds.            Centerbridge

 3   owned four-hundred-and-something-million bonds and -- and

 4   they had been at the table to negotiate the deal.                So at

 5   least we knew that there was a principal bondholder at the

 6   table negotiating the settlement, and because of that and

 7   because they had such a -- such a larger position that we

 8   did, we elected not to object to the deal even though we

 9   weren't happy with it.

10   Q       Okay.    And prior to the examiner report coming out,

11   did Aurelius ever take any steps to oppose the April

12   settlement?

13   A       We did not.

14   Q       Okay.    Did you have any discussions with any of the

15   debtor representatives regarding the April plan in the time

16   frame that you learned about it?

17   A       I did.   I spoke to Mr. Kurtz after the deal was

18   announced.

19   Q       Okay.    And you knew him from other transactions?

20   A       Yeah.    From other -- other deals.

21   Q       Okay.    And what did you tell him about the settlement?

22   A       I -- I told him that I thought the settlement was

23   inadequate based on the strengths of the claims.               I did not

24   say that the settlement was a little light as he said last

25   week.   I told him that I thought it was inadequate, but
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 232 of 340
                                                                         232
 1   based on Centerbridge's position in the transaction and the

 2   amount of our holdings, we didn't think it made economic

 3   sense for us to object to the settlement at that time.

 4   Q     Okay.   All right.    Now you testified that prior to the

 5   examiner report Aurelius took no steps to object to the

 6   April plan.   Were there other parties that did seek to block

 7   the April plan to your knowledge?

 8   A     Yes.    Oaktree and the PHONES.

 9   Q     Okay.   I think one thing everyone in the case agrees

10   on, there came a time when the examiner issued a report, Mr.

11   Gropper?

12   A     That is one thing people agree on.

13   Q     Okay.   And did you undertake -- you and others at

14   Aurelius undertake to review and study the examiner report?

15   A     We -- we did.

16   Q     Okay.   And did you form a view as to the impact --

17   your opinion that it would have on the Chapter 11 case?

18   A     My view is that the examiner report was a complete

19   game changer in these Chapter 11 cases.           The examiner did an

20   exhaustive investigation, interviewed countless people,

21   deposed a number of folks, got a lot of discovery and -- and

22   reached the conclusion that step one of the transaction was

23   reasonably unlikely to be a constructive fraudulent

24   conveyance, but it's a huge claim.         I mean, the examiner

25   didn't say it's not a fraudulent conveyance, absolutely not.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 233 of 340
                                                                          233
 1   It's highly likely.     It's not.     There's a zero percent

 2   chance it's not.    He said reasonably unlikely and we're

 3   talking about claims six-and-a-half-billion-dollars of

 4   avoidance, $1.9 billion of disgorgement before pre-judgment

 5   interest.   So you're talking about eight-and-a-half-billion

 6   dollars of claims.    The examiner said reasonably unlikely.

 7   Well, those claims have significant value.

 8         With respect to step two, the examiner said it was

 9   highly likely to be a constructive fraudulent conveyance.

10   So the question that remained open with respect to step two

11   is who should benefit from the avoidance of step two.

12   Should it be the lenders that structured the deal, priced

13   the deal and did the deal as part of one document and one

14   transaction and broke it up only for regulatory reasons,

15   should they benefit from the transaction, the parties who

16   participated in the transaction or should the pre-LBO

17   creditors who were harmed by virtue of the transaction,

18   should they benefit from the transaction.

19         And the examiner also investigated claims of equitable

20   subordination and equitable disallowance.            So from -- from

21   my perspective at the time it was just a -- it was a total

22   game-changing event in the context of this Chapter 11 case.

23   Q     Okay.   Now in the middle you -- you summarized, I

24   think, your major take-aways from the examiner report.              You

25   referenced the question as to whether the holders of step
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 234 of 340
                                                                            234
 1   one would be permitted to benefit in the event step two was

 2   avoided, but not step one?

 3   A        Correct.

 4   Q        Okay.    Is that something that you came to refer to as

 5   WEAR -- or had already referred to WEAR at Aurelius at that

 6   time?

 7   A        I'm -- I'm not sure when the -- when the term was

 8   coined, but that has become to be known as WEAR, which is

 9   waiver estoppel assumption of risk.

10   Q        Okay.    And have you reviewed the briefs filed by the

11   noteholder group in this case?

12   A        Yes.

13   Q        Okay.    And is the arguments of the noteholders' group

14   set forth in the briefs on that point?

15   A        Yes.

16   Q        Okay.    You heard the opening statements in the case?

17   A        I did.

18   Q        Okay.    And you heard both Mr. Sottile and I mention

19   that as a significant issue as it would relate to the

20   fairness of the settlement?

21   A        Yes.

22   Q        Okay.    Do you agree with that, that is a significant

23   issue?

24                    MR. SOTTILE:   Objection, Your Honor.

25                    MR. KAMINETZKY:    Objection.       Your Honor, I -- I
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 235 of 340
                                                                         235
 1   asked Mr. Gropper extensive questions during his deposition

 2   about the WEAR theory and he said he was unable to answer

 3   any questions about the strength or the knowledge about the

 4   WEAR theory because "it was inextricably intertwined with

 5   advice of counsel."      So I don’t think it's appropriate for

 6   Mr. Zensky to ask him about the WEAR theory given that I

 7   can't question about that or was unable to question him

 8   about that.

 9                 MR. ZENSKY:    Needless --

10                 THE COURT:    Mr. -- Mr. Sottile, anything to add?

11                 MR. SOTTILE:   Your Honor, I would simply add that

12   the question as phrased plainly calls for a legal conclusion

13   from a witness who is not a lawyer about the strength of

14   particular claims or defenses in this case.            And I believe

15   it is objectionable for that additional reason.

16                 THE COURT:    Mr. Bendernagel, did you want to add

17   something?

18         (Laughter)

19                 UNKNOWN:   I definitely get the prize.

20                 MR. BENDERNAGEL:    Yeah, but you don't know what

21   the prize is.

22                 THE COURT:    I don’t either.

23                 MR. BENDERNAGEL:    The other objection, Your

24   Honor, is to the extent he's going to offer opinion

25   testimony and he hasn’t been tendered as an expert on
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 236 of 340
                                                                              236
 1   whatever it is he's opining on, I don't think it's

 2   appropriate for a lay witness, a fact witness to be -- you

 3   know, testifying as to an opinion.         And the question clearly

 4   was asking for an opinion, do you think this is right.

 5   That's not the province of a fact witness.

 6              THE COURT:     Mr. Zensky, it's your turn now.

 7              MR. ZENSKY:     Okay.     Thank you, Your Honor.

 8              We're not eliciting any sort of legal opinion

 9   testimony from this witness.       I asked if it was a

10   significant issue in the case in terms of the fairness of

11   the settlement.     Mr. Kaminetzky did take his deposition and

12   there were certain questions that he couldn’t answer without

13   revealing advice of counsel, but he did testify at length

14   about the recovery scenarios in our disclosure statement and

15   how the WEAR doctrine drives the recovery scenarios.                He

16   testified at length about a series of hypotheticals about

17   how it would affect recoveries.

18              So all I'm asking the witness is really the

19   factual question about what it would mean to recover -- his

20   understanding of what it would mean to recoveries to the

21   bondholders.   He is not here to be the spokesman for why it

22   does apply or doesn't apply.       That's what the legal briefs

23   are for and the other fact evidence in the case.

24              THE COURT:     Briefly.

25              MR. KAMINETZKY:       Your Honor, Benjamin Kaminetzky
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 237 of 340
                                                                           237
 1   of Davis Polk for JP Morgan.         Well, that's exactly the

 2   point.    He did point to different models and analyses where

 3   the WEAR theory moved dollars.          But when I asked him, well,

 4   why do you think the WEAR theory works or why do you think

 5   it moves dollars or why do you think that theory has any

 6   strength, he deferred to counsel.           He said, I can't answer

 7   that because anything I know about WEAR I learned from

 8   counsel.

 9                   So I'm not sure what he has to add to that other

10   than the fact that he has -- knows nothing about it other

11   than what counsel told him.

12                   THE COURT:   Well, I think -- I think the best

13   thing to do is to rephrase -- to parallel what you asked at

14   the deposition.

15                   MR. KAMINETZKY:    Yeah.    Okay.

16   BY MR. ZENSKY:

17   Q        Do you have an understanding as to whether the outcome

18   of the WEAR issue would affect recoveries to the non-LBO

19   creditors?

20   A        Yes.   It will.

21   Q        Now can you look at the first tab, the document under

22   Tab 1, since it's got some numbers and data in it, and

23   without -- strike that.       Can you explain to the Court what

24   the recovery -- the impact on recoveries would be were the

25   Court to find that WEAR would apply if step two was avoided?
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11    Page 238 of 340
                                                                              238
 1   A        Sure.

 2                    MR. KAMINETZKY:    Your Honor, objection again.

 3   Sorry.    Benjamin Kaminetzky with JP Morgan -- representing

 4   JP Morgan as agent.        What -- can I just borrow this for a

 5   second, Mr. Bendernagel.

 6                    What Exhibit 1 purports to be is a model that

 7   seems to have recovery scenarios under certain -- certain

 8   litigation outcomes, which is the subject -- the precise

 9   subject of an expert report that the noteholders are going

10   to put up, named Mr. Barren [ph], Dr. Barren.                 I'm not sure

11   of his degrees.       It would seem inconsistent that on one hand

12   the noteholders are saying that that's the subject of expert

13   testimony and then using a lay witness to try to do the same

14   thing, whether consistently or inconsistently.

15                    So either this is the subject of expert testimony

16   or it's the subject of lay testimony.                I -- I think it's the

17   subject of, you know, someone getting up and saying what

18   certain claims are -- are worth is something that, you know,

19   has been the subject of expert testimony in this case and

20   it's inappropriate without moving Mr. Gropper in as a

21   witness -- as an expert witness to try to get him to talk

22   about his modeling of that issue.

23                    THE COURT:    Mr. Zensky.

24                    MR. ZENSKY:   Your Honor, I think Mr. Kaminetzky

25   is thinking of a different document in the binder.                  This is
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 239 of 340
                                                                            239
 1   just a copy of the demonstrative that we used in opening and

 2   it simply has data that I don't -- there's no -- not a

 3   recovery scenario, at least the top of it.            And witnesses

 4   throughout the trial have been testifying about their

 5   understanding of the impact that certain outcomes would have

 6   on the recoveries.    Ms. Kolness [ph] was asked multiple

 7   questions about whether higher value would drive waterfall

 8   recoveries, whether the avoidance of step two would result

 9   in any better recovery for witnesses.

10                So this is not any sort of legal opinion

11   testimony.   It's simply to demonstrate the economic

12   consequences were this claim to succeed, Your Honor.                It's

13   as simple as that.

14                MR. BENDERNAGEL:     Your Honor, the testimony of an

15   expert opinion -- of an expert witness isn't limited to

16   legal opinions.     You've got financial opinions and,

17   essentially, what they're trying to do is use this witness

18   to sponsor a model without having put in a report from this

19   witness as to how he formulated the opinions he has that

20   drive the model.    That's inappropriate.         We put on witnesses

21   with respect to models.     Mr. Whitman has a model.           Mr. Black

22   has a model.   They both put in reports.          Dr. Barren has a

23   model.   He put in a report.      Mr. Gropper hasn't put in a

24   report, but he seems to be testifying as to models and,

25   also, as to their recovery, you know, scenarios that they're
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 240 of 340
                                                                         240
 1   putting forward as part of the test -- as part of their

 2   opening.   That's really the province of expert testimony,

 3   not the testimony of a lay person.

 4               THE COURT:    Well, it seems to me that, Mr.

 5   Zensky, two things:

 6               One is you need to lay a little foundation for

 7   where the figures came from and what this witness's

 8   knowledge is with respect to them; and

 9               Secondly, if he's not being offered as an expert,

10   and I understand that he's not despite his restructuring

11   experience, I assume that the thrust of the testimony is to

12   establish the why of Aurelius's position with respect to the

13   various plans.

14               And it seems to me if you can do those two

15   things, the testimony should be permitted.

16               MR. ZENSKY:    Yeah.     I think I can, Your Honor.

17   And so there's no surprise later, there is, in fact, a model

18   that it sounds like my colleagues are referring to that was

19   prepared that sets for the recoveries that would be produced

20   under nineteen different scenarios and the witness will have

21   a foundation, and he'll testify about that later.

22               This was just a simple question about whether

23   based on the numbers in the debtors' plan and their own

24   settlement what the range -- what the impact would be.

25               THE COURT:    Okay.    Well --
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 241 of 340
                                                                         241
 1                 MR. ZENSKY:   So --

 2                 THE COURT:    -- let's start with foundation.

 3                 MR. ZENSKY:   Okay.

 4   BY MR. ZENSKY:

 5   Q     So, Mr. Gropper, are you aware of the -- the terms of

 6   the -- strike that.     Are you aware of the distributions that

 7   would flow to the step two lenders under the DCL plan?

 8   A     Yes.

 9   Q     Okay.    What's the approximate amount of that?

10   A     Well, there are $2.1 billion of step two debt claims

11   in the case, and at a 6.75 billion-dollar-valuation, those

12   $2.1 billion in claims would recover approximately $1.6

13   billion in recovery.

14   Q     Okay.    And are you aware of the amount of disgorgement

15   claims that the examiner had stated were available if step

16   two was avoided, but not step one?

17   A     Yes.    There are $318 million of disgorgement claims.

18   Those are principle and interest payments that the step two

19   lenders have received prior to the filing of bankruptcy, and

20   that 318 is prior to any addition for prejudgment interest

21   associated with those claims.

22   Q     Okay.    As a simple matter of mathematics, if step two

23   were avoided, but not step one and the Court determined that

24   the step one lenders were not entitled to benefit in any

25   respect from that avoidance, what would that mean to
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 242 of 340
                                                                         242
 1   recoveries for the senior notes and other unsecured

 2   creditors?

 3   A     Well, it would mean $1.6 billion from the avoidance

 4   recoveries and $318 million, again, before prejudgment

 5   interest for the disgorgement recoveries.

 6   Q     Okay.   And how far into the pre-LBO capital structure

 7   would that amount of money go?

 8   A     Well, that combined is approximately $1.9 billion, so

 9   it would pay the senior notes in full and it would

10   substantially pay the PHONES.

11   Q     Okay.   Now there's been testimony in the case about

12   what the current enterprise value of the debtors is?

13   A     Yes.

14   Q     Okay.   To your understanding would the recoveries you

15   just described require that the Court find a higher

16   enterprise value?

17   A     They would not.     In fact, if the enterprise value were

18   higher than $6.75 billion, all the numbers that I just

19   described would increase.

20   Q     Now after the examiner report came out, did Aurelius

21   determine to oppose the April plan?

22   A     Yes.

23   Q     Okay.   Did it take any steps that caused it to come

24   apart as far as you're aware?

25   A     No.
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 243 of 340
                                                                               243
 1   Q        All right.   After the examiner report came out --

 2   strike that.      After the examiner report came out, did

 3   Aurelius put together any sort of model by which it sought

 4   to estimate in its view the expected value associated with

 5   the claims based on the examiner's conclusions?

 6   A        Yes.   The examiner came to a number of complex

 7   conclusions that were qualitative in nature in a twelve-

 8   hundred-page report.       So what we sought to do was to take an

 9   analytical approach to the case and to model the examiner's

10   conclusions that he did in words and attach numbers to those

11   words.

12            So if the examiner said something was highly likely,

13   we said what's the appropriate number to attach to that,

14   then highly unlikely would be one minus that.               If he said

15   reasonably likely we attached a number to that and

16   reasonably unlikely would be one minus that.              And what we

17   did is we created a -- really, a basic decision tree

18   expected value model that attempted to model out all the

19   various decisions the examiner had come to, and -- and then

20   kick out at the end an expected value for the claims.                 And

21   this is a model that Mr. Brodsky personally spent probably

22   fifty hours of his own time along with a couple of our

23   analysts on.

24                   MR. KAMINETZKY:    Your Honor, I wanted to -- Ben

25   Kaminetzky of Davis Polk again for JP Morgan as agent.                I
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                                                                               244
 1   would again object to this.        You might realize that this

 2   sounds familiar because this is precisely the exercise that

 3   -- that Professor Black went through when evaluating the

 4   examiner's report.     This is also precisely the exercise that

 5   Dr. Barren went through who's the noteholders expert.

 6              So clearly this is a matter in this case that's

 7   been left to the experts interpreting the examiner report,

 8   assigning values to its conclusion and then figuring out

 9   what that means in terms of expected values to the various

10   claimholders.

11              What we're now getting is a lay expert's view of

12   what's been the experts ambit in this case, which I think is

13   inappropriate because of the reasons as already said.                We

14   never got an expert report.        We never got the court papers.

15   We never got all the things that the federal rules require

16   one to get in advance of having to deal with an expert

17   report at trial.

18              THE COURT:      With respect to a lay witness?

19              MR. KAMINETZKY:        Well, it's a expert -- again,

20   you can't almost have it both ways.           If he's doing an expert

21   report as a lay witness, then he's an expert.              If he's not,

22   then he's not.      But here we have he's doing precisely -- I

23   mean, literally precisely what Professor Black and what

24   their own expert's doing as well, so now we're having kind

25   of a third non-expert expert report when we didn't have the
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 245 of 340
                                                                             245
 1   ability and the tools that are given in the federal rules to

 2   the other side to examine and to get behind what is

 3   essentially an expert report.

 4                 MR. BENNETT:    Your Honor, one -- one moment.

 5   Bruce Bennett on behalf of Oaktree.            Very simply, the

 6   difference is this:       An expert may rely upon hearsay.            A lay

 7   witness can't.      He has no personal knowledge about any of

 8   the things underlying this model.           That's why there would

 9   have to be an expert report, so that everyone could probe

10   exactly what he was relying on in all of his assumptions in

11   discovery.    And to say -- and to repeat one thing before and

12   to marry it to something that wasn't just said.

13                 There was no expert report, number one, and there

14   was attorney/client privilege asserted throughout the

15   deposition.    No expert gets to assert attorney/client

16   privilege with respect to the work that he does because

17   everything that contributes to it is fair game.               This is an

18   effort to produce a model based a hundred percent on hearsay

19   where the witness was completely protected by the

20   attorney/client privilege and without an expert report.

21   This isn't admissible.

22                 THE COURT:    Well, first of all, I don’t -- I

23   don't know what's proposed to be admitted yet, but I

24   understand why you've stood up now.

25                 Okay.   I'll give you one more shot at it and then
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 246 of 340
                                                                             246
 1   --

 2                 MR. KAMINETZKY:      Just one -- one more thing --

 3                 THE COURT:    -- Mr. Zensky will have the floor.

 4                 MR. KAMINETZKY:      I think -- yeah.        Again,

 5   Benjamin Kaminetzky of Davis Polk.           And I also think -- I

 6   mean, I think this is even based on Mr. Gropper's last

 7   statement that he didn’t even -- he's not even the author of

 8   the model that they're about to talk about.              Mr. Brodsky is.

 9   So not only is he trying to be an expert when he's a laymen,

10   but he's also trying to talk about a model that he, himself,

11   didn’t work on or he wasn't the primary architect was,

12   rather it was his colleague, Mr. Brodsky.              So that's just

13   kind of another level away from where we should be.

14                 THE COURT:    All right.      Well, since you haven't

15   asked the question yet.

16            (Laughter)

17                 THE COURT:    Mr. Zensky, let me just ask it this

18   way.   Where -- where are you going and how do you intend to

19   get there --

20                 MR. ZENSKY:    Okay.

21                 THE COURT:    -- with this witness?

22                 MR. ZENSKY:    Okay.     So a couple of things, Your

23   Honor.

24                 Number one, the models were sent to both the

25   debtors and the committee back in September, live versions
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 247 of 340
                                                                             247
 1   of it.   Everyone's had it for six months.           It was reproduced

 2   in discovery.   Witnesses were available to be questioned on

 3   it and there was no attorney/client direction with respect

 4   to these models.

 5               But there's not an issue because this is a

 6   process question.    I am not intending to offer their model

 7   for a hearsay purpose to prove the correctness of it.                This

 8   is simply to show the process that my client went through to

 9   intellectually evaluate the impact of the examiner report,

10   and unlike Professor Black, they didn't do it in their head.

11   They did it on paper, Your Honor, so it's not being offered

12   for any improper purpose.        It's what they did.       They talked

13   to everyone in this room about it and that's the reason for

14   this line of questions.     It's not to prove that it's

15   correct.

16               THE COURT:    Well, subject to not covering here

17   that which was claimed as privileged before, subject to not

18   offering information which was not made available to others,

19   and understanding that what's going to be offered is not

20   offered for the proof -- the truth of the matter asserted,

21   I'll allow it, you know, subject to individual objections as

22   we go along.    I won't weigh it as an expert report.               I won't

23   consider it as an expert report.         It's simply, as I

24   understand it, presentation of why Aurelius has taken the

25   position that it's taken.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 248 of 340
                                                                           248
 1               MR. ZENSKY:    That's exactly right.           It's not --

 2               THE COURT:    Okay.    You may proceed.

 3               MR. BENDERNAGEL:      Your Honor, just -- can I ask

 4   for clarification on what you stated?             Does that mean in

 5   briefing later on -- and this is important for purposes of

 6   our looking at a rebuttal case -- that they'll not be able

 7   to use this model to attack the reasonableness or

 8   unreasonableness of the settlement?

 9               THE COURT:    Briefing is meant to argue what based

10   upon applicable law the facts should mean.

11               MR. BENDERNAGEL:      No.    No.      But the question is

12   can they use the fact of this model and its conclusions as

13   support for the proposition that the settlement is

14   unreasonable?   And if they can, then, essentially, it's

15   being tendered as the work that would be tendered by an

16   expert.

17               And if it's there to basically say, here's the

18   reason why Aurelius decided to fight and that Aurelius's

19   fight is in good faith, I don't have a problem with that.

20   But to the extent they're putting it forward for the

21   proposition that this settlement is unreasonable, then they

22   are offering it in that -- and I just want clarification

23   because it informs how we're going to deal with our rebuttal

24   case.   That's why --

25               THE COURT:    Well --
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 249 of 340
                                                                             249
 1                 MR. BENDERNAGEL:     -- I'm asking.       I'm not

 2   challenging the decision.

 3                 THE COURT:   Well, I think there are two prongs to

 4   it, but one of them fairly stated is asking for

 5   clarification.      Somebody once said in one of our many

 6   discovery issues that what it comes down to is Aurelius

 7   doesn't like the DCL plan.        And while there are many

 8   complexities to what the parties have been involved in and

 9   what they present and have presented and will present to the

10   Court, there is on one level that simplicity.              And I take

11   the thrust of what Mr. Zensky is trying to elicit is the

12   position, you know, is there -- is their reasoning in

13   support of that position, no more than that.

14                 And I don’t know if that answers the question for

15   you, but that's how I'm viewing it.

16                 MR. BENDERNAGEL:     That's helpful.        Thank you.

17                 THE COURT:   Let's try again.

18   BY MR. ZENSKY:

19   Q     Mr. Gropper, can we call the model that you testified

20   about a few moments ago the examiner model?

21   A     Sure.

22   Q     Okay.    And what did it tell Aurelius was in its view

23   the expected value of the claims based on the examiner

24   conclusions?

25   A     $1.8 billion, but I think it would be helpful for me
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 250 of 340
                                                                          250
 1   to add -- just to explain why we created this model.

 2   Q      Okay.

 3   A      This model was not --

 4                  MR. KAMINETZKY:    I want to just object for

 5   hearsay.    He didn't create this model, so.

 6                  MR. ZENSKY:    Well, I'll ask that question.

 7                  THE COURT:    Well, first of all, except for the

 8   oral testimony, nothing else has been offered in evidence,

 9   okay, yet.     And it seems to me if -- if there's a basis to

10   move it in Mr. Zensky will, if there's a basis to object to

11   that, you'll stand.      But I don’t think we're at that point

12   yet.

13                  You may proceed.

14                  MR. ZENSKY:    Okay.   Thank you, Your Honor.

15   BY MR. ZENSKY:

16   Q      Can you tell the Court why this was created at

17   Aurelius?

18   A      Yeah.    The model was actually created at Aurelius to

19   inform our investment decision making.             This wasn't a model

20   that was designed to prove something or that we made up to

21   bring to the mediation.       This was a model that was was used

22   to inform the investment decision-making, the committing of

23   capital of our firm.        That was the purpose of this model.

24   Q      Okay.    Who -- who created it in the first instance?

25   A      Mark Brodsky created it with Matt Zoloto [ph].
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 251 of 340
                                                                         251
 1   Q       And at some point did you become aware of it and

 2   familiar with it?

 3   A       I became aware with it and very familiar with it.

 4   Q       And when was that?

 5   A       After the ethical wall came down at the end of August

 6   2010.

 7   Q       Okay.   Now did Aurelius share the model we're talking

 8   about with any of the other parties in interest in this

 9   case?

10   A       We did.   I mean, the examiner report was complex, so

11   we wanted to share our analytical approach with the other

12   parties to show them how we were thinking of the case

13   because we thought that would be a framework that could lead

14   the parties to discuss a settlement of the case.             We didn't

15   think this case lent it to a -- you know, a typical, you

16   know, horse trade negotiation where, you know, well, I'm

17   just an X because.    There had to be an analytical approach.

18   The issues were too complex.       They were too layered.

19           So what we wanted to do is we basically wanted to open

20   the Kimono and say, okay, here's our thought process.

21   Here's the live model.     Go at it.      Change it, manipulate it,

22   you think highly likely should be eighty instead of eighty-

23   five, change it in that cell.        If you think reasonably

24   likely should be fifty-two instead of fifty-five, change it

25   in that cell.     If you think there's a defense that we didn't
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 252 of 340
                                                                           252
 1   think about but you did and you want to model it in, go

 2   ahead.    And we did that because we wanted people to -- to

 3   challenge our thinking and understand their thinking because

 4   we thought that is what would facilitate a settlement in the

 5   matters of this case.

 6   Q        Okay.   Can you turn to the document that's under Tab

 7   2, Mr. Gropper?      For the record, this is Noteholder Exhibit

 8   2145.

 9   A        Okay.

10   Q        Okay.   Can you tell the Court what this email is or

11   what this document is?

12   A        Yes.    This is an email from Dennis Prato, who is one

13   of our analysts who works on Tribune, and it to Zuel Jamal

14   [ph] and one of his colleagues, both at Mullis, the

15   committee's financial advisor.          And the email is -- is an

16   email that had been sent after there was a meeting because

17   we asked the creditors' committee to come into our firm and

18   be educated on the model because we wanted them to see it,

19   to test it, to alert us of any errors or alert us of any

20   differences in their thinking.          And this -- this was the

21   follow up email from that meeting.           I actually saw Mr. Jamal

22   in our office for that meeting.          An d this was the follow up

23   email to that meeting just providing the live version of the

24   model to the creditors' committee financial advisor.

25   Q        Okay.   And for the record what does it mean to provide
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 253 of 340
                                                                         253
 1   the live version of a model to someone?

 2   A     That's the Excel version so that people can manipulate

 3   the model themselves.

 4   Q     Okay.

 5                 MR. ZENSKY:   Your Honor, I'm going to offer this

 6   exhibit into evidence at this point, 2145.

 7                 THE COURT:    Is there any objection?

 8                 MR. BENDERNAGEL:    May I ask a clarification -- I

 9   take it it's just the cover page without the model --

10                 THE COURT:    Just a piece of paper -- a single

11   piece of paper.

12                 All right.

13                 MR. BENDERNAGEL:    Okay.

14                 THE COURT:    NPP 2145 is admitted without

15   objection.

16         (Exhibit NPP 2145 is admitted)

17   BY MR. ZENSKY:

18   Q     Can you turn to the next document in your binder, Mr.

19   Gropper --

20   A     Yes.

21   Q     -- Exhibit 2 -- Noteholder 2154.

22   A     Okay.

23   Q     And can you identify this document for the record?

24   A     Yes.    It's another email from Dennis Prato, the

25   analyst working on Tribune on October the 4th and it is an
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 254 of 340
                                                                            254
 1   email sending to Cenile [ph] Mandava, the expert from Lazard

 2   who testified and Brian Whitman, the expert from Alvarez, a

 3   live version of the -- what we've now referred to as the

 4   examiner model.

 5   Q        Okay.    And who did you understand Lazard to be at this

 6   point in time?

 7   A        Well, both Lazard and Alvarez advised the company.

 8   Q        Okay.    You sent them a live version as well?

 9   A        Well, Dennis did.      I was copied.

10   Q        Okay.    Now if you turn to Tab 5, you -- which is

11   Exhibit 2472, can you identify that document for the record?

12                    THE COURT:    2471 --

13                    THE WITNESS:   I think you mean -- I think you

14   mean -- yeah, which --

15                    THE COURT:    -- is what is behind tab -- my Tab 5.

16                    MR. ZENSKY:    I'm sorry, Your Honor.        Tab 4.

17                    THE COURT:    Okay.

18   BY MR. ZENSKY:

19   Q        2472.

20   A        Okay.    This is a print-out of the model, the examiner

21   model.

22   Q        Okay.    The model referred to in the prior two emails?

23   A        Yes.

24   Q        Okay.    Now you said that you -- one of the reasons --

25   strike that.       You testified that one of the reasons you
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 255 of 340
                                                                         255
 1   created it and shared it was you wanted feedback to see

 2   whether others had different views on how you were

 3   approaching it?

 4   A     Yes.

 5   Q     Okay.    Did you receive any feedback from either the

 6   debtors or the committee in respect of your examiner model?

 7   A     We had some back and forth with Mr. Sottile

 8   representing the creditors' committee asking us to run a

 9   couple of scenarios, asking us -- in particular, I remember

10   he asked us to incorporate a 546(e) defense to the model,

11   which we had not done.      So we -- we thought that was a good

12   suggestion.    We incorporated that.       It didn’t change the

13   numbers very much.    But we did not receive any feedback from

14   the debtors on the model.

15                 MR. ZENSKY:   Your Honor, I would like to move

16   into evidence 2154 and 2472, 2472 for the purpose I stated

17   earlier for the non-hearsay purpose that we discussed

18   through colloquy and not for an effort to prove that this

19   document reaches the correct conclusion.

20                 THE COURT:    Is there any objection to the

21   admission of 2154 or 2472?

22                 MR. BENDERNAGEL:    Your Honor, with respect to

23   2154 I would simply note for the record that the document

24   itself states that it's protected by the mediation order,

25   and for purposes of clarification this document was sent to
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 256 of 340
                                                                              256
 1   us on the day of the mediation order.             And I don’t have a

 2   problem with it coming into evidence, but I certainly don't

 3   want to hear from Mr. Zensky that somehow if we have

 4   discussions about October 4th, that that's somehow a

 5   violation of the mediation order because this was produced

 6   at the day -- on the day of the mediation because there was

 7   a meeting about this model with the debtor at the mediation

 8   order.   And I'm not sure how to deal with that because they

 9   seem to be putting that into play because there was a

10   discussion at that juncture with respect to this model.

11               MR. ZENSKY:    Your Honor, there was no intent to

12   open that door to any testimony about the discussion.                I

13   don't know if that solves Mr. Bendernagel's issue.

14               MR. BENDERNAGEL:      Well, it's --

15               MR. ZENSKY:    The -- let me finish.           The only

16   purpose was to show that it was communicated to the debtors.

17   If there-- we can stipulate to that, I'll withdraw the

18   exhibit.

19               MR. BENDERNAGEL:      Well, it was communicated and

20   the like, but the statement that we were free to share it

21   with people is not consistent with what the representation

22   that was made at that meeting.        And I think they've opened

23   the door to that because there was testimony earlier that

24   when these models were provided you could do whatever you

25   wanted with it.     That was not the case.         I think they've
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 257 of 340
                                                                               257
 1   opened that door.    I'm not trying to open it further, but,

 2   you know -- and I'm not trying to deny we got this model

 3   because I think somebody was questioned about this model

 4   already and we didn't object.

 5               But, I mean, we're -- you know, I just wanted to

 6   point out that there's -- there was an extensive discussion

 7   with Mr. Brodsky at that time regarding this model.                 And

 8   that's how we got it.     I mean, this is directly in response

 9   to that.   October 4th is one of the mediation days.                I don’t

10   mind stipulating we got it.       We did get it and we did run

11   analysis on it and the like.       But I just see this as a

12   potential problem.

13               MR. ZENSKY:    Your Honor, again, there was no

14   effort to open any sort of door to discuss it.             I didn't

15   view a transmittal letter as being in any way revelatory of

16   mediation communications, and based on Mr. Bendernagel's

17   statement, I would withdraw the request for --

18               THE COURT:    For 2154 and 2472?

19               MR. ZENSKY:    No.    For 2154.

20               THE COURT:    Okay.    And what about 2472?

21               MR. ZENSKY:    2472 has been identified by the

22   witness as a copy of what was sent to the creditors'

23   committee as well.

24               THE COURT:    Okay.    Is there any objection to the

25   admission of 2472?
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 258 of 340
                                                                           258
 1                 MR. SOTTILE:    Your Honor, no objection for the

 2   limited purpose the Court has described.              However, I would

 3   note in the interest of fair disclosure to Mr. Zensky and

 4   his clients that they have now opened the door to

 5   communications with the creditors' committee concerning the

 6   model, criticisms that may have been leveled by the

 7   creditors' committee concerning the model, and we may well

 8   make use of those in examination of this and other

 9   witnesses.

10                 THE COURT:    Any response, Mr. Zensky?

11                 MR. ZENSKY:    I had assumed that Mr. Sottile might

12   ask him those questions in any event.

13                 THE COURT:    It's a fair comment, I think.

14                 Okay.   Well, it's admitted for the purposes

15   offered.

16         (Exhibit NPP 2472 is admitted)

17                 THE COURT:    I hope I don't regret that later.

18         (Laughter)

19                 THE COURT:    You may proceed.

20   BY MR. ZENSKY:

21   Q     Okay.    In addition to the examiner -- or strike that.

22   Mr. Gropper, have you been involved in the discovery

23   provided and received in this case?

24   A     Yes.

25   Q     Okay.    In addition to the model that we just looked
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 259 of 340
                                                                            259
 1   at, were other different Aurelius models about the LBO

 2   causes of action or the LBO causes of action produced?

 3   A       Yes.    They were requested and we produced them.

 4   Q       Okay.    Now by the -- on the topic of discovery, how

 5   many Aurelius employees were deposed in this case?

 6   A       Three.

 7   Q       Okay.    Has any other party of interest who was not

 8   involved in the underlying transaction had three witnesses

 9   deposed?

10   A       No.    I believe the most number of people that's been

11   deposed at other firms is one.

12   Q       Okay.    And has any other party, to your knowledge,

13   produced any of its internal models about the case?

14   Q       Okay.    And has any other party, to your knowledge,

15   produced any of its internal models about the case?

16   A       No.

17   Q       Okay.    After the examiner report was released, did the

18   April plan remain intact?

19   A       It did not.

20   Q       Okay.    Did you, again, endeavor to get involved in the

21   settlement discussions?

22   A       Yes.

23   Q       What was the first thing you did?

24   A       Well, the first thing I did is I called Mr. Kurtz

25   [ph].   I think he described partially that phone call.               It
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 260 of 340
                                                                           260
 1   occurred when he was on vacation with his family in Russia

 2   the first week of August 2007.

 3   Q     And that happened during the course of that call?

 4   A     Well, it was a terrible connection.            I think we got

 5   cut off two or three times, and I endeavored to walk Mr.

 6   Kurtz through what I thought the import of the examiner

 7   report was and how I thought that the examiner report

 8   represented three paths to payment in full for the senior

 9   notes, which I didn't think was a very aggressive position

10   to take.   There are $1.25 billion -- $1.263 billion of

11   senior notes.   There's two-and-a-half-billion dollars of

12   unsecured creditors.     So to get an examiner report, which I

13   thought was, you know, extremely favorable to the unsecured

14   creditors to say that half the pre-LBO creditors, that

15   didn't strike me as very aggressive, but I walked Mr. Kurtz

16   through how if step one were avoided or if step two were

17   avoided, but step one couldn't benefit or if there were

18   equitable subordination or equitable disallowance, the

19   senior bonds would be paid in full.          But I also said to him

20   that this wasn't the proper forum to be having this

21   conversation.   We kept getting cut off, it was a terrible

22   connection, and I requested that we set up a meeting where I

23   would go and he would go and bring his lawyer, I would bring

24   my lawyer, and we'd have a real discussion, not kind of

25   standing on one let as to, you know, what the tos and fros
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 261 of 340
                                                                               261
 1   of the report were.

 2   Q     Okay.   Did you say any -- during the course of the

 3   call you just identified, did you say anything to the effect

 4   that absent full payment to the senior notes, Aurelius would

 5   object to a plan or settlement?

 6   A     Absolutely not.

 7   Q     Now, Mr. Kurtz testified on direct examination last

 8   week that he never spoke to you again about the case until

 9   the mediation; is that correct?

10   A     That's just wrong.

11   Q     Okay.   Did you meet with him at some point shortly

12   after the call when he was in Russia?

13   A     Yes.    Our offices arranged a meeting at the New York

14   office of Sidley Austin, and I came with Dennis Preato [ph],

15   my analyst who was working with me at the time, and Ed

16   Friedman from Friedman Kaplan, and we met with Mr. Kurtz,

17   Mr. Conlin [ph] and Mr. Liebentritt,

18   Q     Okay.   And, again, where was that office, sir?               I'm

19   sorry if you testified to it.

20   A     Sidley's New York office.

21   Q     Okay.   And who arranged the meeting, if you know?

22   A     Our offices coordinated.        It was email --

23   Q     Okay.

24   A     -- coordination.

25   Q     Now, had you ever met Mr. Liebentritt before that day?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 262 of 340
                                                                         262
 1   A     I had not.

 2   Q     Did you know anything about his role at Tribune?

 3   A     I did not.    When I met Mr. Liebentritt, he introduced

 4   himself as someone who wasn't around at the time of the LBO,

 5   who was completely independent of any of the biases that

 6   existed by the people who were around at the time of the

 7   LBO, and he was there to facilitated, you know, a resolution

 8   of these cases.

 9   Q     Did he tell you anything at all about his apparent 28-

10   year history with Mr. Zell?

11   A     He did not.    We learned it when we got back to the

12   office.   We did an internet search and found out that he had

13   been associated with Mr. Zell for almost 30 years, and then

14   obviously, later on in discovery, we learned that he has

15   significant investments with Mr. Zell's companies and was a

16   step-two selling shareholder, himself.

17   Q     How did the meeting begin?

18   A     You know, it's kind of -- it was kind of strange.             I

19   had arranged the meeting to exchange our views on the

20   examiner report, and then the meeting began by our getting a

21   presentation from Jenner and Block, who was -- is Mr. Zell's

22   lawyer and, at the time, was also the company's lawyer for

23   certain purposes.    We had this half-hour presentation on how

24   the examiner got it totally wrong with respect to Morgan

25   Stanley, Morgan Stanley had done all this really bad stuff,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 263 of 340
                                                                         263
 1   and the company was going to bring a multibillion-dollar

 2   litigation against Morgan Stanley, and the lawsuit was going

 3   to be filed really soon, and so here's a presentation on

 4   these great claims against Morgan Stanley, but we didn't

 5   really come to talk about the claims against Morgan Stanley,

 6   so it's kind of a strange beginning.

 7   Q     Okay.    After the presentation from Jenner and Block,

 8   did you turn to discussing the -- your views on the examiner

 9   report?

10   A     I did, and I -- that was obviously a much better forum

11   than, you know, this dropped-phone-call situation, so I

12   walked through, you know, the avoidance of step one, the

13   avoidance of step two, and the step-one lenders being

14   estopped and also equitable subordination and disallowance,

15   and then I asked Mr. Kurtz to arrange a meeting with the

16   banks because I thought it very important that we have face-

17   to-face, principal-to-principal negotiations in order to

18   resolve the case.    It's my experience, you know, 16 years of

19   doing this in dozens of cases, that that's the way cases get

20   resolved.   When principals get in the room, they have the

21   opportunity to sit across the table, articulate their views,

22   challenge each other's views, and I wanted to do that for

23   two reasons.   I wanted to explain my views of the case, but

24   I also wanted to hear the other side's views of the case

25   because, frankly, if I was looking at something wrong, I
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 264 of 340
                                                                           264
 1   wanted to know.     I wanted to understand the infirmities of

 2   my arguments, and the only way that was going to happen is

 3   by having in-person, face-to-face meetings.

 4   Q       Okay.   What was Mr. Kurtz's response to your request

 5   that he arrange a meeting with the banks?

 6   A       He said that it would be a complete waste of time and

 7   the banks had been completely intransigent through the

 8   process, and then he said something that I actually agree

 9   with.   He said that in light of the examiner report, the

10   banks were crazy to walk away from the April deal.

11   Q       Okay.   Now, you said that Mr. Preato was at this

12   meeting with you?

13   A       Yes.

14   Q       Okay.   And did you observe whether he was taking notes

15   during the course of the meeting?

16   A       Yes, he was.

17   Q       Okay.   Can you turn to the next document in your

18   binder, which is Noteholder 2471, and turn to Page 197.

19   A       Okay.

20   Q       Okay.   The document's dated 8/17/2010.         Is that the

21   date of the meeting we've been talking about?

22   A       Yes.

23   Q       Okay.   And it says meeting with debtor?

24   A       Correct.

25   Q       Okay.   Do you recognize this handwriting?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 265 of 340
                                                                              265
 1   A     It is Dennis Preato's handwriting.

 2                 MR. ZENSKY:   Okay.    And for the record, Your

 3   Honor, it was also authenticated at Mr. Preato's deposition.

 4   BY MR. ZENSKY:

 5   Q     Mr. Gropper, does the first page refer to the way the

 6   meeting started, as you've testified, with the presentation

 7   by Jenner and Block?

 8   A     Yes.

 9   Q     Okay.    On the second page of the notes, is there any

10   entry or series of entries that relates to your testimony

11   that you asked Mr. Kurtz to set up a meeting with the LBO

12   lenders?

13   A     Yes.

14   Q     Okay.    Can you direct the Court's attention, please,

15   to that entry or entries?

16   A     Sure.    It starts about ten lines down.          It says,

17   "Conlin appears frustrated with bank lenders.             Debtors have

18   thought about holdback POR," and then there's a quote.               I

19   guess Dennis wrote down exactly what Mr. Kurtz said.                "Zero-

20   percent trans that negotiated deal between us and the banks

21   in the near tear - Kurtz."       "There is a gulf of difference

22   between us and the banks.        David," meaning Mr. Kurtz,

23   "rolled eyes when Dan made suggestion to get us in room with

24   banks."

25   Q     Okay.    That's where I needed you to read to.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11    Page 266 of 340
                                                                          266
 1   A     Okay.

 2   Q     And seeing that, does that refresh your recollection

 3   whether Mr. Kurtz actually rolled his eyes at this point?

 4   A     I believe I recall that he did.             He was very reluctant

 5   to arrange a meeting and, in fact, never did.

 6   Q     Okay.

 7                 MR. ZENSKY:   And, Your Honor, I'm going to offer

 8   these pages under 8031 as a presence and suppression of Mr.

 9   Preato during the course of the meeting.

10                 THE COURT:    That's Pages 197 --

11                 MR. ZENSKY:   197 and 198 --

12                 THE COURT:    -- 198?

13                 MR. ZENSKY:   -- through 199.

14                 THE COURT:    Is there any objection?

15         (No audible response)

16                 THE COURT:    Submitted without objection, three

17   pages of NPP 2471.

18         (Exhibit NPP 2471 Pages 197-199 received in evidence.)

19   BY MR. ZENSKY:

20   Q     Okay.    Now, we've established that this meeting was

21   August 17th, sir.    Mr. Kurtz testified last week during his

22   trial testimony that just two days later, August 19th, he

23   attended a meeting with the stakeholders to discuss

24   settlement of this case.      Did he tell you that that meeting

25   was being arranged?
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 267 of 340
                                                                          267
 1   A      No.

 2   Q      Okay.   I take it then you weren't invited to the

 3   meeting.

 4   A      I was not invited.

 5   Q      Now, he testified last week in his trial testimony

 6   that he felt they were really close to getting something

 7   done at that meeting.      Did he share that information with

 8   you?

 9   A      He did not.

10   Q      Now, he also testified last week that based on the

11   call from Russia -- or strike that.           On -- let me represent

12   to you, on cross-examination, he said he vaguely recalled

13   the meeting that we just discussed.           He then testified that

14   based on the call from Russia and the meeting you've just

15   testified about, he concluded that there was an unbridgeable

16   gap between Aurelius and the LBO banks.            Was that your view

17   when you left the meeting with Mr. Kurtz?

18   A      No.    It's inconceivable to me how he could reach that

19   conclusion.

20   Q      Okay.   Finally, Mr. Kurtz also testified last week

21   that he had been told by Ken Lang of Oaktree that Oaktree

22   did not want to set a precedent for recoveries to junior

23   bondholders in Chapter 11 cases involving fraudulent

24   transfer claims.     Did you hear that testimony last week?

25   A      I did not, but I think that's inappropriate.
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 268 of 340
                                                                         268
 1   Q     Okay.    Did Mr. Kurtz tell you that Oaktree's

 2   negotiating posture was motivated by a desire to not set a

 3   precedent?

 4   A     No.

 5   Q     After meeting with the debtors on August 17th, did you

 6   have an occasion to meet with or speak on a conference call

 7   with members of the creditors' committee?

 8   A     I did.     I heard that there were, subsequent to the

 9   meeting, negotiations about a deal that was worse than the

10   April deal, which was just shocking to me.            I could not

11   understand how, after there was an examiner report which was

12   great for the pre-LBO creditors, that people were discussing

13   a deal in which settlement consideration would go down, and

14   I became very disturbed by that, so I requested an audience

15   with the creditors' committee.

16   Q     Okay.    And was a conference call arranged?

17   A     Yes.

18   Q     Okay.    Were you personally on the call?

19   A     I was.

20   Q     Okay.    And how long did the call last for your

21   participation?

22   A     About 20 minutes.

23   Q     And what was discussed, just generally, during the

24   course of the call?

25   A     Generally, it was a similar presentation to what I had
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 269 of 340
                                                                          269
 1   said to Mr. Kurtz, Mr. Liebentritt and Mr. Conlin.              My view

 2   of the claims, my view of the examiner report, but I also

 3   said that, you know, I'd served on a lot of creditors'

 4   committees and I thought it was important for the creditors'

 5   committees to -- the creditors' committee members to take

 6   into account the views of the major constituents.              And when

 7   you serve on a creditors' committee, sometimes you have to

 8   do things that aren't in your own pecuniary interests.              You

 9   have to do things that are for the creditor body at large.

10   I've certainly done that on creditors' committees that I've

11   been on.   So I wanted to communicate to them that I thought

12   it was important that they take the will of the larger

13   creditor body into account.       At the time, I owned 250-

14   million bonds, which I believe may be the second-largest

15   unsecured creditor in the estate.         So I tried to impart to

16   the creditors' committee our view of the examiner report and

17   urged them not to settle for an amount that was, you know,

18   in the same neighborhood as the prior settlement because it

19   just didn't make sense in light of the examiner report.

20   Q     Okay.   Can you flip to the next document in your

21   binder, which is debtor committee lender Exhibit 69, Mr.

22   Gropper?   Can you see that these are minutes dated August

23   19th of the creditors' committee call?

24   A     Yes.

25   Q     Okay.   On the second page, the second-to-last bullet
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 270 of 340
                                                                          270
 1   from the bottom, not including the redaction, can you read

 2   that into the record for us?

 3   A     Yes.     "Aurelius" -- I guess that was me -- "stated

 4   that in light of the examiner's report, the committee should

 5   not agree to a settlement that decreases the initial

 6   consideration to the unsubordinated bondholders of Tribune

 7   to an amount that is less than that provided in the debtor's

 8   original plan."

 9   Q     Okay.    Is that consistent with what you told the

10   representatives of the committee that day?

11   A     Roughly.      I probably didn't use the words

12   "unsubordinated bondholders" nor "debtor's original plan,"

13   but yes.

14   Q     Okay.    Now, can you look up at the first bullet on

15   this page --

16   A     Yes.

17   Q     -- which we see has a statement that Aurelius owned

18   approximately 250 million in bonds at this time.

19   A     Right.

20   Q     Can you read the next sentence into the record?

21   A     Yes.     "Aurelius stated" -- again, me -- "that it is

22   concerned about the process in this bankruptcy cases

23   because, A, Oaktree is unfairly pressuring other creditors

24   and the debtor's officers to accept its settlement, and B,

25   the committee's counsel ha conflicts."
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 271 of 340
                                                                         271
 1   Q     Okay.    And are those points that you made during the

 2   course of this phone call?

 3   A     Yes, they are.       I had heard from multiple sources that

 4   Oaktree had been threatening management's jobs in order to

 5   get them to agree to a settlement and also --

 6                 MR. BENNETT:    Hearsay.

 7                 THE COURT:    I'll entertain a motion to strike.

 8                 MR. BENNETT:    Move to strike.

 9                 THE COURT:    Granted.

10   BY MR. ZENSKY:

11   Q     Let's back up, Mr. Gropper.         Just answer this first

12   question yes or no.     Are those points that you made during

13   the course of the call?

14   A     Yes.

15   Q     Okay.    So do you have an understanding, in your mind,

16   as to the basis for making the statement referred to at

17   point A?

18   A     Yes.

19   Q     Okay.    And what was the basis for your understanding?

20   A     My basis was conversations I had with other parties in

21   the case.

22   Q     What about the second point?

23                 THE COURT:    Mr. Zensky, hold on.

24                 MR. BENNETT:    Motion to strike.       [Indiscernible -

25   4:27:43]
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 272 of 340
                                                                         272
 1                 MR. ZENSKY:    Can I respond?

 2                 THE COURT:     Yes.

 3                 MR. ZENSKY:    Okay.    Your Honor, there has been

 4   testimony throughout the case, including over objections of

 5   witnesses, understanding of different parties' positions,

 6   negotiating positions and the like.          We heard a host of

 7   testimony about Centerbridge the first week of the trial, so

 8   I'm asking the witness's understanding.

 9                 THE COURT:    Yeah, but it's based on hearsay, and

10   there's a hearsay objection.         My -- I don't know how you get

11   around that.

12                 MR. ZENSKY:    Well, I thought it was -- I'm asking

13   his understanding of it, Your Honor.

14                 MR. BENNETT:   That's not [indiscernible -

15   4:28:16].

16                 THE COURT:    Motion to strike is granted.

17   BY MR. ZENSKY:

18   Q     Okay.    Let's move on, Mr. Gropper.          Did there come a

19   time where Aurelius purchased a portion of Centerbridge's

20   position?

21   A     Yes.

22   Q     Okay.    Did, to your knowledge, Centerbridge retain any

23   interest at that time or sell the entirety of its position?

24   A     They sold their entire position.

25   Q     Okay.    When was that?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 273 of 340
                                                                         273
 1   A     September 2010.

 2   Q     Okay.   Now, subsequent to the meeting at Sidley Austin

 3   on August 17th you testified about and excluding any

 4   conversations you may have had at mediation, did Mr. Kurtz

 5   ever reach out to you to discuss your views on a potential

 6   settlement?

 7   A     No.

 8   Q     Same thing.     After August 17th and excluding whatever

 9   might have been discussed at mediation, did Mr. Liebentritt

10   ever reach out to you to discuss your views on a potential

11   settlement?

12   A     No.

13   Q     And do you know who Mark Shapiro is?

14   A     Yes.

15   Q     Okay.   And what's your understanding?

16   A     He's the chairman of the special committee of the

17   board of directors.

18   Q     Again, at any time, excluding a mediation session, did

19   he ever reach out to you to discuss your views on a

20   potential settlement?

21   A     No.

22   Q     Okay.   Now, did there come a time when a mediator was

23   appointed?

24   A     Yes.

25   Q     Okay.   And when was the first mediation session held?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 274 of 340
                                                                         274
 1   A     The end of September, the Saturday and Sunday of the

 2   first week -- last week of September.

 3   Q     Okay.     As of that point in time, was Aurelius the

 4   single largest bondholder?

 5   A     Yes.

 6   Q     Okay.     Did Aurelius travel to Delaware for every

 7   mediation session it was invited to?

 8   A     I traveled to Delaware for every mediation session,

 9   and Mark Brodsky, our general partner, also accompanied me

10   to every mediation session.

11   Q     Okay.     Were there mediation sessions held that you

12   were not invited to, as you later learned about?

13   A     Yes.

14   Q     Okay.     Now, you said that Mr. Brodsky came to the

15   mediation sessions with you.         Did you see who attended from

16   other creditor constituencies?

17   A     Yes.

18   Q     Okay.     Was there any equivalent -- a Mr. Brodsky

19   equivalent from the other funds?

20                 MR. BENNETT:   Objection.      Foundation.

21                 MR. ZENSKY:    Okay.    I'll lay the foundation.

22   BY MR. ZENSKY:

23   Q     Are you familiar with Angelo Gordon from outside the

24   Tribune case?

25   A     I am.
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 275 of 340
                                                                              275
 1   Q       Okay.    Have you had dealings with them in various

 2   investments in the past?

 3   A       Yes.

 4   Q       Okay.    Do you know who Mr. Liang is?

 5   A       I do.

 6   Q       Okay.    Do you know who Mr. Karsh is?

 7   A       Yes.

 8   Q       Okay.    Do you understand the hierarchy at Oaktree?

 9   A       I think I have a rough understanding of the hierarchy

10   at Oaktree.

11   Q       Okay.    Do you have an understanding of who would be

12   Mr. Brodsky's equivalent?

13   A       I do.

14   Q       Who is that?

15                   MR. BENNETT:   Objection.      Foundation.     I don't

16   know what equivalent means.         Does equivalent mean equivalent

17   authority?      Does equivalent mean equivalent position?             Does

18   equivalent mean how much money they manage?

19                   THE COURT:   Overruled.     You may answer, if you're

20   able.

21                   MR. GROPPER:   I'm sorry, can you just repeat the

22   question for me, please?

23   BY MR. ZENSKY:

24   Q       Yes.    Do you know who Mr. Brodsky's equivalent is at

25   Oaktree?
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 276 of 340
                                                                         276
 1   A     Yes.

 2   Q     Okay.     Who is that?

 3   A     My understanding is it's Bruce Karsh.

 4   Q     Okay.     Was he in attendance at any of the mediation

 5   sessions that you were invited to?

 6   A     He was not.

 7   Q     Okay.     Do you know who the -- strike that.          Who from

 8   Angelo Gordon did you see at any of the mediation sessions?

 9   A     Gavin Baiera.

10   Q     Okay.     And are there people superior to him at Angelo

11   Gordon, to your understanding?

12   A     Yes.

13   Q     Who would that be?

14   A     That would be Tom Fuller, who runs the distressed

15   area, and Misters Angelo and Gordon are the general partners

16   of that firm.

17   Q     Okay.     Were any of them present at the sessions you

18   were invited to?

19   A     No.

20   Q     Now, the record is clear there came a time when two

21   term sheets were released during the course of the

22   mediation.    Mr. Gropper, you're familiar with that?

23   A     Yes.

24   Q     okay.     Were you aware in any respect of any of the

25   terms of those before they were released?
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 277 of 340
                                                                            277
 1   A        No.

 2   Q        Okay.    Did you have any idea that they were under

 3   discussion?

 4   A        No.

 5   Q        Okay.

 6                    MR. ZENSKY:    Now, Your Honor, last week, Mr.

 7   Kurtz was permitted to testify about a conversation with Mr.

 8   Gropper that was at a session, so I would like to ask Mr.

 9   Gropper about that single conversation without asking

10   anything beyond that and not as a means to open the door to

11   any further testimony about the mediation, but Mr. Kurtz was

12   allowed to testify.

13                    THE COURT:    Okay.   Let's do this.       Ask the

14   question.      Mr. Gropper, if you see movement from that side

15   of the room, please do not respond until I've resolved any

16   objection.

17                    MR. GROPPER:   I understand.

18                    THE COURT:    Okay.

19                    MR. ZENSKY:    I'll take it in small steps, Your

20   Honor.

21   BY MR. ZENSKY:

22   Q        Mr. Kurtz testified last week that at one of the

23   sessions, you told him that you did not want to negotiate

24   with the company.

25   A        Okay.
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 278 of 340
                                                                                278
 1   Q        Do you recall hearing that testimony?

 2                    MR. BENDERNAGEL:    Objection, Your Honor.            I don't

 3   think that's the right way to set a foundation here.                   I

 4   think he ought to establish whether there was a

 5   conversation.       I'm not exactly sure how he does it, but he's

 6   asking a general question that could attach to five or six

 7   different conversations.         I'm not sure --

 8                    MR. ZENSKY:   I'll --

 9                    MR. BENDERNAGEL:    -- if that's the conversation.

10                    MR. ZENSKY:   I'll rephrase it, Your Honor.

11                    THE COURT:    All right.    Yeah.

12   BY MR. ZENSKY:

13   Q        At one of the mediation sessions you were invited to,

14   did you have a conversation with Mr. Kurtz?

15   A        (No audible response)

16   Q        That's a yes or no.

17   A        Yes.

18   Q        Okay.    Did you say to him, in words or substance, at

19   that point that you did not want to negotiated with the

20   company?

21   A        Yes.

22   Q        Okay.    Why did you tell him that?

23   A        I told him that because I thought it was important for

24   us to be negotiating with the people who could give the

25   value.    The company couldn't give value.             It wasn't their
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 279 of 340
                                                                         279
 1   recovery that was being impacted.         It was the banks'

 2   recovery that was being impacted.         So I thought it important

 3   for us to negotiate with the banks.          In almost every single

 4   restructuring I've been involved in, deals get done because

 5   you talk to the people who have the money at risk, not

 6   someone in the middle.     And so I, consistent with my past

 7   practice and 16 years of doing dozens of consentful

 8   restructurings, wanted to speak to the parties with capital

 9   at risk, so that's why I said what I said to Mr. Kurtz.

10   Q     Okay.    Now, Mr. Kurtz testified last week that he

11   believed that the negotiations that produced the two term

12   sheets, late September, early October, were "not

13   qualitatively different from the negotiations that produced

14   the April settlement."     Were you listening at that part of

15   the testimony?

16   A     I was.

17   Q     Okay.    And do you agree with that?

18   A     I think that's entirely incorrect.

19                 MR. BENDERNAGEL:    Objection.      Lack of foundation.

20   Move to strike.     He wasn't involved in the original

21   negotiations, so how could he draw that conclusion?

22                 THE COURT:   Well, overruled.       Denied.

23   BY MR. ZENSKY:

24   Q     Do you need the question read back, sir?

25   A     No.   I think they weren't at all qualitatively
     Case 08-13141-BLS   Doc 8377-3     Filed 03/16/11    Page 280 of 340
                                                                               280
 1   similar.   In April, you had Centerbridge, who was a major

 2   bondholder, at the table negotiating.               Now, granted, they

 3   were negotiating, knowing and feeling that they were going

 4   to get undercut by the creditors' committee, but they were

 5   still in the room, and they negotiated the deal on behalf of

 6   themselves and the other senior bondholders.               There were no

 7   bondholder representatives, senior indentured trustees,

 8   Aurelius, any of the other guys who own the rest of

 9   [indiscernible] involved in any of the negotiations

10   associated with the deals that perpetrated the two term

11   sheets, so I don't think they were at all qualitatively

12   related, let alone similar.

13   Q     Okay.

14                 MR. ZENSKY:   Your Honor?

15                 THE COURT:    Yes.

16                 MR. ZENSKY:   What time are we going until?

17                 THE COURT:    Well, I have a conference call in

18   chambers at 5:30, so I would say any time getting around

19   5:15, assuming you won't finish your direct by then.                   If you

20   come to a break point, let me know.

21                 MR. ZENSKY:   Would it be possible now, just to

22   take two minutes?

23                 THE COURT:    Two minutes?

24                 MR. ZENSKY:   Yeah.

25                 THE COURT:    And then resume afterwards?
     Case 08-13141-BLS     Doc 8377-3   Filed 03/16/11   Page 281 of 340
                                                                           281
 1                   MR. ZENSKY:    Or five minutes, I should say.

 2                   THE COURT:    Take a five-minute recess.

 3                   MR. ZENSKY:    Okay.   Thank you.

 4           (Recess taken from 4:36 to 4:49)

 5                   MR. ZENSKY:    Thank you, Your Honor.

 6   BY MR. ZENSKY:

 7   Q       Mr. Gropper, just to clarify one thing that we covered

 8   early today.      You testified that the examiner model that was

 9   created at Aurelius after the examiner report showed

10   expected value of approximately $1.8 billion.               Do you recall

11   that?

12   A       That's correct.

13   Q       Okay.    Was that for all of the causes of action

14   against any potential defendant or some subset?

15                   MR. BENNETT:   Objection.

16                   THE COURT:    Basis.

17                   MR. BENNETT:   This is a all -- there's no

18   foundation as to whatever personal knowledge he has about

19   that answer.

20                   MR. ZENSKY:    Your Honor, he testified --

21                   THE COURT:    He answered it before, yeah.

22   Overruled.

23   BY MR. ZENSKY:

24   A       It's the cause of action against the LBO lenders.

25   Q       Okay.    So it does not include causes of action against
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                                                                          282
 1   other defendants that may be preserved under potential plans

 2   of reorganization?

 3   A     That's correct.

 4   Q     Now, you testified earlier that you sent the

 5   creditors' committee -- or Mr. Preato sent the creditors'

 6   committee a live version of the examiner model.

 7   A     Yes.

 8   Q     And I believe we looked at Noteholder Exhibit 2145,

 9   the transmittal of that model.

10   A     Yes.

11   Q     Did there -- was there an occasion where you and/or

12   Mr. Brodsky met with the creditors' committee after the date

13   of Exhibit 2145 to discuss the examiner model?

14   A     Yes.    We sent the examiner model, as we've now termed

15   it, to the creditors' committee on the -- what was the

16   Wednesday after the first mediation session, and then we

17   requested to have an in-person meeting with the creditors'

18   committee to go over the model, itself.           We thought it was

19   important to get it to the committee ahead of that meeting.

20   We wanted their financial advisor to test it and challenge

21   it and make sure it operated with integrity and that it was,

22   in fact, you know, didn't have any modeling mistakes, so we

23   wanted to get it to the creditors' committee in advance of

24   having a discussion.

25   Q     Okay.   And did they -- strike that.           Was a meeting
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 283 of 340
                                                                               283
 1   arranged?

 2   A     There was a meeting the following week.

 3   Q     Okay.   Do you remember what date it was?

 4   A     I think it was whatever was the Thursday of the next

 5   week, so I think it was probably October 6th.

 6   Q     Okay.   If you look at document seven in your binder,

 7   which is DCL Exhibit 87 --

 8   A     Sorry, October 7th.

 9   Q     Does that refresh your recollection?

10   A     Yes.    It's October 7th, sorry.

11   Q     Okay.   And who attended this meeting with the

12   committee?

13   A     I attended, along with Mr. Brodsky and Danny Golden

14   from Akin Gump.

15   Q     Okay.   What was the status -- or strike that.                Was

16   this a mediation session?

17   A     No, this was outside the mediation.

18   Q     Okay, good.    And what was the status of the settlement

19   process at that time?

20   A     What had occurred at that time is that the company had

21   negotiated a deal with the LBO lenders -- sometimes I refer

22   to that as the defendant settled with the defendant -- in

23   order to settle the step-one avoidance claims and

24   disgorgement claims for $238 million.

25   Q     To the notes?
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                                                                         284
 1   A     To the notes.

 2   Q     What happened at the meeting?

 3   A     With the committee.

 4   Q     Yes, correct.

 5   A     Yes.   So given that we had sent the model to the

 6   committee's financial advisor the week prior, Mark Brodsky

 7   sought to run the creditors' committee through, at a high

 8   level, the conclusions of the model, how the model was

 9   constructed, what we attempted to do, and also showed how

10   the model could be -- how different assumptions of the model

11   would change the results.        What we actually found in the

12   model is that even if you change, you know, what highly

13   likely means and you change the numbers, it doesn't really

14   move the expected value that materially, or if you make

15   certain other adjustments to the model, it still kicks out a

16   very, very large number.

17                MR. SOTTILE:   Your Honor, I rise to object simply

18   because I'm not sure whether or not we're getting a

19   description of what was said at the committee meeting or

20   about the workings of the model, and I would be grateful for

21   clarification on the point.

22                MR. ZENSKY:    Certainly.

23   BY MR. ZENSKY:

24   Q     Mr. Gropper, the question was what was discussed at

25   the meeting, and can you clarify for the Court whether that
     Case 08-13141-BLS      Doc 8377-3   Filed 03/16/11   Page 285 of 340
                                                                                 285
 1   was what was discussed at the meeting.

 2   A        Well, I would actually respond to Mr. Sottile by

 3   saying both.       I mean, that is what the model did.

 4                    THE COURT:    Respond to Mr. Zensky.

 5                    MR. GROPPER:    Oh, well.    I'll respond to Mr.

 6   Zensky by saying --

 7                    THE COURT:    You may not have a chance to discu --

 8   talk to Mr. Sottile.          I don't know yet.

 9   BY MR. ZENSKY:

10   A        Both.    We did discuss that at the meeting.           We walked

11   through the model.       Mark walked through the model and how it

12   worked and what expected value it kicked out and what the

13   various inputs to the model were, how it worked, how it was

14   constructed, and also the fact that even if you change

15   certain inputs, it really doesn't affect the model

16   dramatically.

17   Q        Okay.    Did you discuss anything at this particular

18   meeting with regard to whether Aurelius viewed -- strike

19   that.    Did you discuss whether Aurelius favored a settlement

20   of the claims or preferred litigation or anything on that

21   topic?

22   A        Oh, we absolutely said we preferred settlement.               We

23   also prefer settlement.         We settle cases all the time, and

24   it was our goal and our intention, and that's frankly why

25   Mr. Brodsky attended all the mediation sessions.                I wanted -
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                                                                         286
 1   - we wanted someone there who had the authority to make the

 2   decision on the spot to resolve the case.            We didn't want to

 3   have to make phone calls.        And we expressed our view at the

 4   committee meeting that we wanted to see the case settled.

 5   Q     Okay.   And, in fact, if you look at the minutes that

 6   were submitted by the DCL group, Exhibit 87, in the second

 7   bullet, there's a sentence.       Do you see "Aurelius stated"?

 8   A     Yes.

 9   Q     Okay.   Can you read that into the record?

10   A     "Aurelius stated that they would like to see a

11   settlement of the LBO-related causes of action, but that any

12   settlement must be grated in a fair reading of the legal

13   risks and a proper analysis of the expected outcomes.

14   Q     Okay.   Is that a summary and substance of what was

15   said at the meeting by Aurelius?

16   A     Yes.

17   Q     Did you indicate to the committee during the course of

18   this meeting that you were considering an alternative plan

19   of reorganization for Tribune?

20   A     Yes.

21   Q     Or sponsoring an alternative plan.

22   A     Yes.

23   Q     Okay.   What was said in that regard?

24   A     Well, we wanted to come up with a way for Tribune to

25   exit bankruptcy even if the LBO-related causes of actions
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 287 of 340
                                                                         287
 1   couldn't be resolved in bankruptcy, so what we sought to

 2   create was a plan that would preserve the LBO-related causes

 3   of action, that would escrow enough consideration to pay the

 4   pre-LBO creditors to the extent they won, and would allow

 5   the litigation to go forward after Tribune had exited

 6   bankruptcy.   We all know there's going to be litigation

 7   after the bankruptcy case under either, so we just proposed

 8   a plan that didn't settle the most valuable cause of action,

 9   but preserved it, and we described that plan to the

10   committee because, frankly, we wanted to get the committee's

11   support for that plan.

12   Q     Okay.   After the second term sheet was issued on

13   October 12th, Mr. Gropper --

14   A     Yes.

15   Q     -- and excluding anything that you may have discussed

16   at mediation, did you discuss the proposed settlement with

17   any representative of the debtor?

18   A     Yes.    I called Mr. Kurtz after the second mediation

19   term sheet had come out, which was the first I'd learned

20   about it, when it was announced publicly, and I told him

21   that I thought the settlement was completely inadequate,

22   totally inappropriate and bore no resemblance to the

23   strengths of the claims and could not understand what kind

24   of justification could be offered for it.

25   Q     Okay.   And did Mr. Kurtz respond to your criticism of
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 288 of 340
                                                                                288
 1   the settlement?

 2   A        Well, all he said was that the debtors were going to

 3   try and get this done in court, and if they couldn't get it

 4   through, then they would negotiate with us, and I told him

 5   that I thought that was inappropriate.             I told him I didn't

 6   think that's the way bankruptcy should work, and I don't

 7   think it's how bankruptcy should work.

 8   Q        After the second term sheet was issued on October 12th

 9   and outside of any mediation session, did you discuss the

10   proposed settlement with the creditors' committee?

11   A        We did.   Danny Golden and I called Howard Seife one

12   evening when Danny was at my office, and Danny spoke on

13   behalf of us and said, you know, "Howard, could you please

14   explain to us what could be your justification for the

15   settlement because we don't understand how it is you could

16   justify agreeing to such a settlement," and what Mr. Seife

17   said is, "Look, I'm not going to do this on the fly.                 You

18   know, I'm not going to just do this, you know, with a random

19   phone call.      We'll set up a meeting, and we'll have a

20   detailed description where we will walk you through the

21   justification for the settlement."

22   Q        Okay.   Was that meeting ever scheduled?

23   A        That meeting was never scheduled, has never been

24   scheduled to this day, and we've requested it many, many

25   times.    So to this day, I don't understand why the committee
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 289 of 340
                                                                             289
 1   agreed to the settlement.

 2   Q     After the second term sheet was issued and outside of

 3   any mediation, did you reach out to any of the LBO lenders

 4   to discuss the proposed settlement?

 5   A     We did.    Not deterred, we're persistent folks.               So I

 6   reached out to Gavin Baiera and Angelo Gordon in -- sometime

 7   in early December.     I'd known Gavin from the Lyondell case,

 8   we were on the other side of one another, and had worked

 9   with Angelo Gordon on the same side, actually, in many, many

10   cases in the last decade or so.         So I reached out to Gavin.

11   I said, "Look, Gavin, there has to be a disconnect here

12   because you obviously feel very strongly.             We obviously feel

13   very strongly.      So in our experience, that usually happens

14   when people aren't communicating and people aren't talking,

15   so you know, how about if Brodsky and I come to your office.

16   We'll sit down with you and Mr. Fuller and --" probably said

17   you and Tom.    "We'll sit down with you and Tom, and we'll

18   explain to you how we're viewing the case, and you should

19   explain to us how you guys are thinking about the case

20   because there has to be a disconnect."             And Mr. Baiera said

21   he'll get back to me.      He called me up, and he said, "We

22   have no interest in discussing the merits of the case with

23   you, period.    But if you want to discuss settlement, you can

24   call us."   So I thought about it, and I called him back

25   shortly after.      I said, "All right, fine.         We will come to
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 290 of 340
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 1   your office, Mark and I.     We will sit down with you and Tom.

 2   I promise we will not mention the word "where" once.                We

 3   will come and see if we can, you know, negotiate a

 4   settlement of the case."     And Mr. Fuller called me back with

 5   Mr. Baiera shortly thereafter and said, "We're not talking

 6   to you about settling this case."

 7   Q     Let me back up a minute.        I had another question I

 8   meant to ask.   In connection with the meeting with the

 9   committee, which you testified about, on October 7th, and

10   the -- Mr. Brodsky took the committee through the model.

11   You may have mentioned this earlier.          Did you get any

12   feedback from Mr. Sottile or any of his colleagues?

13   A     We had interaction with Mr. Sottile, other than at

14   that session.   I don't recall feedback at that meeting, but

15   there had been questioning from Mr. Sottile about, you know,

16   and I referred to earlier in my testimony, you know, gee,

17   what if you assume 546(e), which we didn't, and I actually -

18   - you know, I think that that 546(e) had a, you know, two-

19   hundredish-million-dollar effect on the model to be expected

20   by -- down by a couple hundred-million bucks.

21   Q     A $200-million reduction?

22   A     Reduction from the billion-eight.

23   Q     You remember any other feedback you got from the

24   committee?

25   A     Other than Zul Jamal telling me he thought the model,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 291 of 340
                                                                               291
 1   you know, worked and had integrity from a modeling

 2   standpoint, no.

 3   Q     All right.    We spent a lot of time talking about the

 4   negotiations and your knowledge of what was happening.               I

 5   want to turn to the terms -- the actual terms of the

 6   settlement itself and first ask you briefly just to provide

 7   the Court the -- strike that.        Were there any major

 8   differences, in your view, between the April settlement and

 9   the October settlement?

10   A     Oh, sure.

11   Q     Okay.   And what were the salient differences to you?

12   A     Well, for starters, the April settlement, again

13   outside the process context, the April settlement, the notes

14   got a strip of consideration, so they got cash, new notes in

15   Tribune and reorganization equity of Tribune, and the April

16   settlement was done at a 6.1-billion-dollar distributable

17   enterprise value.    So the notes under the April settlement

18   could benefit from any concomitant increase in

19   distributable-enterprise value of Tribune over time.                The

20   October settlement, if I can call it that, was cash.                So

21   there was no opportunity for the notes to benefit from an

22   concomitant increase in the value of Tribune, and

23   incidentally, while the first and second mediation term

24   sheets had indicated a $6.1-billion distributable enterprise

25   value, the plan that was filed indicated a $6.75-billion
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 292 of 340
                                                                          292
 1   distributable enterprise value.        So we already know between

 2   -- in the company's view, between April and October, the DEV

 3   of Tribune went up by, you know, several million bucks.

 4   Q     Okay.   Can you look at the document under tab A, which

 5   is a page from an objection to the DCL plan, sir?

 6   A     Okay.

 7   Q     Do you see the chart there?

 8   A     Yes.

 9   Q     Are you familiar with that chart?

10   A     I am.

11   Q     Okay.   Can you just briefly take us through what the

12   three pairs of lines are supposed to represent in connection

13   with the April plan and the current plan?

14   A     Sure.   The blue bars represent the recovery of the

15   senior lenders under the April plan and the DCL plan, so --

16   and the red bars represent the recovery to the senior

17   noteholders under the April plan and the DCL plan.              And the

18   green line going across represents the value of the

19   settlement consideration, and what's meant by that is that

20   there is a certain natural recovery that the senior bonds

21   get, even if they lose, and that is, you know, let's, just

22   to keep the math easy, call it $60 million.            So even if

23   there is a full litigation of the claims and assuming a 92

24   percent to the sub, 8 percent to the parent split of the

25   DEV, there is somewhere between, you know, 59 and 62
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 293 of 340
                                                                         293
 1   depending on which case you're in, either the first or the

 2   second case, natural recovery.        So what this indicates is

 3   that the April settlement, which was a $450-million strip,

 4   at a $6.1-billion valuation conveyed $391 million in

 5   settlement consideration to the senior notes.             So the senior

 6   notes got back 35 cents, and the senior lenders got back,

 7   call it, 63 cents.    What the second group shows is that the

 8   settlement consideration goes down under the DCL plan

 9   because the settlement consideration went from 450 in stock

10   at 6.1 right to 431 to the notes.         So that 431 is then

11   reduced by the natural recovery to get the 369 of settlement

12   consideration, but -- so what you see if the senior

13   noteholder recovery goes from 35 cents to 33-and-a-half, but

14   the bank recovery -- and again, this is both step one and

15   step two -- the bank recovery goes from 63 to 71 cents.

16   What the third bar shows is, well, gee, what happens if the

17   DEV really isn't 6.75 billion.        I mean, I heard the Lazard

18   testimony, and I understand Lazard feels that the value of

19   the company today actually isn't 6.75, it's $7 billion based

20   on some updated work they did, but let's say it's $8

21   billion.   So at an $8-billion distributable enterprise

22   value, the senior note recovery, again, stays at the 33-and-

23   a-half cents.   The actual settlement consideration goes down

24   because the natural recovery goes up by $10 million, but the

25   bank-debt recovery -- and again, this is step one and step
     Case 08-13141-BLS    Doc 8377-3   Filed 03/16/11   Page 294 of 340
                                                                          294
 1   two, so we're talking about $2.1 billion of claims the

 2   examiner found highly likely to be fraudulent demands --

 3   they get an 86-cent recovery.

 4   Q        Okay.   And in light of the examiner report, did this

 5   progression of events make any sense to you?

 6   A        It made absolutely no sense to me whatsoever.

 7   Q        Okay.   Let's look at the -- strike that.          Let's talk

 8   about the evolution of the current settlement from the first

 9   term sheet to the second term sheet.           You've already

10   testified that you were unaware those terms were under

11   discussion.

12   A        Correct.

13   Q        Upon learning of it, I take it you studied the term

14   sheet.

15   A        Yes.

16   Q        Okay.   And what were the salient pieces of the first

17   term sheet, what it settled and what it didn't?

18   A        So I'm just going to go back to that first tab we were

19   looking at.      Thank you.   So what this shows -- and my

20   understanding of the first term sheet is illustrated on this

21   chart in blue.      So what it shows is that the $6.5 billion of

22   step-one avoidance claims were settled for $322 million or

23   five percent of that exposure, which just made absolutely no

24   sense to me because these are claims that the examiner said

25   are reasonably unlikely to be fraudulent claims.              He didn't
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                                                                             295
 1   say definitely not or totally absolutely or highly unlikely.

 2   He said reasonably unlikely.       Those settled for $322

 3   million, $6.5 billion of claims.         The $1.9-billion-dollar

 4   claims of step one disgorgement, again before prejudgment

 5   interest, were settled for zero.         So that comprises what

 6   happened in the first term sheet when the company settled

 7   with the banks.

 8   Q     Okay.   And what amount of the 322 was allocated to the

 9   senior notes in the first term sheet?

10   A     $238 million.

11   Q     Okay.   And natural recoveries were supposed to be

12   provided on top of that?

13   A     That's right.     So the first term sheet provided for

14   $300 million in consideration to the senior notes, so there

15   were $62 million of natural recovery.             So the difference

16   between the 300 and the $62 million of natural recovery is

17   the $238 million of settlement consideration that's in the

18   box right on the top row.

19   Q     Okay.   Now, let's turn our attention to the second

20   term sheet and the expansion of the settlement.              What did

21   that propose to accomplish?

22   A     Well, what that did -- because the first term sheet

23   did not settle the step-two litigation claims.              So what the

24   second term sheet purported to do was to settle the issues

25   of step-two avoidance and step-two disgorgement.              Again,
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 296 of 340
                                                                           296
 1   these were claims highly likely to be constructive

 2   fraudulent claims, reasonably likely to be an intentional

 3   fraudulent conveyance -- don't believe I've ever seen an

 4   intentional fraudulent conveyance.

 5   Q     Try to slow down a little bit.

 6   A     Sure.

 7   Q     Okay, Mr. Gropper.

 8   A     So what happened as part of the second term sheet is

 9   the $318 million of step-two disgorgement -- these were

10   principal and interest payments that were made to the step-

11   two lenders prior to the filling -- those claims were

12   settled for $120 million or 38 percent of the exposure, the

13   highly-likely fraudulent conveyance claims.            The step-two

14   allowance claims, the $2.1 billion of claims, they were

15   settled for $70 million, none of which of the consideration

16   went to the senior notes.        So the senior notes, in exchange

17   for a release of $2.4 billion of highly-likely constructive

18   fraudulent conveyance claims, received $120 million.

19   Q     Okay.   And again, sir, at the time that these two

20   settlements were reached, was Aurelius the single largest

21   bondholder of Tribune?

22   A     Yes.

23   Q     Now, you talked a bit about this a few moments ago

24   when we were looking at the demonstrative from our brief and

25   the potential impact of higher value or the Court to find
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 297 of 340
                                                                               297
 1   that the company's value is higher than 6.75 billion.

 2   A     Yes.

 3   Q     Do you have an understanding of whether there are

 4   other impacts that would result -- that would impact --

 5   strike that.   Do you have an understanding of whether there

 6   would be other impacts on noteholder recoveries if the value

 7   were found to be higher?

 8   A     Well, the distributable-enterprise value of Tribune

 9   actually affects recoveries in a multitude of ways.                 The

10   higher the distributable-enterprise value is, the higher the

11   natural recovery is to the senior bonds, so the lower the

12   consideration is under the DCL plan because the DCL plan

13   holds the recovery constant at 450.          So where there's been a

14   very significant increase, say, from April, the DEV's gone

15   from $6 billion to $7 billion, so the DEV's up by a sixth to

16   keep the math easy.     So if you just take the April plan and

17   adjust that number up by a sixth, you're well over $500

18   million, yet the current claim is lower, notwithstanding the

19   examiner report, which is just puzzling to me.             The DEV also

20   affects the amount of consideration that the senior lenders

21   give up because the higher the DEV is, the higher the senior

22   lender's recovery is.     So as a matter of fairness, the

23   higher the DEV is, the lower percent of their claims they're

24   giving up.   And then the last effect it has is that if, in

25   fact, you just follow the examiner report and say, well,
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                                                                            298
 1   step two goes away, you can have a situation where when DEV

 2   gets into the sevens, where step one is paid in full, and

 3   then the unsecured creditors do vastly better than they do

 4   under the DCL plan.     So once you have a -- you know, into

 5   the mid-sevens, the unsecured creditors would get, like, a

 6   billion dollars, and step one gets 100 cents.             So if step

 7   one gets 100 cents, the unsecured creditors would get, you

 8   know, call it a billion dollars, and then if you assume step

 9   two is avoided.     So there are so many ways that

10   distributable-enterprise value impacts value here, and we're

11   not protected in any way for any of those changes.

12   Q     Okay.    Just so the record's clear, the last impact you

13   described about step one being paid in full, so the Court is

14   clear, what assumption were you making about whether

15   postpetition interest was allowed?

16   A     I was making the assumption postpetition interest was

17   not allowed.

18   Q     Okay.    Let me turn to the topic of the preserved

19   claims and ask you what's your understanding of the claims

20   that the debtor-committee-lender plan preserves for

21   litigation after confirmation.

22   A     Claims against the directors and officers, claims

23   against Zell, claims against the advisors and claims against

24   certain of the step-two shareholders.

25   Q     Okay.    Have the debtors ever presented a valuation or
     Case 08-13141-BLS   Doc 8377-3   Filed 03/16/11   Page 299 of 340
                                                                         299
 1   estimate of the recoveries associated with those claims?

 2   A     No.

 3   Q     Are you familiar with the term a "bar order"?

 4   A     Yes.

 5   Q     Okay.    Are you aware of whether the DCL plan proposes

 6   a bar order?

 7   A     My understanding is that it does.

 8   Q     Okay.    Have you ever been presented with any valuation

 9   by the DCL group as to the impact that the bar order might

10   have on recoveries associated with the preserved causes of

11   action?

12   A     No.

13   Q     Under the DCL plan, the preserved claims go into a

14   litigation trust; is that your understanding?

15   A     Yes.

16   Q     Okay.    And do you know who will control the litigation

17   trust under the DCL plan?

18   A     Actually, no.     We don't know who's going to be the

19   litigation trustee.     We don't know who's going to be on the

20   board of the litigation trust.        What we do know is the folks

21   who'll have the majority of the economic interest won't have

22   input into that, so for all we know, a creditor who would

23   serve to benefit from the bar order that you just mentioned

24   could actually control the trust and manage the litigation

25   in a way that were detrimental to the recoveries.
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                                                                            300
 1   Q        Okay.    When you said the creditors who have the

 2   greatest interest in the trust, who were you referring to?

 3   A        The pre-LBO creditors get 65 percent of the trust.

 4   Q        Okay.    And does the DCL plan give any of those pre-LBO

 5   creditors -- strike that.           Does the DCL plan give Aurelius

 6   or any other noteholder any input into the control of the

 7   trust?

 8   A        No.

 9   Q        All right.    Or any control over the prosecution of the

10   claims?

11   A        No.

12                    MR. ZENSKY:   Your Honor, this is an absolutely

13   perfect breaking time.

14                    THE COURT:    Okay.    We'll pause here.      Let me ask

15   for a preview of tomorrow's events.

16                    MR. ZENSKY:   I would say that I have 45 minutes

17   more of direct, Your Honor.            I anticipate a lengthy cross, I

18   believe, from Mr. Kaminetzky.           Originally, we were going to

19   proceed after Mr. Gropper with Dr. Baron, but Professor Rock

20   came in for his deposition and testimony, so I alerted the

21   other side earlier today that we may need to put him on when

22   Mr. Gropper is done and then pick up with the other

23   noteholder experts, and we'll discuss later whether it makes

24   more -- or I'll discuss with the DCL group whether it makes

25   more sense to do Mr. Prack at that point, who's the FCC
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 1   expert, or start Dr. Baron.         We'll see what makes the most

 2   sense for scheduling.

 3                 THE COURT:    Okay.    We will start at 9:30

 4   tomorrow, and we'll go to, you know, sometime between 4:00

 5   and 4:30, wherever we come to an appropriate break.

 6                 MR. ZENSKY:   That's helpful to know so we can

 7   figure out what else we can get on tomorrow.

 8                 MR. BENDERNAGEL:      Your Honor, we'll cooperate

 9   with the noteholders in that regard, but we've got a lot of

10   moving pieces here, and we haven't even taken Professor

11   Rock's deposition yet.      It's scheduled to start at six o'

12   clock, and just note we're going to reserve our rights as to

13   what we're going to agree to tomorrow.            We can deal with it

14   tomorrow.    We'll try to work as hard as we can to

15   accommodate their -- the situation so we can move forward.

16                 THE COURT:    All right.    Anything else before we

17   break?

18                 MR. ZENSKY:   No, but there was an email exchange

19   and agreement that this schedule would work for the debtors,

20   so I'm surprised to hear Mr. Bendernagel say that, but we'll

21   work it out, Your Honor.

22                 THE COURT:    All right.    Understood.      Thank you.

23   Court will stand adjourned.

24            (Proceedings adjourned at 5:16 p.m.)

25
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1                                                  CERTIFICATION

2                 I certify that the foregoing is a correct

3   transcript from the electronic sound recording of the

4   proceedings in the above-entitled matter.

5
                      Digitally signed by Alicia Jarrett
6
7
    Alicia Jarrett    DN: cn=Alicia Jarrett, c=US, o=DiazDataServices,
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                                                                                     14 March 2011
8   Transcriber                                                                           Date
9
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